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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


 In re:                                               Chapter 11

 Cinram Group, Inc., et al.,1                         Case No. 17-15258 (VFP)

                          Debtors.                    (Jointly Administered)


 DEBTORS’ FOURTH AMENDED DISCLOSURE STATEMENT FOR THE DEBTORS’
  FOURTH AMENDED JOINT PLAN OF REORGANIZATION UNDER CHAPTER 11
                    OF THE BANKRUPTCY CODE




 Dated: October 4, 2018



 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
 number are as follows: Cinram Group, Inc. (0588), Cinram Property Group, LLC (9738), and Cinram
 Operations, Inc. (7377). The Debtors conduct all of their business affairs out of offices located at 220
 South Orange Avenue, Livingston, New Jersey 07039.


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                                   DISCLAIMER

      THIS DISCLOSURE STATEMENT (THE “DISCLOSURE STATEMENT”)
 UNDER SECTION 1125 OF TITLE 11 OF THE UNITED STATES CODE (THE
 “BANKRUPTCY CODE”) WITH RESPECT TO THE DEBTORS’ FOURTH AMENDED
 JOINT PLAN OF REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY
 CODE (AS THE SAME MAY BE FURTHER AMENDED FROM TIME TO TIME, THE
 “PLAN”), CONTAINS SUMMARIES OF CERTAIN PROVISIONS OF THE PLAN.
 WHILE THE DEBTORS BELIEVE THAT THESE SUMMARIES PROVIDE
 ADEQUATE INFORMATION WITH RESPECT TO THE PLAN, SUCH SUMMARIES
 ARE QUALIFIED TO THE EXTENT THEY DO NOT SET FORTH THE ENTIRE
 TEXT OF THE PLAN. IF ANY INCONSISTENCIES EXIST BETWEEN THE TERMS
 AND PROVISIONS OF THIS DISCLOSURE STATEMENT AND THE TERMS AND
 PROVISIONS OF THE PLAN OR OTHER DOCUMENTS DESCRIBED THEREIN,
 THE TERMS AND PROVISIONS OF THE PLAN OR OTHER DOCUMENTS ARE
 CONTROLLING. EACH HOLDER OF AN IMPAIRED CLAIM SHOULD REVIEW
 THE ENTIRE PLAN AND ALL RELATED DOCUMENTS AND SEEK THE ADVICE
 OF ITS OWN COUNSEL BEFORE VOTING WHETHER TO ACCEPT OR REJECT
 THE PLAN. [THIS DISCLOSURE STATEMENT HAS BEEN APPROVED BY ORDER
 OF THE BANKRUPTCY COURT AS CONTAINING INFORMATION OF A KIND,
 AND IN SUFFICIENT DETAIL, TO ENABLE HOLDERS OF CLAIMS TO MAKE AN
 INFORMED JUDGMENT IN VOTING TO ACCEPT OR REJECT THE PLAN.]

      THE STATEMENTS AND FINANCIAL INFORMATION CONTAINED HEREIN
 HAVE BEEN MADE AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED.
 HOLDERS OF CLAIMS AND INTERESTS REVIEWING THIS DISCLOSURE
 STATEMENT SHOULD NOT INFER AT THE TIME OF SUCH REVIEW THAT
 THERE HAVE BEEN NO CHANGES IN THE FACTS SET FORTH HEREIN, UNLESS
 SO SPECIFIED.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
 WITH SECTION 1125 OF THE BANKRUPTCY CODE AND NOT IN ACCORDANCE
 WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER APPLICABLE NON-
 BANKRUPTCY LAW. PERSONS OR ENTITIES HOLDING OR TRADING IN OR
 OTHERWISE PURCHASING, SELLING, OR TRANSFERRING CLAIMS AGAINST
 OR INTERESTS IN THE DEBTORS SHOULD EVALUATE THIS DISCLOSURE
 STATEMENT IN LIGHT OF THE PURPOSE FOR WHICH IT WAS PREPARED.

      IN ACCORDANCE WITH THE BANKRUPTCY CODE, THIS DISCLOSURE
 STATEMENT HAS NOT BEEN APPROVED OR DISAPPROVED BY THE
 SECURITIES AND EXCHANGE COMMISSION (THE “SEC”), NOR HAS THE SEC
 PASSED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS
 CONTAINED HEREIN.
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                                                I.

                                       INTRODUCTION

    A.      OVERVIEW

         Cinram Group, Inc. (“CGI”), Cinram Property Group, LLC (“CPG”), and Cinram
 Operations, Inc. (“COI”), debtors and debtors-in-possession in the above-captioned cases (each a
 “Debtor” and collectively, the “Debtors”), hereby submit this Disclosure Statement pursuant to
 section 1125(b) of the Bankruptcy Code and Rule 3017 of the Federal Rules of Bankruptcy
 Procedure, in connection with the Debtors’ Fourth Amended Joint Plan of Reorganization Under
 Chapter 11 of the Bankruptcy Code, dated October 4, 2018 (as the same may be further amended
 from time to time, the “Plan”). A copy of the Plan is attached hereto as Exhibit A. All
 capitalized terms used but not defined in this Disclosure Statement shall have the respective
 meanings ascribed to such terms in the Plan, unless otherwise noted. In the event of any
 inconsistency between this Disclosure Statement and the Plan, the terms of the Plan shall govern
 and control.

         The purpose of this Disclosure Statement is to enable you, as a creditor whose Claim is
 Impaired under the Plan, to make an informed decision in exercising your right to vote to accept
 or reject the Plan.

         [By order dated [_______] [__], 2018 (the “Disclosure Statement Order”), the
 United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”)
 has found that this Disclosure Statement provides adequate information to enable Holders
 of Claims that are impaired under the Plan to make an informed judgment in exercising
 their right to vote to accept or reject the Plan.]

    B.      SUMMARY OF THE PLAN AND CLASSIFICATION OF CLAIMS AND
            INTERESTS

        The Plan classifies all Claims against and Interests in the Debtors into eight (8) separate
 Classes. The Plan is premised on the substantive consolidation each of the Debtors’ Estates into a
 single consolidated Estate solely for the purposes of voting and Distributions under the Plan.
 Accordingly, Holders of Allowed Claims in each Class shall be entitled to their share of
 Distributions made to such Class without regard to which Debtor was originally liable for such
 Claim.

        Certain of the Debtors may not have Holders of Claims in a particular Class or Classes.
 Any Class of Claims that does not have at least one Holder eligible to vote as of the Voting
 Deadline shall be considered vacant, deemed eliminated from the Plan for purposes of voting to
 accept or reject the Plan, and disregarded for purposes of determining acceptance or rejection of
 the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

        A brief summary of the Classes of Claims and Interests under the Plan, including the
 treatment of each Class, the estimated aggregate Allowed amount of Claims in each Class, the
 voting rights of each Class, and the estimated projected Distributions to each Holder of an



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   Allowed Claim in each Class, is set forth in the table below.2 A complete description of the
   treatment of each Class is set forth in Article III of the Plan and Section V of this Disclosure
   Statement. Parties in interest should refer to those portions of the Plan and this Disclosure
   Statement for a complete description of the proposed treatment of each Class.

                           Estimated
                           Aggregate
                           Allowed                                                             Voting        Estimated
Class   Description        Amount         Treatment                            Status          Rights        Distribution
Class   Secured Claims     $0 -           Secured Claims, if any, shall be     Unimpaired      Deemed to     100%
  1                        $95,000        paid in full in Cash, paid with                      accept
                                          the proceeds of the sale or                          Plan; not
                                          disposition of the collateral                        entitled to
                                          securing such Claim(s), receive                      vote
                                          the return of collateral, or
                                          receive such other treatment
                                          rendering such Claims
                                          Unimpaired.
Class   Priority Claims    $0             Priority Claims, if any, shall be    Unimpaired      Deemed to     N/A
  2                                       paid in full in Cash or receive                      accept
                                          such other treatment rendering                       Plan; not
                                          such Claims Unimpaired.                              entitled to
                                                                                               vote
Class   SIR Rejection      $8,500,000     The SIR Rejection Damage             Impaired        Entitled to   Approximat
  3     Damage                            Claims shall be Allowed in an                        vote          ely 17.0%3
        Claims                            aggregate amount equal to the
                                          SIR Settlement Amount and
                                          paid in accordance with the
                                          terms of the Plan.
Class   Technicolor        $1,500,000     The Technicolor                      Impaired        Entitled to   Approximat
  4     Indemnificatio                    Indemnification Claims shall be                      vote          ely 10.7%4
        n Claims                          Allowed in the aggregate
                                          amount of the Technicolor
                                          Allowed Claim Amount and
                                          paid in accordance with the
                                          terms of the Plan.
Class   General            $2,360,000     Each Holder of an Allowed            Impaired        Entitled to   Approximat
  5     Unsecured                         General Unsecured Claim shall                        vote          ely 10.6%
        Claims                            receive such Holder’s Pro Rata
                                          share of Cash in the amount of
                                          the GUC Distribution Amount.


   2
    The estimated Allowed amounts of Claims in each Class set forth in the table below are subject to ongoing review
   and reconciliation by the Debtors and, therefore, remain subject to change.
   3
     This estimate represents the SIR Settlement Amount of $8,500,000 (without any interest thereon) as a percentage
   of the claims of SIR Properties against the Debtors as amended (or to be amended) consistent with an expert report
   that was submitted by SIR Properties in connection with the Debtors’ objection to its proofs of claim. The expert
   report alleges that SIR Properties’ claims against the Debtors total not less than $50,013,514.84 in the aggregate.
   4
     This estimate represents the Technicolor Allowed Claim Amount as a percentage of the claims of Technicolor
   against the Debtors (asserted in an amount of not less than $14,029,900).



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                              Estimated
                              Aggregate
                              Allowed                                                              Voting        Estimated
Class     Description         Amount         Treatment                             Status          Rights        Distribution
Class     Workers’            $0 -           All Allowed Workers’                  Unimpaired      Deemed to     100%
  6       Compensation        $325,0005      Compensation Insurance Claims                         accept
          Insurance                          shall be Reinstated.                                  Plan; not
          Claims                                                                                   entitled to
                                                                                                   vote
Class     Intercompany        $0             On the Effective Date, all net        Unimpaired      Deemed to     N/A
  7       Claims                             Allowed Intercompany Claims                           accept
                                             shall, at the election of the                         Plan; not
                                             Reorganized Debtors, be either                        entitled to
                                             (i) Reinstated, or (ii) released,                     vote
                                             waived, and discharged without
                                             any Distribution on account of
                                             such Claims.
Class     Interests           N/A            On the Effective Date, Allowed        Unimpaired      Deemed to     N/A
  8                                          Interests shall be Reinstated and                     accept
                                             shall not be discharged,                              Plan; not
                                             canceled, released, extinguished                      entitled to
                                             or otherwise altered as a result                      vote
                                             of or by the Plan.


          Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims
   and Tax Claims against the Debtors are not classified for purposes of voting on, or receiving
   Distributions under, the Plan. Holders of such Claims are not entitled to vote on the Plan. All
   such Claims are instead treated separately in accordance with Article IV of the Plan and in
   accordance with the requirements set forth in sections 1129(a)(9)(A) and (C) of the Bankruptcy
   Code. A more complete description of the treatment of Administrative Expense Claims and Tax
   Claims is set forth in Article IV of the Plan and Section V.B of this Disclosure Statement.

          C.       VOTING AND CONFIRMATION PROCEDURES

          Accompanying this Disclosure Statement is a copy of the Plan, which is annexed to this
   Disclosure Statement as Exhibit A, and, if applicable, an appropriate ballot (each, a “Ballot”)
   together with voting instructions to be completed by Holders of Claims in Class 3, Class 4 and
   Class 5, as applicable, to vote to accept or reject the Plan.

           This Disclosure Statement, the appropriate Ballot, and the Disclosure Statement Order
   (collectively, the “Solicitation Package”) is being furnished to Holders of Claims in Class 3,
   Class 4 and Class 5 for the purpose of soliciting votes on the Plan.

          If you did not receive a Ballot in your Solicitation Package, but you are the Holder of a
   Claim in a Class entitled to vote on the Plan and believe that you should have received a Ballot,
   please contact counsel to the Debtors, in writing to Lowenstein Sandler LLP, Attn: Mary E.


   5
       This amount is based on actuarial estimates and is subject to adjustment and further review by the Debtors.



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 Seymour, Esq. or Michael Savetsky, Esq., One Lowenstein Drive, Roseland, NJ 07068; or by
 telephone at (973) 597-2500.

        1.      Who May Vote

         Pursuant to the provisions of the Bankruptcy Code, only classes of Claims or Interests
 that are “impaired” and that are not deemed as a matter of law to have rejected a plan of
 reorganization under section 1126(g) of the Bankruptcy Code are entitled to vote to accept or
 reject the plan. Any class that is “unimpaired” is not entitled to vote to accept or reject a plan of
 reorganization and is conclusively presumed to have accepted the Plan. As set forth in section
 1124 of the Bankruptcy Code, a class is “impaired” if legal, equitable, or contractual rights
 attaching to the claims or equity interests of that class are modified or altered by the plan. For
 purposes of the Plan, Holders of Claims in Class 3, Class 4 and Class 5 are Impaired and are
 entitled to vote on the Plan.

         A Claim must be “allowed” for purposes of voting in order for the Holder of that Claim
 to have the right to vote on the Plan. Generally, for voting purposes a Claim is deemed
 “allowed” absent an objection to the Claim if (i) a Proof of Claim was timely filed, or (ii) if no
 Proof of Claim was filed, the Claim is identified in the Debtors’ Schedules as other than
 “disputed,” “contingent,” or “unliquidated,” and an amount of the Claim is specified in the
 Schedules, in which case the Claim will be deemed allowed for the specified amount. In either
 case, when an objection to a Claim is filed, the creditor holding the Claim cannot vote unless the
 Bankruptcy Court, after notice and a hearing, either overrules the objection or allows the Claim
 for voting purposes. Accordingly, if you did not receive a Ballot and believe that you are
 entitled to vote on the Plan, you must file a motion pursuant to Rule 3018 of the Federal Rules of
 Bankruptcy Procedure with the Bankruptcy Court seeking the temporary allowance of your
 Claim for voting purposes by no later than the deadline set forth in the Disclosure Statement
 Order, or you will not be entitled to vote to accept or reject the Plan.

      THE DEBTORS AND REORGANIZED DEBTORS IN ALL CASES RESERVE THE
 RIGHT TO OBJECT TO ALLOWANCE OF ANY CLAIM FOR DISTRIBUTION PURPOSES
 UNDER THE PLAN REGARDLESS OF WHETHER THE CLAIM IS ALLOWED FOR
 PURPOSES OF VOTING ON THE PLAN.

        2.      Voting Instructions and Voting Deadline

         All votes to accept or reject the Plan must be cast by using the Ballot enclosed with this
 Disclosure Statement. No votes other than those using the enclosed Ballot will be counted,
 except to the extent the Bankruptcy Court orders otherwise. In the Disclosure Statement Order,
 the Bankruptcy Court has fixed [_______] [__], 2018 as the date (the “Voting Record Date”) for
 the determination of the Holders of Claims who are entitled to (a) receive a copy of this
 Disclosure Statement and related materials and (b) vote to accept or reject the Plan. After
 carefully reviewing the Plan and this Disclosure Statement, including any annexed exhibits,
 please indicate your acceptance or rejection of the Plan on the Ballot and return such Ballot to
 counsel for the Debtors in the enclosed envelope by no later than [_____] [__], 2018 to:




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                               Lowenstein Sandler LLP
                               Attn: Mary E. Seymour and Michael Savetsky
                               One Lowenstein Drive
                               Roseland, NJ 07068

      BALLOTS MUST BE COMPLETED AND RECEIVED BY COUNSEL FOR THE
 DEBTORS BY NO LATER THAN [_______] [__], 2018 (THE “VOTING DEADLINE”).
 ANY BALLOT THAT IS NOT EXECUTED BY A DULY AUTHORIZED PERSON
 SHALL NOT BE COUNTED. ANY BALLOT THAT IS EXECUTED BY THE HOLDER
 OF A CLAIM BUT THAT DOES NOT INDICATE AN ACCEPTANCE OR REJECTION
 OF THE PLAN OR INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF
 THE PLAN WILL BE DEEMED TO BE AN ACCEPTANCE OF THE PLAN. ANY
 BALLOT THAT IS FAXED OR SENT BY EMAIL SHALL NOT BE COUNTED IN THE
 VOTING TO ACCEPT OR REJECT THE PLAN, UNLESS THAT BALLOT IS
 ACCEPTED IN THE DEBTORS’ DISCRETION AFTER CONSULTATION WITH THE
 COMMITTEE.

        3.      Whom to Contact for More Information

        If you have any questions about the procedure for voting your Claim or the packet of
 materials you received, please contact Lowenstein Sandler LLP at the address indicated above or
 by telephone at (973) 597-2500. If you wish to obtain additional copies of the Plan or this
 Disclosure Statement at your own expense, unless otherwise specifically required by Bankruptcy
 Rule 3017(d), please contact Lowenstein Sandler LLP, One Lowenstein Drive, Roseland, NJ
 07068, Attn: Diane Claussen; or by electronic mail at dclaussen@lowenstein.com.

        4.      Acceptance or Rejection of the Plan

         The Bankruptcy Code defines “acceptance” of a plan by a class of Claims as acceptance
 by Holders of at least two-thirds in dollar amount and more than one-half in number of the
 Allowed Claims in that class that cast ballots for acceptance or rejection of the plan. The
 Bankruptcy Code defines “acceptance” of a plan by a class of interests as acceptance by Holders
 of at least two-thirds in amount of the Allowed Interests in that class that cast ballots for
 acceptance or rejection of the plan. If all Impaired Classes entitled to vote on the Plan do not
 accept the Plan, but least one Impaired Class votes to accept the Plan, the Debtors will seek to
 confirm the Plan under section 1129(b) of the Bankruptcy Code, which permits the confirmation
 of a plan notwithstanding the non-acceptance by one or more Impaired Classes of Claims or
 Interests. Under section 1129(b) of the Bankruptcy Code, a plan may be confirmed if (a) the
 plan has been accepted by at least one Impaired Class of Claims and (b) the Bankruptcy Court
 determines that the plan does not discriminate unfairly and is “fair and equitable” with respect to
 the non-accepting classes.

        5.      Time and Place of the Confirmation Hearing

         Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
 hold a confirmation hearing. Section 1128(b) of the Bankruptcy Code provides that any party in
 interest may object to confirmation of a plan.


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         Pursuant to section 1128 of the Bankruptcy Code and Bankruptcy Rule 3017(c), the
 Bankruptcy Court has scheduled the Confirmation Hearing to commence on [______] [__], 2018
 at [_:___] [__].m. (ET), before the Honorable Vincent F. Papalia of the United States Bankruptcy
 Court for the District of New Jersey, Courtroom 3B, 50 Walnut Street, 3rd Floor, Newark, New
 Jersey. A notice setting forth the time and date of the Confirmation Hearing has been included
 along with this Disclosure Statement. The Confirmation Hearing may be adjourned from time to
 time by the Bankruptcy Court without further notice, except for an announcement of the
 adjourned hearing date and time by the Bankruptcy Court in open court at such hearing.

         6.     Objections to the Plan

        Any objection to confirmation of the Plan must be in writing; must comply with the
 Bankruptcy Code and the Bankruptcy Rules; must be filed with the Clerk of the United States
 Bankruptcy Court for the District of New Jersey, 50 Walnut Street, 3rd Floor, Newark, New
 Jersey 07102, and must be served upon the following parties, so as to be received no later than
 [_____] [__], 2018 at 4:00 p.m. (ET): (a) Lowenstein Sandler LLP, Attn: Mary E. Seymour, Esq.
 and Michael Savetsky, Esq., One Lowenstein Drive, Roseland, NJ 07068; (b) Office of the
 United States Trustee, Attn: Peter J. D’Auria, Esq.; One Newark Center, 1085 Raymond
 Boulevard, Suite 2100, Newark, NJ 07102; and (c) Cole Schotz P.C., Attn: Warren A. Usatine,
 Esq. and Ryan T. Jareck, Esq., 25 Main Street, Hackensack, NJ 07601.

                                               II.

                        HISTORY OF THE DEBTORS AND
              CIRCUMSTANCES SURROUNDING THEIR CHAPTER 11 FILING

    A.        HISTORY, PROPERTY AND PREPETITION DEBTS OF THE DEBTORS

         1.     History of the Debtors

          CGI is a Delaware corporation that was formed as part of a 2012 acquisition of
 substantially all of the assets and businesses of Cinram International Income Fund in the United
 States, Canada, the United Kingdom, France, and Germany. CGI and its Debtor and non-Debtor
 affiliates (collectively, “Cinram”) were once one of the world’s largest providers of media
 development and delivery services. Located in North America and Europe, Cinram worked with
 some of the biggest names in home entertainment and retail. With a full range of supply chain
 services, including pre-recorded media product manufacturing, packaging, distribution and
 business solutions, Cinram guaranteed the flow of products smoothly and profitably to
 consumers around the world.

         As consumer demand rapidly shifted away from physical media for audio and video over
 the past several years, Cinram exited the manufacturing and supply chain services business,
 selling or winding down substantially all of its operations and operating assets, including those
 of the Debtors. As a result, as of March 17, 2017 (the “Petition Date”), the Debtors no longer
 had any active business operations, and the Debtors’ remaining assets consisted primarily of
 approximately four million square feet of owned and leased industrial property and undeveloped
 land located in Pennsylvania and Alabama, which is further described below.



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        2.     Debtors’ Property and Leases

         As of the Petition Date, CGI and CPG were parties to a number of leases. CGI leased a
 1.4 million square foot industrial facility and undeveloped land on approximately 161 acres (or 7
 million square feet of land), located at 4905 Moores Mill Road in Huntsville, Alabama (the
 “Huntsville Property”), from SIR Properties Trust, a Maryland real estate investment trust (“SIR
 Properties”), pursuant to a lease dated August 31, 2012 (together with all amendments, exhibits,
 and/or supplements thereto, the “Huntsville Lease”). The Base Rent due from CGI to SIR
 Properties under the Huntsville Lease was $642,934.71 per month, subject to an annual increase
 of three percent (3%) on August 31 of each year. The Huntsville Lease was to expire by its
 terms on August 31, 2032.

         On November 12, 2015, CGI consummated the sale (the “Technicolor Sale”) of its North
 American optical disc (DVD and Blu-ray) manufacturing and distribution assets to Technicolor
 Home Entertainment Services, Inc. (“Technicolor”). In connection with the Technicolor Sale,
 CGI, with the consent of SIR Properties, entered into a sublease of the Huntsville Property
 (together with all amendments, exhibits, and/or supplements thereto, the “Huntsville Sublease”)
 to CT Acquisition Holdco, LLC n/k/a Technicolor Home Entertainment Services Southeast, LLC
 (“Technicolor Southeast”). The Huntsville Sublease was to expire by its terms on August 29,
 2032. The Monthly Base Rent due from Technicolor Southeast to CGI under the Huntsville
 Sublease was equal to the Base Rent under the Huntsville Lease. In addition, pursuant to the
 Huntsville Sublease, Technicolor Southeast agreed to assume all of CGI’s obligations under the
 Huntsville Lease with respect to the Huntsville Property, including, without limitation, the
 obligation for payment of all monetary obligations of CGI under the Lease. As a pure pass-
 through, however, the Huntsville Sublease did not generate any income for CGI, but instead,
 only created additional administrative overhead.

         Pursuant to a first amendment to the Huntsville Lease, dated as of November 12, 2015, if
 CGI’s Tangible Net Worth (as defined therein) fell below $20,000,000, CGI would have been
 required to provide SIR Properties with a security deposit equal to the Base Rent payable under
 the Huntsville Lease for the following eighteen months. For example, if the deposit requirement
 were triggered on or about the Petition Date, CGI could have become obligated to post a security
 deposit under the Huntsville Lease in excess of $11.8 million.

        On November 12, 2015, Bookspan LLC (as tenant) assigned to CGI a lease dated
 September 24, 2008 (together with all amendments, exhibits, and/or supplements thereto, the
 “Hanover Lease”), for a 500,000 square foot industrial facility and undeveloped land on
 approximately 120 acres (or 5 million square feet of land), including approximately 75 acres of
 undeveloped land, located at 501 Ridge Avenue in Hanover, Pennsylvania (the “Hanover
 Property”). SIR Properties was also the landlord under the Hanover Lease and consented to the
 assignment of the Hanover Lease to CGI. The Base Rent due under the Hanover Lease was
 $286,430.10 per month, subject to an annual increase of four percent (4%) on September 24 of
 each year. In addition, CGI paid annual real estate taxes for the Hanover Property of
 approximately $300,000, as well as insurance, maintenance, utilities, and security costs totaling
 approximately $25,000 per month. The Hanover Lease was to expire by its terms on September
 24, 2028, subject to certain options to extend the term at CGI’s election.



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        As of the Petition Date, the Debtors did not occupy any portion of the Hanover Property
 although certain subtenants (the “Hanover Subtenants”) occupied a small portion of the Hanover
 Property on a month to month basis (the “Hanover Subleases”). The income received by CGI
 from the Hanover Subtenants varied from month to month depending upon the amount of space
 occupied by the Hanover Subtenants, but was relatively insignificant, particularly in comparison
 to the substantial rent due to SIR Properties under the Hanover Lease. In addition, upon
 information and belief, a 60 acre portion of the Hanover Property was subject to a farm lease
 dated October 2, 1987 (together with all amendments, exhibits, and/or supplements thereto, the
 “Farm Lease”), that predated the assignment of the Hanover Lease to CGI. CGI received only
 $175 per month in rent on account of the Farm Lease.

        As of the Petition Date, SIR Properties was holding a cash security deposit under the
 Hanover Lease in the amount of $3,739,382.00 (the “Hanover Deposit”). Pursuant to an
 amendment to the Hanover Lease dated November 12, 2015, if CGI’s Tangible Net Worth (as
 defined therein) fell below $20,000,000, CGI would have been required to increase the Hanover
 Deposit to an amount equal to the Base Rent payable under the Hanover Lease for the following
 eighteen months. For example, if this provision were triggered on or about the Petition Date,
 CGI could have been required to increase the Hanover Deposit to approximately $5.3 million, a
 cash outlay of more than $1.5 million.

        As of the Petition Date, after taking into account the minimal income from existing
 subleases, CGI was still incurring approximately $300,000 in losses per month associated with
 the Hanover Lease due to its high base rent, real estate taxes, insurance and other costs and
 expenses due under the Hanover Lease.

        As described below, in the exercise of their business judgment, the Debtors sought—and
 obtained the Bankruptcy Court’s approval—to reject the Huntsville Lease, the Huntsville
 Sublease, the Hanover Lease, the Hanover Subleases and the Farm Lease, as part of their “first
 day” motions in the Bankruptcy Cases.

        CPG owns a one million square foot manufacturing plant on approximately 103 acres of
 property located at 1400 East Lackawanna Avenue in Olyphant, Pennsylvania (the “Olyphant
 Property”). In connection with the Technicolor Sale, the Olyphant Property was leased to
 Technicolor Southeast pursuant to a lease dated November 12, 2015 (the “Olyphant Lease”).
 While Technicolor Southeast is responsible for payment of all expenses associated with the
 Olyphant Property, including all real estate taxes, insurance, maintenance and security costs,
 Technicolor Southeast is required to pay just $100 per month in Base Rent to CPG. Thus, CPG
 derives only nominal income from the Olyphant Property. Unless sooner terminated in
 accordance with its terms, the Olyphant Lease will expire on August 29, 2032.

         COI owns two manufacturing plants that are approximately 240,000 and 230,000 square
 feet in size, respectively, on approximately 100 acres of property located at 1 JVC Road and 2
 JVC Road in Cottondale, Alabama, an unincorporated community that is part of Tuscaloosa,
 Alabama (the “Tuscaloosa Property”). The Debtors acquired the Tuscaloosa Property in 2014 as
 part of CGI’s acquisition of JVC America, Inc., the games software division of JVC Americas
 Corp.



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         The Debtors most recently used the Tuscaloosa Property to produce and package compact
 discs, but the Debtors ceased operations entirely at the Tuscaloosa Property in 2015, and the
 Tuscaloosa Property has been vacant since that time. CPG incurs approximately $33,000 per
 month in carrying costs associated with the Tuscaloosa Property, including real estate taxes,
 insurance, maintenance, utilities and security costs.

         3.     Prepetition Debt

        As of the Petition Date, the Debtors did not have any funded debt obligations on either a
 secured or unsecured basis, and to the best of the Debtors’ knowledge, there were no valid and
 perfected liens against, or security interests in, any of the Debtors’ assets.

         As of the Petition Date, the Debtors had approximately $400,000 of aggregate accounts
 payable owed to various vendors and services providers in addition to the substantial future
 obligations under the Huntsville Lease and Hanover Lease described above.

         In addition, in connection with the Technicolor Sale, Technicolor had asserted a claim for
 a $500,000 payment allegedly due from CGI pursuant to the Purchase and Sale Agreement
 between the parties, dated August 10, 2015 (the “PSA”), as well as certain other alleged claims
 for indemnification under the PSA in an unliquidated amount.

        As of the Petition Date, the Debtors also had certain other potential contingent,
 unliquidated and/or disputed liabilities in connection with residual workers’ compensation
 claims, although the Debtors had not quantified the amount, or determined the validity, of any
 such workers’ compensation claims.

    B.        CIRCUMSTANCES SURROUNDING THE CHAPTER 11 FILING

         As described above, prior to the Petition Date, CGI was lessee under two burdensome
 real property leases from which it derived virtually no income whatsoever and under which it
 had very significant future liabilities. Due to these burdensome leases, the Debtors were
 experiencing mounting losses, and the Debtors believed that CGI’s long term liabilities in
 connection with the Huntsville Lease and Hanover Lease were unsustainable.

        The Huntsville Lease and Huntsville Sublease, together, amounted to a pass-through
 lease that did not benefit CGI in any way, while leaving CGI with tremendous financial
 exposure. If Technicolor Southeast were to have exercised its rights to terminate the Huntsville
 Sublease, CGI could have remained liable for rent payments that amounted to $642,934.71 per
 month, plus real estate taxes and other charges, for a property that it did not occupy and for
 which the Debtors had no use. Additionally, as described above, CGI could have potentially
 been required to post a security deposit in excess of $11.8 million under the Huntsville Lease.

        CGI was also incurring continuing losses in connection with the Hanover Lease at a rate
 of approximately $300,000 per month. CGI had not been able to find a long-term subtenant for
 the Hanover Lease for a variety of reasons, including but not limited to (1) the enormous size of
 the Hanover Lease and likelihood that it would need to be further demised to accommodate the



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 needs of potential subtenants, and (2) the age and layout of the building. Additionally, as
 described above, CGI could have potentially been required to increase the Hanover Deposit to
 $5,316,600.90, a cash outlay of more than $1.5 million, which would have further depleted the
 Debtors’ resources.

        After exploring all available options, the Debtors’ Board of Directors determined that
 commencing the Bankruptcy Cases was the best means to preserve and maximize the value of
 the Debtors’ assets for the benefit of their creditors and other parties in interest.

                                              III.

                     CORPORATE GOVERNANCE OF THE DEBTORS

         The board of directors of CGI consists of one member, Karen Kessler, who has served as
 the sole of director of CGI since September 2, 2016.

         The board of directors of COI consists of one member, Karen Kessler, who has served as
 the sole of director of COI since September 2, 2016.

         CPG is a member managed limited liability company managed by CGI.

        Glenn Langberg is the CEO of each of the Debtors. Joseph Catalano is the Secretary of
 each of the Debtors. The Debtors have no other employees.

         Mr. Langberg has communicated regularly and as needed with Ms. Kessler both before
 and during the pendency of the Bankruptcy Cases to discuss and evaluate the Debtors’ financial
 position, to consider and assess the Debtors’ strategic alternatives, to assess and determine how
 to maximize the value of the Debtors’ assets for the benefit of their stakeholders, and to
 otherwise keep Ms. Kessler fully informed regarding the Debtors’ business and liquidity position
 and developments in the Bankruptcy Cases.

                                              IV.

             SIGNIFICANT DEVELOPMENTS IN THE CHAPTER 11 CASES

    A.      “FIRST DAY” ORDERS AND DEBTORS’ RETENTION OF
            PROFESSIONALS

         On the Petition Date, the Debtors filed various “first day” motions (collectively, the
 “First Day Motions”) with the Bankruptcy Court, seeking certain expedited relief to aid in the
 efficient administration of the Bankruptcy Cases and to facilitate the Debtors’ transition to
 debtor-in-possession status. These motions were granted at a hearing held on March 23, 2017.
 The orders of the Bankruptcy Court granting the First Day Motions, among other things:

     •       authorized the joint administration of the Debtors’ Bankruptcy Cases for procedural
             purposes only;




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     •       granted an extension of the Debtors’ time to file their Schedules of Assets and
             Liabilities and Statements of Financial Affairs;

     •       authorized the Debtors to continue and maintain their existing cash management
             system and bank accounts;

     •       prohibited the Debtors’ utility companies from discontinuing, altering, or refusing
             service on account of prepetition invoices and approved the Debtors’ proposed form
             of adequate protection to such utility companies;

     •       authorized, but did not direct, the Debtors to pay certain prepetition taxes, such as
             real property taxes; and

     •       authorized, but did not direct, the Debtors to continue their pre-existing insurance
             policies and programs, maintain insurance premium financing arrangements, and to
             pay prepetition insurance premiums.

         By an order entered on April 26, 2017, the Debtors were authorized to retain Lowenstein
 Sandler LLP as counsel to the Debtors effective as of the Petition Date. By an order entered on
 June 22, 2017, the Debtors were authorized to retain JM Zell Partners, Ltd. as real estate
 consultant to the Debtors effective as of June 8, 2017. By an order entered on October 25, 2017,
 the Debtors were authorized to retain Greenman-Pedersen, Inc. and LBYD, Inc. to provide
 certain engineering services for the Debtors effective as of October 11, 2017.

    B.      REJECTION OF NONRESIDENTIAL REAL PROPERTY LEASES

        On the Petition Date, the Debtors filed the Debtors’ Motion for an Order Authorizing
 Rejection of Certain Unexpired Leases of Nonresidential Real Property as of the Petition Date
 (the “Lease Rejection Motion”) [Docket No. 10]. By the Lease Rejection Motion, the Debtors
 sought, among other things, to (i) reject the Huntsville Lease, the Huntsville Sublease, the
 Hanover Lease, the Hanover Subleases, and the Farm Lease, effective as of the Petition Date, (ii)
 abandon any “related property” that may have been located at the Huntsville Property and/or the
 Hanover Property, and (iii) establish a bar date by which counterparties to the Leases must assert
 any and all claims arising from the rejection of the Leases.

         Technicolor and SIR Properties each filed an objection to the Lease Rejection Motion.
 After a hearing held on March 29, 2017, the Bankruptcy Court entered an order on March 31,
 2017, granting substantially all of the relief south in the Lease Rejection Motion (the “Lease
 Rejection Order”) [Docket No. 55]. Among other things, the Lease Rejection Order approved (i)
 the rejection of the Huntsville Lease, the Huntsville Sublease, the Hanover Subleases and the
 Farm Lease, effective as of the Petition Date, and (ii) the rejection of the Hanover Lease
 effective as of March 29, 2017.

         Pursuant to the Lease Rejection Order, the counterparties to the leases rejected by the
 Lease Rejection Order were required to file proofs of claim related to or arising out of the
 rejection of the leases on or before May 15, 2017. Technicolor Southeast timely filed a Proof of
 Claim against CGI, Claim No. 6, asserting rejection damages arising out of CGI’s rejection of
 the Huntsville Sublease in an unliquidated amount. SIR Properties timely filed two (2) proofs of


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 claim against CGI, Claim Nos. 7 and 8, asserting rejection damages arising out of CGI’s
 rejection of the Hanover Lease and the Huntsville Lease in the amounts of $8,426,930.94 and
 $32,837,560.41, respectively.6

          On August 7, 2017, the Bankruptcy Court entered an order [Docket No. 197] granting a
 motion filed by SIR Properties for limited relief from the automatic stay of section 362 of the
 Bankruptcy Code, and terminating (i) the Huntsville Lease, effective as of the Petition Date, and
 (ii) the Hanover Lease, effective as of March 29, 2017.

     C.       APPOINTMENT OF COMMITTEE; RETENTION OF COMMITTEE
              PROFESSIONALS

        On April 3, 2017, the United States Trustee appointed the Official Committee of
 Unsecured Creditors (the “Committee”) pursuant to section 1102(a) of the Bankruptcy Code.
 The initial members of the Committee were as follows: SIR Properties, MPEG LA, LLC,
 Richter, LLP, and Technicolor. By an order entered on April 26, 2017, the Committee was
 authorized to retain Cole Schotz P.C. as counsel to the Committee. By an order entered on May
 31, 2017, the Committee was authorized to retain and Eisner Amper LLP as financial advisor to
 the Committee. On July 21, 2017, the Committee advised the Debtors through counsel that
 Richter, LLP had resigned from the Committee effective as of that date.

     D.       DISSEMINATION OF INFORMATION ABOUT THE BANKRUPTCY
              CASES

         The Debtors have provided information about the Debtors’ businesses and proceedings in
 these Bankruptcy Cases to various parties-in-interest, including the Committee. The Debtors
 provided extensive information about the Debtors’ financial, corporate, and operational status to
 creditors in their Schedules of Assets and Liabilities and Statements of Financial Affairs filed
 with the Bankruptcy Court and at the initial meeting of creditors held pursuant to section 341 of
 the Bankruptcy Code. In addition, the Debtors have provided formal and informal updates to
 various creditors in unscheduled telephone calls over the course of the Bankruptcy Cases. The
 Debtors have also provided voluminous documents and other information relating to their
 historical operations, assets and liabilities, among other things, to the Committee’s professionals
 in response to both formal and informal requests of the Committee.

     E.       POST-PETITION FINANCIAL PERFORMANCE

        The Debtors’ financial performance since the Petition Date is set forth in the monthly
 operating reports that the Debtors have filed with the Bankruptcy Court in CGI’s Bankruptcy
 Case.




 6
   As noted above, although SIR Properties has not sought to amend its proofs of claim, SIR Properties has
 informally alleged in an expert report that its claims against the Debtors total not less than $50,013,514.84 in the
 aggregate.



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     F.       CLAIMS BAR DATE AND CLAIMS SUMMARY

         On April 24, 2017, each of the Debtors filed with the Bankruptcy Court their Schedules
 of Assets and Liabilities and Statements of Financial Affairs. On May 23, 2017, the Debtors
 filed a motion (the “Bar Date Motion”) with the Bankruptcy Court seeking entry of an order
 pursuant to sections 105(a) and 501 of the Bankruptcy Code and Bankruptcy Rules 2002, 3003
 and 9008: (a) establishing (i) July 25, 2017 as the deadline by which all creditors, including
 creditors asserting claims pursuant to section 503(b)(9) of the Bankruptcy Code, other than
 governmental units (as defined in section 101(27) of the Bankruptcy Code), must file proofs of
 claim (the “General Bar Date”), and (ii) establishing September 13, 2017 as the date by which
 governmental units must file proofs of claim (the “Governmental Bar Date,” and together with
 the General Bar Date, collectively, the “Bar Dates”); (b) approving the form and manner of
 notice of the Bar Dates; (c) authorizing the Debtors to publish notice of the Bar Dates; and (d)
 granting related relief. On June 15, 2017, the Bankruptcy Court entered an order granting the
 Bar Date Motion and establishing the Bar Dates.

         A total of thirty-six (36) timely7 proofs of claim (the “Proofs of Claim”) were filed
 against the Debtors in the Bankruptcy Cases. Excluding Proofs of Claim filed in an unspecified
 or unliquidated amount and Proofs of Claim that were subsequently withdrawn, the timely filed
 Proofs of Claim, including amendments thereto, asserted claims against the Debtors in the
 aggregate face amount of approximately $58 million.8 Of this amount, approximately $57.9
 million was asserted against CGI, approximately $130,000 was asserted against COI, and
 approximately $7,000 was asserted against CPG.

         In addition to the timely Proofs of Claim filed against the Debtors, the aggregate amount
 of non-contingent, undisputed and liquidated Claims against the Debtors listed in the Debtors’
 respective Schedules of Assets and Liabilities (but not asserted in a timely filed Proof of Claim),
 is approximately $13,0009 in the aggregate. Of this amount, approximately $12,000 is scheduled
 with respect to CGI, approximately $1,000 is scheduled with respect to COI, and $0 is scheduled
 with respect to CPG.

         Notably, of the approximate $58 million in face amount of the Proofs of Claim filed
 against CGI, (1) approximately $41.2 million constitutes rejection damages claims asserted by
 SIR Properties in connection with CGI’s rejection of the Hanover Lease and the Huntsville
 Lease, and (2) approximately $14 million constitutes claims asserted by Technicolor Southeast in
 connection with alleged indemnification rights under the PSA and CGI’s rejection of the
 Huntsville Sublease. It has been the Debtors’ position throughout these Bankruptcy Cases that
 the rejection damages claims filed by SIR Properties in connection with CGI’s rejection of the
 Hanover Lease and the Huntsville Lease and the claims asserted by Technicolor Southeast for

 7
   This includes the proof of claim filed by MPEG LA, LLC on April 24, 2018, which was deemed timely pursuant to
 the Consent Order Permitting the Late Filing of MPEG LA’s Claim Pursuant to Rules 3003(c)(3) and 9006(b) of the
 Federal Rules of Bankruptcy Procedure [Docket No. 434].
 8
   Solely for purposes of this claims summary, Proofs of Claim filed by the same party against more than one Debtor
 for the same alleged liability were treated as filed against the principal Debtor allegedly liable for the Claim.
 9
   This amount does not include the claim of RSM US LLP, which was waived in connection its retention as an
 ordinary course professional by the Debtors.



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 indemnification under the PSA and alleged damages resulting from CGI’s rejection of the
 Huntsville Sublease are significantly overstated.

         On August 15, 2017, the Debtors filed an objection to the rejection damages claims filed
 by SIR Properties (the “SIR Claim Objection”) [Docket No. 218], and that objection remains
 pending. As set forth in the SIR Claim Objection, the Debtors believe that the rejection damages
 claims filed by SIR Properties are significantly overstated on a variety of legal and factual bases.
 Among other things, the Debtors dispute the validity of the alleged deferred maintenance and
 environmental and building cleanup costs asserted by SIR Properties. In addition, each of SIR
 Properties’ rejection damages claims is subject to mitigation by SIR Properties in the exercise of
 its fiduciary duty to maximize value for its shareholders. Furthermore, the Debtors are not aware
 of any evidence that SIR Properties has actually suffered any loss arising from the rejection of
 the Huntsville Lease. Upon information and belief, Technicolor Southeast continues to pay
 all amounts due under the Huntsville Sublease, which are equal in amount to CGI’s former
 obligations under the Huntsville Lease, to SIR Properties. In fact, SIR Properties, which is a
 publicly traded REIT listed on the Nasdaq Stock Market, has acknowledged this in its public
 filings after the Petition Date.10 However, as set forth below, the Debtors have reached a
 settlement with SIR Properties that is embodied in the Plan and resolves the SIR Claim
 Objection.

         On August 31, 2017, the Bankruptcy Court entered an Order [Docket No. 233] granting a
 motion filed by SIR Properties for limited relief from the automatic stay of section 362 of the
 Bankruptcy Code and authorizing SIR Properties’ application and set off the Hanover Deposit
 against its claim filed on account of rejection of the Hanover Lease (the “Hanover Rejection
 Damages Claim”), without prejudice to the rights of the Debtors to seek the return of the
 Hanover Deposit to the extent such claim is disallowed in full or is allowed in an amount less
 than the amount of the Hanover Deposit. The Bankruptcy Court made no determination as to the
 allowance or disallowance of the Hanover Rejection Damages Claim, and the Bankruptcy
 Court’s Order provided that it shall not have any res judicata or collateral estoppel effect as to
 the amount, validity, allowance or disallowance of any portion of the Hanover Rejection
 Damages Claim.

        In the absence of a consensual resolution of the claims filed by Technicolor Southeast,
 the Debtors intended to object to such claims and to further assert affirmative claims for recovery
 against Technicolor Southeast relating to breaches of its maintenance and repair obligations
 under the Olyphant Lease and the Huntsville Sublease. The Debtors believe that Technicolor
 Southeast’s failure to maintain the Olyphant Premises and the Huntsville Premises in first class
 condition as required by the lease documents has caused millions of dollars in damage to the
 Debtors. However, as set forth below, the Debtors have reached a settlement with Technicolor


 10
   See, e.g., SIR Properties’ quarterly reports on Form 10-Q for (a) the period ending March 31, 2017, filed with the
 Securities and Exchange Commission on April 25, 2017, at Item 1, Note 3, p. 8, and (b) the period ending June 30,
 2017, filed with the Securities and Exchange Commission on July 25, 2017, at Item 1, Note 13, p. 14, each of which
 are available at http://www.sirreit.com/investors/financial-information/quarterly-results/default.aspx (“The
 [Huntsville] property is occupied by a subtenant that continues to pay rent to us in an amount equal to the rent under
 the former tenant’s lease.”).



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 that is embodied in the Plan and resolves both the claims filed by Technicolor Southeast and the
 Debtors’ claims against Technicolor Southeast.

          Importantly, the ultimate Allowed amount of Claims against the Debtors will not be
 known until the Debtors and/or Reorganized Debtors complete their review and reconciliation of
 all filed Claims, prosecute any appropriate objections to Claims, and all such Claim objections
 are adjudicated and resolved and/or settled.

      G.      CLAIMS MEDIATION AND RESOLUTION OF THE CLAIMS OF SIR
              PROPERTIES TRUST AND TECHNICOLOR

         At a case status conference held on December 5, 2017, the Bankruptcy Court, after
 discussion with the parties, suggested that the Debtors, SIR Properties, Technicolor and the
 Committee engage in a mediation of the claims asserted by SIR Properties and Technicolor (the
 Debtors’ two largest creditors) and, to the extent those claims could be resolved, issues relating
 to the Debtors’ previously proposed plan of reorganization. By agreement of the parties and with
 the permission of the Bankruptcy Court, The Honorable Michael B. Kaplan, U.S.B.J. agreed to
 serve as mediator.

         In order to facilitate a consensual plan of reorganization (which was always the Debtors’
 goal), the claims mediation process necessarily focused on resolving the claims of SIR Properties
 and Technicolor. To that end, the mediation process included numerous in person and telephonic
 meetings and conference calls between the various parties and with Judge Kaplan, as well as the
 exchange of various written settlement proposals and communications between the parties,
 which were largely facilitated by Judge Kaplan and included his valuable input.

        As a result of the mediation process and with the assistance of Judge Kaplan, the Debtors
 have reached a settlement of both SIR’s and Technicolor’s claims and the Debtors’ potential
 counterclaims against Technicolor relating to the Olyphant Lease and Olyphant Premises. Each
 of those critically important settlements are embodied in the Plan and is subject to approval by
 the Bankruptcy Court pursuant to Bankruptcy Rule 9019 as part of the Plan confirmation
 process.

        Among other things, the settlement between the Debtors and SIR Properties includes the
 following principal components:

                  The SIR Rejection Damage Claims will be allowed in an amount equal to the SIR
                   Settlement Amount11 and paid in accordance with the terms of the Plan

                  Upon payment in full of the SIR Settlement Amount, SIR Properties and the
                   Debtors, on behalf of themselves and their related parties, will be deemed to have
                   exchanged the global releases of claims set forth in Section 6.11 of the Plan.


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    As set forth in the Plan, the “SIR Settlement Amount” means (1) if paid in full on or before October 1, 2018,
 $8,500,000, or (2) if paid in full after October 1, 2018, (a) $8,500,000, plus (b) simple interest at the rate of 8% per
 annum (computed based on the actual number of days elapsed in a year consisting of 365 days) solely on the portion
 of such amount that remains unpaid from time to time after October 1, 2018.



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              Upon payment in full of the SIR Settlement Amount, SIR Properties, Technicolor
               and Technicolor Southeast, on behalf of themselves and their related parties, will
               be deemed to have exchanged the global releases of claims set forth in Section
               6.12 of the Plan.

         The proposed global release of claims by SIR Properties in favor of Technicolor and
 Technicolor Southeast (and the mutual release of SIR Properties by Technicolor and Technicolor
 Southeast) is a key element of the settlement between the Debtors and SIR Properties, and the
 Debtors believe that release helped to facilitate a consensual resolution of the claims of
 Technicolor Southeast against the Debtors, which were intertwined in certain key respects with
 the claims of SIR Properties.

       The settlement between the Debtors and Technicolor includes the following principal
 components:

              The Technicolor Indemnification Claims will be allowed in the aggregate amount
               of $1,500,000 and paid in accordance with the terms of the Plan, subject to the
               terms and conditions set forth therein.

              The Debtors, Technicolor and Technicolor Southeast, on behalf of themselves and
               their related parties, will exchange various mutual releases of claims set forth in
               Sections 6.10, 6.13 and 6.14 of the Plan.

              Technicolor Southeast has agreed to vacate and surrender the Olyphant Premises
               and terminate the Olyphant Lease under an agreed timeframe and pursuant to
               certain conditions agreed to by the Debtors and Technicolor.

              The Debtors, with the consent of the Plan Sponsor, have agreed to grant
               Technicolor second mortgages on the Olyphant Property and the Tuscaloosa
               Property to secure certain contingent obligations of the LC Guarantor and the
               Parent (each as defined in the PSA) under section 4.15(b) of the PSA relating to
               the Technicolor Letters of Credit.

                                               V.

                                 SUMMARY OF THE PLAN

       THIS SECTION PROVIDES A SUMMARY OF THE PLAN AND IS QUALIFIED
 IN ITS ENTIRETY BY REFERENCE TO THE PLAN, WHICH ACCOMPANIES THIS
 DISCLOSURE STATEMENT. ALTHOUGH THE STATEMENTS CONTAINED IN
 THIS DISCLOSURE STATEMENT INCLUDE SUMMARIES OF THE PROVISIONS
 CONTAINED IN THE PLAN AND IN DOCUMENTS REFERRED TO THEREIN, THIS
 DISCLOSURE STATEMENT DOES NOT PURPORT TO BE A PRECISE OR
 COMPLETE STATEMENT OF ALL OF THE TERMS AND PROVISIONS OF THE
 PLAN OR DOCUMENTS REFERRED TO THEREIN, AND REFERENCE IS MADE TO
 THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND COMPLETE
 STATEMENTS OF SUCH TERMS AND PROVISIONS. THE PLAN WILL CONTROL


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 THE TREATMENT OF CREDITORS AND INTEREST HOLDERS AND WILL, UPON
 THE EFFECTIVE DATE, BE BINDING UPON HOLDERS OF CLAIMS AGAINST, OR
 INTERESTS IN, THE DEBTORS AND UPON ALL OTHER PARTIES IN INTEREST.

    A.        CLASSIFICATION OF CLAIMS AND INTERESTS

         1.     Introduction

         The categories of Claims and Interests set forth below classify all Claims against and
 Interests in the Debtors for all purposes of the Plan. A Claim or Interest is classified in a
 particular Class only to the extent the Claim or Interest qualifies within the description of that
 Class and is classified in other Classes to the extent that any portion of such Claim or Interest
 qualifies within the description of such other Classes. A Claim or Interest is in a particular Class
 only to the extent that such Claim or Interest is Allowed in that Class and has not been paid or
 otherwise settled prior to the Effective Date. Unless otherwise provided by the Plan, the
 treatment with respect to each Class of Claims and Interests provided for in the Plan shall be in
 full and complete satisfaction, release and discharge of such Claims and Interests.

         2.     Classification

         The classification of Claims and Interests under the Plan is as follows:

   Class        Description                             Status          Voting Rights
   Class 1      Secured Claims                          Unimpaired      Not Entitled to Vote
                                                                        (Deemed to Accept)
   Class 2      Priority Claims                         Unimpaired      Not Entitled to Vote
                                                                        (Deemed to Accept)
   Class 3      SIR Rejection Damage Claims             Impaired        Entitled to Vote
   Class 4      Technicolor Indemnification             Impaired        Entitled to Vote
                Claims
   Class 5      General Unsecured Claims                Impaired        Entitled to Vote
   Class 6      Workers’ Compensation Insurance         Unimpaired      Not Entitled to Vote
                Claims                                                  (Deemed to Accept)
   Class 7      Intercompany Claims                     Unimpaired      Not Entitled to Vote
                                                                        (Deemed to Accept)
   Class 8      Interests                               Unimpaired      Not Entitled to Vote
                                                                        (Deemed to Accept)

      The treatment provided for each Class of Claims and Interests under the Plan is
 summarized as follows:

                 (a)     Class 1—Secured Claims. Class 1 consists of all Secured Claims under
 section 506 of the Bankruptcy Code. Except to the extent that a Holder of an Allowed Secured
 Claim agrees to a less favorable treatment of its Allowed Secured Claim or such Claim is
 satisfied pursuant to the SIR Setoff Order, in full and final satisfaction, settlement, release, and
 discharge of and in exchange for each Allowed Secured Claim, on or as soon as reasonably
 practicable after the later of (i) the Effective Date, and (ii) the date such Secured Claim becomes


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 Allowed, each Holder of an Allowed Class 1 Secured Claim shall receive, at the option of the
 Reorganized Debtors, either: (A) Cash in an amount equal to such Allowed Secured Claim; (B)
 the proceeds of the sale or disposition of the collateral securing such Allowed Secured Claim to
 the extent of the value of the Holder’s interest in such collateral; (C) the collateral securing such
 Allowed Secured Claim; or (D) such other treatment rendering such Holder’s Allowed Secured
 Claim Unimpaired including, but not limited to, payment in the ordinary course of business in
 accordance with the terms of any agreement governing such Allowed Claim. In the event that the
 Reorganized Debtors elect to treat an Allowed Secured Claim under clause (A) or (B), the Liens
 securing such Claim shall be deemed released without the need for further action. Upon the
 occurrence of the Effective Date, SIR Properties Trust shall have an Allowed Secured Claim in
 the amount of $3,739,382.00, which shall be deemed fully satisfied by the exercise of its setoff
 rights pursuant to the SIR Setoff Order.

                Voting: Class 1 is an Unimpaired Class, and the Holders of
                Secured Claims are conclusively presumed to have accepted the
                Plan pursuant to section 1126(f) of the Bankruptcy Code and are
                not entitled to vote to accept or reject the Plan.

                 (b)    Class 2—Priority Claims. Class 2 consists of all Priority Claims entitled
 to priority under section 507(a) of the Bankruptcy Code other than an Administrative Expense
 Claim or a Tax Claim. Except to the extent that a Holder of an Allowed Priority Claim agrees to
 a less favorable treatment of its Allowed Priority Claim, in full and final satisfaction, settlement,
 release, and discharge of and in exchange for each Allowed Priority Claim, on or as soon as
 reasonably practicable after the later of (a) the Effective Date, or (b) the date such Priority Claim
 becomes Allowed, each Holder of an Allowed Priority Claim shall receive, at the option of the
 Reorganized Debtors, either: (i) Cash equal to the full amount of such Allowed Priority Claim; or
 (ii) such other treatment rendering such Holder’s Allowed Priority Claim Unimpaired.

                Voting: Class 2 is an Unimpaired Class, and the Holders of
                Priority Claims are conclusively presumed to have accepted the
                Plan pursuant to section 1126(f) of the Bankruptcy Code and are
                not entitled to vote to accept or reject the Plan.

                (c)    Class 3—SIR Rejection Damage Claims. Class 3 consists of the SIR
 Rejection Damage Claims. The SIR Rejection Damage Claims shall be Allowed in an aggregate
 amount equal to the SIR Settlement Amount. The SIR Settlement Amount shall be paid in full
 within 60 days after the Effective Date in full and final satisfaction, settlement, release and
 discharge of and in exchange for the SIR Rejection Damage Claims.

                Voting: Class 3 is an Impaired Class. Pursuant to section 1126 of
                the Bankruptcy Code, SIR Properties Trust (the sole Holder of
                Claims in Class 3) is entitled to vote to accept or reject the Plan.

               (d)   Class 4—Technicolor Indemnification Claims. Class 4 consists of the
 Technicolor Indemnification Claims. In full and final satisfaction, settlement, release and
 discharge of and in exchange for the Technicolor Indemnification Claims, the Technicolor
 Allowed Claim Amount shall be paid as follows: (a) $1,000,000 shall be paid within 10 days


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 after the Effective Date to Technicolor, and (b) $500,000 shall be deposited no later than 30 days
 after the Effective Date in immediately available funds with the Escrow Agent (as defined in
 Section 6.8 of the Plan) and held and distributed in accordance with the terms of Section 6.8 of
 the Plan and the Escrow Agreement (as defined in Section 6.8 of the Plan). In addition, pursuant
 to Sections 6.6 and 6.7 of the Plan, on the Effective Date, the Olyphant Second Mortgage shall
 be executed by CPG and delivered to Technicolor, the Tuscaloosa Second Mortgage shall be
 executed by COI and delivered to Technicolor, and the Olyphant Subordination Agreement (as
 defined in Section 6.6 of the Plan) shall be executed by Technicolor and the Plan Sponsor. For
 the avoidance of doubt, notwithstanding execution and delivery of the Olyphant Second
 Mortgage and the Tuscaloosa Second Mortgage, under no circumstance shall the Technicolor
 Indemnification Claims be Allowed in an amount greater than the Technicolor Allowed Claim
 Amount.

                Voting: Class 4 is an Impaired Class. Pursuant to section 1126 of
                the Bankruptcy Code, Technicolor Southeast (the sole Holder of a
                Claim in Class 4) is entitled to vote to accept or reject the Plan.

                (e)     Class 5—General Unsecured Claims. Class 5 consists of all General
 Unsecured Claims. Except to the extent a Holder of an Allowed General Unsecured Claim
 agrees to a less favorable treatment, in full and final satisfaction, settlement, release and
 discharge of and in exchange for each Allowed General Unsecured Claim, each Holder thereof
 shall receive such Holder’s Pro Rata share of Cash in the amount of the GUC Distribution
 Amount, which shall be paid by the Debtors on or before the Effective Date into a segregated
 bank account for the benefit of Holders of Allowed General Unsecured Claims, and from which
 Distributions shall be made as soon as practicable after the date on which all General Unsecured
 Claims are either Allowed or Disallowed.

                Voting: Class 5 is an Impaired Class. Pursuant to section 1126 of
                the Bankruptcy Code, each Holder of a Claim in Class 5 is entitled
                to vote to accept or reject the Plan.

               (f)   Class 6—Workers’ Compensation Insurance Claims. Class 6 consists
 of all Workers’ Compensation Insurance Claims. On the Effective Date, all Allowed Workers’
 Compensation Insurance Claims shall be Reinstated.

                Voting: Class 6 is an Unimpaired Class, and the Holders of
                Workers’ Compensation Insurance Claims are conclusively
                presumed to have accepted the Plan pursuant to section 1126(f) of
                the Bankruptcy Code and are not entitled to vote to accept or reject
                the Plan.

                 (g)     Class 7—Intercompany Claims. Class 7 consists of all Intercompany
 Claims. On the Effective Date, all net Allowed Intercompany Claims (taking into account any
 setoffs of Intercompany Claims) shall, at the election of the Reorganized Debtors, be either (i)
 Reinstated, or (ii) released, waived, and discharged without any Distribution on account of such
 Claims.




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                Voting: Class 7 is an Unimpaired Class, and the Holders of
                Intercompany Claims are conclusively presumed to have accepted
                the Plan pursuant to section 1126(f) of the Bankruptcy Code. In
                addition, Holders of Intercompany Claims, as proponents of the
                Plan, are deemed to accept the Plan. Therefore, the Holders of
                Intercompany Claims are not entitled to vote to accept or reject the
                Plan.

                (h)    Class 8—Interests. Class 8 consists of all Interests in a Debtor. On the
 Effective Date, Allowed Interests shall be Reinstated and shall not be discharged, canceled,
 released, extinguished or otherwise altered as a result of or by the Plan.

                Voting: Class 8 is an Unimpaired Class, and the Holders of
                Interests are conclusively presumed to have accepted the Plan
                pursuant to section 1126(f) of the Bankruptcy Code and are not
                entitled to vote to accept or reject the Plan.

         3.     No Waiver of Defenses

         Except as otherwise provided in the Plan, nothing in the Plan is intended to or shall affect
 the Debtors’ or Reorganized Debtors’ rights and defenses in respect of any Claim, including all
 rights in respect of legal and equitable defenses to or setoffs or recoupments against such Claims.

    B.        TREATMENT OF UNCLASSIFIED CLAIMS

         1.     Summary

         Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims
 (including Professional Fee Claims) and Tax Claims against the Debtors are not classified for
 purposes of voting on, or receiving Distributions under, the Plan. All such Claims are instead
 treated separately in accordance with Article IV of the Plan and in accordance with the
 requirements set forth in sections 1129(a)(9)(A) and (C) of the Bankruptcy Code.

         2.     Administrative Expense Claims

         Administrative expense claims are claims for payment of administrative expenses of a
 kind specified in section 503(b) of the Bankruptcy Code and entitled to priority pursuant to
 section 507(a)(2) of the Bankruptcy Code. Such claims include the actual, necessary costs and
 expenses of preserving the Debtors’ Estates incurred on or after the Petition Date. Unless
 otherwise agreed to by the Holder of an Allowed Administrative Expense Claim or Allowed
 Professional Fee Claim and the Debtors or Reorganized Debtors, as applicable, to the extent an
 Allowed Administrative Expense Claim or an Allowed Professional Fee Claim has not already
 been paid in full or otherwise satisfied during the Bankruptcy Cases, each Holder of an Allowed
 Administrative Expense Claim and/or Allowed Professional Fee Claim will receive, in full and
 final satisfaction of its Allowed Administrative Expense Claim and/or Allowed Professional Fee
 Claim, Cash equal to the amount of the unpaid portion of such Allowed Administrative Expense
 Claim and/or Allowed Professional Fee Claim either: (1) if such Administrative Expense Claim


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 and/or Professional Fee Claim is Allowed as of the Effective Date, no later than thirty (30) days
 after the Effective Date or as soon as reasonably practicable thereafter; (2) if such Administrative
 Expense Claim and/or Allowed Professional Fee Claim is not Allowed as of the Effective Date,
 no later than thirty (30) days after the date on which such Administrative Expense Claim is
 Allowed; or (3) if an Administrative Expense Claim (other than a Professional Fee Claim) is
 based on liabilities incurred by the Debtors’ Estates in the ordinary course of their business after
 the Petition Date, pursuant to the terms and conditions of the particular transaction giving rise to
 such Administrative Expense Claim, without any further action by the Holder of such
 Administrative Expense Claim.

        3.      Bar Date for Filing Administrative Expense Claims; Final Fee Applications

        Except as otherwise provided in the Plan, any Person holding an Administrative
 Expense Claim (other than a Professional Fee Claim) shall File a request for payment of
 such Administrative Expense Claim and serve a copy thereof upon the Reorganized
 Debtors no later than the Administrative Expense Claims Bar Date. Any Person who is
 required but fails to timely File and serve a request for payment of an Administrative
 Expense Claim on or before the Administrative Expense Claims Bar Date shall be forever
 barred from seeking payment of such Administrative Expense Claim by the Debtors, their
 Estates or the Reorganized Debtors, and such Administrative Expense Claim shall be
 deemed discharged as of the Effective Date. Any objection to a request for payment of an
 Administrative Expense Claim must be Filed and served on the requesting party on or
 before the Claims Objection Deadline.

         Any Person seeking allowance by the Bankruptcy Court of a Professional Fee Claim shall
 File a final application for allowance of such Professional Fee Claim within sixty (60) days after
 the Effective Date. The provisions of this paragraph shall not apply to any Person providing
 services to the Debtors as an “ordinary course professional” that, pursuant to a Final Order, is not
 required to File fee applications.

        4.      The Professional Fee Escrow

          As soon as reasonably practicable after the Confirmation Date and no later than the
 Effective Date, the Debtors or Reorganized Debtors shall establish and fund the Professional Fee
 Escrow. The Debtors or Reorganized Debtors shall fund the Professional Fee Escrow with Cash
 equal to the Professional Fee Claims Estimate. Funds held in the Professional Fee Escrow shall
 not be considered property of the Debtors’ Estates or property of the Reorganized Debtors, but
 shall revert to the Reorganized Debtors only after all Professional Fee Claims allowed by the
 Bankruptcy Court have been irrevocably paid in full. The Professional Fee Escrow shall be held
 in trust for Professionals retained by the Committee or the Debtors and for no other parties until
 all Professional Fee Claims Allowed by the Bankruptcy Court have been paid in full.
 Professional Fees owing to the applicable Professionals shall be paid in Cash to such
 Professionals from funds held in the Professional Fee Escrow when such Professional Fee
 Claims are Allowed by an order of the Bankruptcy Court; provided, that obligations with respect
 to Professional Fee Claims shall not be limited nor deemed limited to the balance of funds held
 in the Professional Fee Escrow. No Liens, claims, or interests shall encumber the Professional
 Fee Escrow in any way.


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         5.     Tax Claims

         Except to the extent that a Holder of an Allowed Tax Claim agrees to a less favorable
 treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange for,
 each Allowed Tax Claim, each Holder of such Allowed Tax Claim shall receive Cash in an
 amount equal to such Allowed Tax Claim as soon as reasonably practicable after the later of the
 Effective Date and the date such Claim becomes Allowed. Notwithstanding the foregoing, the
 Reorganized Debtors reserve the right to treat any Allowed Tax Claim in accordance with the
 terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

         6.     Post-Effective Date Fees and Expenses

         Except as otherwise specifically provided in the Plan, on and after the Effective Date, the
 Reorganized Debtors may employ and pay the reasonable fees and expenses of any professional
 or advisor in the ordinary course of business and without any further notice to or action, order, or
 approval of the Bankruptcy Court. Upon the Effective Date, any requirement that Professionals
 engaged by the Debtors comply with sections 327 through 331 of the Bankruptcy Code or any
 order governing interim compensation of Professionals in the Bankruptcy Cases in seeking
 retention or compensation for services rendered after such date will terminate.
                                                VI.

         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

    A.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          On the Effective Date, all Executory Contracts or Unexpired Leases of the Debtors will
 be deemed rejected in accordance with sections 365 and 1123(b)(2) of the Bankruptcy Code,
 except those Executory Contracts or Unexpired Leases that (a) have been previously rejected or
 assumed by a Debtor pursuant to an order of the Bankruptcy Court, (b) are the subject of a
 motion to assume Filed by the Debtors which is pending on the Effective Date, (c) are designated
 by the Debtors in an Assumption Notice as Executory Contracts or Unexpired Leases that are to
 be assumed by the Debtors effective as of the Effective Date, or (d) are director and officer
 liability insurance policies that are to be assumed by the Debtors pursuant to Section 6.24 of the
 Plan. Entry of the Confirmation Order by the Bankruptcy Court shall constitute approval of such
 rejections or assumptions, as applicable, pursuant to sections 365 and 1123(b)(2) of the
 Bankruptcy Code.

    B.        CLAIMS BASED ON REJECTION OF EXECUTORY CONTRACTS OR
              UNEXPIRED LEASES

        All Proofs of Claim with respect to Claims arising from the rejection pursuant to the
 Plan of any Executory Contracts or Unexpired Leases, if any, must be Filed and served
 upon the Reorganized Debtors within thirty (30) days after the Effective Date. Any Claims
 arising from the rejection of Executory Contracts or Unexpired Leases that become
 Allowed Claims are classified and shall be treated as Class 5 General Unsecured Claims.
 Any Claims arising from the rejection of an Executory Contract or Unexpired Lease
 pursuant to the Plan not Filed within the time required by this section will be automatically


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 disallowed, forever barred from assertion, and shall not be enforceable against the Debtors,
 the Reorganized Debtors, the Estates and property of the Debtors and Reorganized
 Debtors unless otherwise ordered by the Bankruptcy Court or provided in the Plan.
 Notwithstanding the foregoing, a Claim for damages arising from the rejection of an
 Executory Contract or Unexpired Lease rejected pursuant to an order of the Bankruptcy
 Court entered prior to the Effective Date must be Filed prior to any deadline set forth in
 such order.

    C.      CURE OF DEFAULTS FOR EXECUTORY CONTRACTS OR UNEXPIRED
            LEASES ASSUMED BY THE DEBTORS

         Any monetary defaults under each Executory Contract or Unexpired Lease to be assumed
 pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by
 payment of the default amount specified in an Assumption Notice in Cash within 30 days after
 the Effective Date, subject to the limitations described below, or on such other terms as the
 parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the event of a
 dispute regarding: (1) the amount of any payments to cure such a default; (2) the ability of the
 Debtors or Reorganized Debtors to provide “adequate assurance of future performance” (within
 the meaning of section 365 of the Bankruptcy Code) under an Executory Contract or Unexpired
 Lease to be assumed; or (3) any other matter pertaining to assumption, the cure amount required
 by section 365(b)(1) of the Bankruptcy Code shall be paid following the entry of a Final Order or
 orders resolving the dispute and approving the assumption; provided, that the Debtors or
 Reorganized Debtors, as applicable, may settle any dispute regarding assumption of an
 Executory Contract or Unexpired Lease without any further notice to any other party or any
 action, order, or approval of the Bankruptcy Court; provided, further, that, notwithstanding
 anything to the contrary in the Plan, prior to the entry of a Final Order resolving any dispute and
 approving the assumption and assignment of an Executory Contract or Unexpired Lease, the
 Debtors or Reorganized Debtors, as applicable, reserve the right to reject any such Executory
 Contract or Unexpired Lease which is subject to dispute, whether by amending an Assumption
 Notice to remove any such Executory Contract or Unexpired Lease or withdrawing an
 Assumption Notice. The Debtors shall serve a copy of any Assumption Notice on the applicable
 counterparties to any Executory Contract or Unexpired Lease designated for assumption therein.
 Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
 assumption or related cure amount must be Filed, served, and actually received by the Debtors or
 Reorganized Debtors, as applicable, no later than thirty (30) days after service of the Assumption
 Notice. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely
 object to a proposed assumption or cure amount will be deemed to have assented to such
 assumption or cure amount. Assumption of any Executory Contract or Unexpired Lease
 pursuant to the Plan shall constitute the full release and satisfaction of any Claims or defaults,
 whether monetary or nonmonetary, arising under any assumed Executory Contract or Unexpired
 Lease at any time prior to the effective date of such assumption. Any Proofs of Claim Filed
 with respect to an Executory Contract or Unexpired Lease that has been assumed shall be
 deemed disallowed and expunged, without further notice, action, order, or approval of the
 Bankruptcy Court.




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    D.      PREEXISTING OBLIGATIONS TO THE DEBTORS UNDER EXECUTORY
            CONTRACTS AND UNEXPIRED LEASES

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall not constitute a termination of preexisting obligations owed to the Debtors under
 such Executory Contract or Unexpired Lease.

    E.      SURVIVAL OF CERTAIN INDEMNIFICATION OBLIGATIONS

         Notwithstanding any other provision of the Plan, the obligations of the Debtors pursuant
 to their certificates or articles of incorporation, bylaws and other organizational documents to
 indemnify persons serving after the Petition Date as officers, directors, agents, or employees of
 the Debtors with respect to actions, suits and proceedings against the Debtors or such officers,
 directors, agents, or employees, based upon any act or omission for, on behalf of, or relating to
 the Debtors and occurring prior to or after the Petition Date, shall not be discharged or impaired
 by Confirmation of the Plan and shall continue to be obligations of the Debtors and Reorganized
 Debtors, as applicable, from and after the Confirmation Date.

    F.      MODIFICATIONS, AMENDMENTS, SUPPLEMENTS, RESTATEMENTS,
            OR OTHER AGREEMENTS

        Modifications, amendments, supplements, and restatements to a prepetition Executory
 Contract or Unexpired Lease that have been executed by the Debtors during the Bankruptcy
 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
 Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

    G.      CONTRACTS AND LEASES ENTERED INTO AFTER THE PETITION
            DATE

        Contracts and leases entered into after the Petition Date by any Debtor, including any
 Executory Contract or Unexpired Lease assumed by such Debtor, will be performed by the
 applicable Debtor or Reorganized Debtor in the ordinary course of its business. Accordingly,
 such contracts and leases (including any assumed Executory Contract or Unexpired Lease) will
 survive and remain unaffected by entry of the Confirmation Order.

    H.      RESERVATION OF RIGHTS

         Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on an
 Assumption Notice, nor anything contained in the Plan, shall constitute an admission by the
 Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or
 that any of the Debtors has any liability thereunder. In the event of a dispute regarding whether a
 contract or lease is or was executory or unexpired at the time of assumption or rejection, the
 Debtors or Reorganized Debtors, as applicable, shall have thirty (30) days following entry of a
 Final Order resolving such dispute to alter their treatment of such contract or lease, including by
 rejecting such contract or lease nunc pro tunc to the Effective Date.




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                                               VII.

                     MEANS FOR IMPLEMENTATION OF THE PLAN

    A.      GENERAL SETTLEMENT OF CLAIMS

         Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
 consideration for the classification, allowance of Claims, distributions, releases and other
 benefits provided under the Plan, upon the Effective Date, the provisions of the Plan will
 constitute a good faith compromise and settlement of all Claims and Equity Interests and
 controversies resolved pursuant to the Plan.

    B.      SUBSTANTIVE CONSOLIDATION.

         The Plan shall serve as a motion by the Debtors seeking entry of an order substantively
 consolidating each of the Estates of the Debtors into a single consolidated Estate solely for the
 purposes of voting and Distributions under the Plan. On and after the Effective Date, solely for
 the purpose of Distributions under the Plan, (1) all assets and liabilities of the substantively
 consolidated Debtors will be deemed to be merged, (2) the obligations of each Debtor will be
 deemed to be the obligation of the substantively consolidated Debtors, (3) any Claims filed or to
 be filed in connection with any such obligations will be deemed Claims against the substantively
 consolidated Debtors, (4) each Claim filed in the Bankruptcy Case of any Debtor will be deemed
 filed against the Debtors in the consolidated Bankruptcy Cases in accordance with the
 substantive consolidation of the assets and liabilities of the Debtors, (5) all transfers,
 disbursements and distributions made under the Plan will be deemed to be made by the
 substantively consolidated Debtors, and (6) all guarantees by a Debtor of the obligations of any
 other Debtor and any joint or several liability of any of the Debtors shall be deemed eliminated
 so that any Claim against any Debtor and any guarantee thereof executed by any other Debtor
 and any joint or several liability of any of the Debtors shall be deemed to be one obligation of the
 substantively consolidated Debtors. Holders of Allowed Claims in each Class shall be entitled to
 their share of Distributions to such Class without regard to which Debtor was originally liable for
 such Claim.

         The substantive consolidation effected pursuant to the Plan shall not (other than for
 purposes related to funding Distributions under the Plan) result in the merger or otherwise affect
 the separate legal existence of each Debtor, and shall not affect (1) defenses to any Claims and/or
 Causes of Action or requirements for any third party to establish mutuality in order to assert a
 right to setoff under section 553 of the Bankruptcy Code, (2) distributions out of any insurance
 policies or proceeds of such policies, (3) executory contracts or unexpired leases that were
 entered into during the Bankruptcy Cases or that have been or will be assumed or rejected, or (4)
 the Reorganized Debtors’ ability to subordinate or otherwise challenge Claims on an entity by
 entity basis.

    C.      CONTINUED CORPORATE EXISTENCE

        Each Debtor, as reorganized, will continue to exist after the Effective Date as a separate
 corporate entity with all the powers of a corporation under applicable law in the jurisdiction in



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 which it is incorporated or otherwise formed and pursuant to its certificate or articles of
 incorporation and bylaws or other organizational documents in effect prior to the Effective Date,
 except to the extent such articles of incorporation and bylaws or other organizational documents
 are amended by the Plan, without prejudice to any right to terminate such existence (whether by
 merger or otherwise) under applicable law after the Consummation Date.

    D.      REVESTING OF ASSETS

         Except as otherwise provided in the Plan or the Confirmation Order, on the Effective
 Date, all assets and property of the respective Debtors and their Estates (including all Causes of
 Action unless otherwise released pursuant to the Plan, but excluding property that has been
 abandoned pursuant to an order of the Bankruptcy Court) shall automatically vest in each
 respective Reorganized Debtor, free and clear of all Claims, Liens, encumbrances, charges and
 other interests.

    E.      EXIT FINANCING

         On the Effective Date, the Debtors shall be authorized to borrow the Plan Funding
 Amount from the Plan Sponsor, and CPG and COI, as applicable, shall be authorized to execute
 and deliver the Olyphant First Mortgage and the Tuscaloosa First Mortgage to the Plan Sponsor.
 On the Effective Date, the Debtors shall be further authorized to execute and deliver any related
 loan documents, and to execute, deliver, file, record and issue any other notes, guarantees, deeds
 of trust, security agreements, documents, amendments to the foregoing, or agreements in
 connection therewith, in each case without further notice or order of the Bankruptcy Court, act or
 action under applicable law, regulation, order, or rule or the vote, consent, authorization or
 approval of any Entity. Substantially final forms of the Olyphant First Mortgage and the
 Tuscaloosa First Mortgage shall be included in the Plan Supplement. The Plan Funding Amount
 shall accrue simple interest from and after the Effective Date at the rate of 8% per annum
 (computed based on the actual number of days elapsed in a year consisting of 365 days) on the
 outstanding balance and shall be repayable to the Plan Sponsor upon, and from the net proceeds
 of, any sale of Owned Real Property. The accrued interest shall be paid to the Plan Sponsor on a
 monthly basis in arrears on the first Business Day of each month commencing with the first
 Business Day occurring subsequent to the first full calendar month after the Effective Date. In
 the event of a default in payment of interest when due, the interest rate on the outstanding
 balance of the Plan Funding Amount shall increase to 12% per annum (computed based on the
 actual number of days elapsed in a year consisting of 365 days) until such time as the default is
 cured.

    F.      OLYPHANT SECOND MORTGAGE AND OLYPHANT SUBORDINATION
            AGREEMENT

         On the Effective Date, CPG and the Reorganized Debtors, as applicable, shall be
 authorized to execute and deliver the Olyphant Second Mortgage to Technicolor, and to execute,
 deliver, file, record and issue any other notes, guarantees, deeds of trust, security agreements,
 documents, amendments to the foregoing, or agreements in connection therewith, including the
 Olyphant Subordination Agreement (as defined below), in each case without further notice or
 order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the


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 vote, consent, authorization or approval of any Entity. A substantially final form of the Olyphant
 Second Mortgage shall be included in the Plan Supplement, which Olyphant Second Mortgage
 shall be acceptable to Technicolor, the Debtors and the Plan Sponsor, and so approved by
 Technicolor, the Debtors and the Plan Sponsor at least 3 days prior to the Voting Deadline. The
 Olyphant Second Mortgage shall be in an amount equal to the aggregate sum of the face amount
 of the Technicolor Letters of Credit that remain outstanding as of the Effective Date and shall be
 automatically reduced, dollar for dollar, if, as, and when the face amount of any of the
 Technicolor Letters of Credit outstanding is reduced or cancelled (in each case, other than as the
 result of a draw on a letter of credit by the beneficiary thereof).

         The Olyphant First Mortgage shall be subject and subordinate in all respects to the liens
 and terms of the Olyphant Second Mortgage with respect to an amount equal to, but not to
 exceed, the lesser of (i) $250,000, and (ii) the aggregate sum of the face amount of the
 Technicolor Letters of Credit that remain outstanding at any time, in accordance with the terms
 of a subordination agreement between Technicolor and the Plan Sponsor (the “Olyphant
 Subordination Agreement”). A substantially final form of the Olyphant Subordination
 Agreement shall be included in the Plan Supplement, which Olyphant Subordination Agreement
 shall be acceptable to Technicolor and the Plan Sponsor, and so approved by Technicolor and the
 Plan Sponsor at least 3 days prior to the Voting Deadline. The Olyphant Subordination
 Agreement shall be self-operative and no further instrument of subordination shall be required.
 If requested, however, CPG, the Reorganized Debtors or the Plan Sponsor shall execute, deliver,
 file, record and issue such further instruments as are reasonably necessary to effectuate this
 subordination. In the event of a draw on a Technicolor Letter of Credit on or after the Effective
 Date, Technicolor shall provide notice and evidence thereof to the Reorganized Debtors, the Plan
 Sponsor and Najafi Companies, LLC at least forty-five (45) days prior to taking any action
 seeking to exercise or enforce any rights or remedies under the Olyphant Second Mortgage
 and/or the Olyphant Subordination Agreement.

    G.      TUSCALOOSA SECOND MORTGAGE

        On the Effective Date, COI and the Reorganized Debtors, as applicable, shall be
 authorized to execute and deliver the Tuscaloosa Second Mortgage to Technicolor, and to
 execute, deliver, file, record and issue any other notes, guarantees, deeds of trust, security
 agreements, documents, amendments to the foregoing, or agreements in connection therewith, in
 each case without further notice or order of the Bankruptcy Court, act or action under applicable
 law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. A
 substantially final form of the Tuscaloosa Second Mortgage shall be included in the Plan
 Supplement, which Tuscaloosa Second Mortgage shall be acceptable to Technicolor, the Debtors
 and the Plan Sponsor, and so approved by Technicolor, the Debtors and the Plan Sponsor at least
 3 days prior to the Voting Deadline. The Tuscaloosa Second Mortgage shall be in an amount
 equal to the aggregate sum of the face amount of the Technicolor Letters of Credit that remain
 outstanding as of the Effective Date and shall be automatically reduced, dollar for dollar, if, as,
 and when the face amount of any of the Technicolor Letters of Credit outstanding is reduced or
 cancelled (in each case, other than as the result of a draw on a letter of credit by the beneficiary
 thereof). In the event of a draw on a Technicolor Letter of Credit on or after the Effective Date,
 Technicolor shall provide notice and evidence thereof to the Reorganized Debtors, the Plan



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 Sponsor and Najafi Companies, LLC at least forty-five (45) days prior to taking any action
 seeking to exercise or enforce any rights or remedies under the Tuscaloosa Second Mortgage

    H.      THE OLYPHANT EXIT, TECHNICOLOR OLYPHANT DISTRIBUTION,
            AND THE ESCROW AGREEMENT

         Technicolor Southeast shall vacate the Olyphant Premises and surrender the Olyphant
 Premises to CPG solely in accordance with the Olyphant Premises Surrender Conditions (the
 “Olyphant Exit Obligations”) on or before June 30, 2019 or such later date as may be agreed
 upon by Technicolor Southeast and the Debtors or Reorganized Debtors (the “Olyphant Exit
 Deadline”); provided, however, that in the event the Effective Date occurs after March 31, 2019,
 the Olyphant Exit Deadline shall be automatically extended to the date that is 90 days after
 occurrence of the Effective Date. The Olyphant Exit Obligations are contingent upon the deposit
 of the Technicolor Olyphant Distribution with the Escrow Agent as set forth in section 3.4.2 of
 the Plan. The Technicolor Olyphant Distribution shall be deposited no later than 30 days after
 the Effective Date in immediately available funds with an escrow agent acceptable to the Debtors
 and Technicolor Southeast (the “Escrow Agent”), to be held in an interest bearing account in
 accordance with the terms of the Escrow Agreement (the “Escrow Agreement”) to be entered
 into by and among the Escrow Agent, Technicolor Southeast and the Debtors no later than 30
 days after the Effective Date. A substantially final form of the Escrow Agreement shall be
 included in the Plan Supplement, which Escrow Agreement shall be acceptable to Technicolor
 Southeast and the Debtors, and so approved by Technicolor Southeast and the Debtors at least 3
 days prior to the Voting Deadline. The Technicolor Olyphant Distribution shall be released in
 accordance with the terms of the Plan and the Escrow Agreement, which shall provide (without
 other conditions) for immediate release of the full Technicolor Olyphant Distribution to
 Technicolor Southeast upon the date that a certification (the “Olyphant Exit Certification”)
 signed by a duly-authorized representative of Technicolor Southeast is delivered to the Escrow
 Agent and the Debtors or Reorganized Debtors stating that Technicolor Southeast has complied
 with the Olyphant Exit Obligations on or before the Olyphant Exit Deadline. The Escrow
 Agreement shall further provide that if (a) the Technicolor Olyphant Distribution is deposited in
 escrow as provided for herein, (b) the Debtors and Reorganized Debtors have not intentionally
 impeded Technicolor Southeast’s exit of the Olyphant Premises, and (c) the Olyphant Exit
 Certification is not delivered to the Escrow Agent and the Debtors or Reorganized Debtors on or
 before the Olyphant Exit Deadline, the Technicolor Olyphant Distribution shall be forfeited and
 forever waived by Technicolor Southeast and instead irrevocably released to the Reorganized
 Debtors. If the Olyphant Exit Deadline is extended by agreement of Technicolor Southeast and
 the Debtors or Reorganized Debtors, Technicolor Southeast and the Debtors or Reorganized
 Debtors shall jointly notify the Escrow Agent of such extension. The Debtors and the
 Reorganized Debtors shall provide reasonable cooperation in connection with any reasonable
 request for assistance made by Technicolor Southeast in connection with Technicolor
 Southeast’s exit of the Olyphant Premises and shall not intentionally impede such exit; provided,
 however, that compliance with any such request by Technicolor Southeast for assistance shall
 not include the expenditure or incurrence of any out-of-pocket costs by the Debtors or
 Reorganized Debtors, unless otherwise reasonably agreed upon by Technicolor Southeast and the
 Debtors or Reorganized Debtors. Technicolor Southeast shall continue to permit CPG and its
 authorized representatives access to the Olyphant Premises in accordance with the terms of



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 Paragraph 13 of the Olyphant Lease, or as otherwise agreed between the parties, until the
 Olyphant Lease Termination Date (as defined in Section 6.9 of the Plan).

    I.      THE OLYPHANT TERMINATION AGREEMENT

         The form of an agreement terminating the Olyphant Lease (the “Olyphant Lease
 Termination Agreement”) shall be agreed to by and between Technicolor Southeast and CPG at
 least 3 days prior to the Voting Deadline and shall be executed by Technicolor Southeast and
 CPG and delivered to the Escrow Agent no later than 30 days after the Effective Date and held in
 accordance with the Escrow Agreement. The Olyphant Lease Termination Agreement shall be
 released from escrow and made effective immediately upon the earlier of (i) the Escrow Agent’s
 and the Debtors or Reorganized Debtors receipt of the Olyphant Exit Certification and
 Technicolor Southeast’s receipt of the Technicolor Olyphant Distribution, or (ii) occurrence of
 the Olyphant Exit Deadline without delivery of the Olyphant Exit Certification to the Escrow
 Agent and the Debtors or Reorganized Debtors; provided the Technicolor Olyphant Distribution
 was previously deposited in escrow as provided for herein (in either case the “Olyphant Lease
 Termination Date”). For clarification, the Escrow Agreement shall reflect the foregoing. The
 Olyphant Lease Termination Agreement shall provide that CPG shall accept the Olyphant
 Premises, and Technicolor Southeast’s surrender thereof, on the Olyphant Lease Termination
 Date in its “as is” and “where is” condition without warranty of any kind, express or implied,
 including, without limitation, any warranty as to title or physical condition. This Section shall
 negate any lease termination notice required under the Olyphant Lease. From and after the date
 the Plan is filed with the Bankruptcy Court and until the Olyphant Lease Termination Date,
 Technicolor Southeast shall (i) bring current (to the extent unpaid) and continue to pay all costs
 of insurance, taxes, utilities, regular rubbish removal, lawn maintenance, snow removal, and rent
 as required by the Olyphant Lease, (ii) maintain existing alarm and/or security systems at the
 Olyphant Premises, (iii) use commercially reasonable efforts to mitigate (on a temporary basis
 until the Olyphant Lease Termination Date) any condition of the Olyphant Premises causing
 significant physical damage to the Olyphant Premises that comes to Technicolor Southeast’s
 attention during such period, and (iv) promptly notify the Debtors or Reorganized Debtors of
 any such condition and Technicolor Southeast’s commercially reasonable efforts to mitigate such
 condition during such period (collectively the “Interim Olyphant Obligations”). Technicolor
 Southeast’s share of taxes for the Olyphant Premises for the year in which the Olyphant Lease is
 terminated shall be prorated based on the portion of the tax year that the Olyphant Lease is in
 effect, and Technicolor Southeast shall be credited or charged, as the case may be, consistent
 with the foregoing (the “Olyphant Tax Proration”). In the event the Olyphant Lease Termination
 Agreement is made effective as a result of occurrence of the Olyphant Exit Deadline without
 delivery of the Olyphant Exit Certification to the Escrow Agent, Technicolor Southeast shall be
 deemed to be holding over beyond the term of the Olyphant Lease and shall be subject to
 eviction or ejectment from the Olyphant Premises under applicable law.

                 Technicolor Southeast shall provide the Debtors or Reorganized Debtors sixty
 (60) days’ prior written notice of its intention to vacate and surrender the Olyphant Premises.
 Technicolor Southeast shall have the option to vacate the Olyphant Premises and surrender the
 Olyphant Premises to CPG solely in accordance with the Olyphant Premises Surrender
 Conditions by providing the Debtors or Reorganized Debtors sixty (60) days’ prior written notice
 of its intention to vacate and surrender the Olyphant Premises, in which case the Olyphant Lease


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 Termination Date shall occur effective upon the later of (i) the date that is sixty (60) days after
 such written notice is provided to the Debtors or Reorganized Debtors, and (ii) the date
 Technicolor Southeast delivers the Olyphant Exit Certification to CPG or the Reorganized
 Debtors; provided, however, that in no event shall the Olyphant Lease Termination Date occur
 prior to March 1, 2019.         The Olyphant Lease Termination Agreement and the Escrow
 Agreement shall reflect the foregoing. If Technicolor Southeast exercises the foregoing option,
 the Technicolor Olyphant Distribution shall nevertheless be deposited with the Escrow Agent no
 later than 30 days after the Effective Date and held in accordance with the Escrow Agreement.

    J.      RELEASES BETWEEN THE DEBTORS, THE REORGANIZED DEBTORS,
            THE RELEASED PARTIES, TECHNICOLOR AND TECHNICOLOR
            SOUTHEAST RELATING TO THE OLYPHANT PREMISES

         Upon Technicolor Southeast’s receipt of the Technicolor Olyphant Distribution in
 accordance with the Plan or Technicolor Southeast’s forfeiture and waiver thereof (if applicable)
 in accordance with Section 6.8 of the Plan, Technicolor and Technicolor Southeast, on behalf of
 themselves and each of their respective Affiliates, parents, subsidiaries, predecessors, successors
 and assigns, shall release, and shall be deemed to have released without further action, the
 Debtors, their Estates, the Reorganized Debtors, the Released Parties, and each of their
 respective Insiders, parents, subsidiaries, predecessors, successors and assigns, current and
 former stockholders, shareholders, equity holders, members, limited partners, general partners,
 partners, principals, managed funds, employees, agents, officers, directors, secretaries, managers,
 trustees, professionals, representatives, advisors, attorneys, financial advisors, accountants,
 investment bankers, and consultants, solely from any and all claims (as defined in section 101(5)
 of the Bankruptcy Code), obligations and liabilities relating in any way to the Olyphant Premises
 (and Olyphant Property) arising under the Olyphant Lease or otherwise, including but not limited
 to matters related to the maintenance, repair or physical condition of the Olyphant Premises (and
 Olyphant Property) or any other obligation of the Debtors, the Reorganized Debtors or the
 Released Parties related to the Olyphant Premises (and Olyphant Property), whether asserted in a
 Proof of Claim filed by Technicolor, Technicolor Southeast or otherwise, from the beginning of
 time through the Olyphant Lease Termination Date; except, with respect to the claims,
 obligations and liabilities related to the Olyphant Tax Proration.

         Upon the later of (i) Technicolor Southeast’s delivery of the Olyphant Exit Certification
 in accordance with the Plan on or before the Olyphant Exit Deadline, and (ii) the Effective Date,
 the Debtors, their Estates, the Reorganized Debtors and the Released Parties, on behalf of
 themselves and each of their respective Affiliates, parents, subsidiaries, predecessors, successors
 and assigns, shall release, and shall be deemed to have released without further action,
 Technicolor and Technicolor Southeast, and each of their respective Insiders, parents,
 subsidiaries, predecessors, successors and assigns, current and former stockholders, shareholders,
 equity holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, solely from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations and liabilities relating in any way to the Olyphant Premises (and Olyphant
 Property) arising under the Olyphant Lease or otherwise, including but not limited to matters
 related to the maintenance, repair or physical condition of the Olyphant Premises (and Olyphant


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 Property) or any other obligation of Technicolor or Technicolor Southeast related to the
 Olyphant Premises (and Olyphant Property), whether asserted in a Proof of Claim filed by
 Technicolor, Technicolor Southeast or otherwise, from the beginning of time through the
 Olyphant Lease Termination Date; except, with respect to the claims, obligations and liabilities
 related to (i) the Olyphant Premises Surrender Conditions, (ii) the Interim Olyphant Obligations,
 and (iii) the Olyphant Tax Proration.

               The foregoing releases provided for in Section 6.10 of the Plan shall be referred to
 as the “Olyphant Mutual Releases”.

    K.      RELEASES BETWEEN SIR PROPERTIES TRUST AND THE DEBTORS

         Upon payment in full of the SIR Settlement Amount in accordance with the Plan, SIR
 Properties Trust, on behalf of itself and its Affiliates, parents, subsidiaries, predecessors,
 successors and assigns, shall release, and shall be deemed to have released without further
 action, all causes of action, obligations liabilities, Claims and administrative expenses under
 section 503(b) of the Bankruptcy Code against the Debtors and their Affiliates, and their
 respective Insiders, parents, subsidiaries, predecessors, successors and assigns, current and
 former stockholders, shareholders, equity holders, members, limited partners, general partners,
 partners, principals, managed funds, employees, agents, officers, directors, secretaries, managers,
 trustees, professionals, representatives, advisors, attorneys, financial advisors, accountants,
 investment bankers, and consultants, including but not limited to CAI Holdings, Inc., JCIN
 Holdings, Inc., Najafi Companies, LLC, the Plan Sponsor, Jahm Najafi, Tina Rhodes-Hall,
 Glenn R. Langberg, Karen Kessler and Joseph Catalano based upon any act or omission,
 transaction, agreement, event or other occurrence taking place on or before the Effective Date.

         Upon payment in full of the SIR Settlement Amount in accordance with the Plan, the
 Debtors, on behalf of themselves and their Affiliates, parents, subsidiaries, predecessors,
 successors and assigns, shall release, and shall be deemed to have released without further
 action, all causes of action, obligations liabilities and claims (as defined in section 101(5) of the
 Bankruptcy Code) against SIR Properties Trust and its Affiliates, and their respective Insiders,
 parents, subsidiaries, predecessors, successors and assigns, current and former stockholders,
 shareholders, equity holders, members, limited partners, general partners, partners, principals,
 managed funds, employees, agents, officers, directors, secretaries, managers, trustees,
 professionals, representatives, advisors, attorneys, financial advisors, accountants, investment
 bankers, and consultants based on, relating to, or arising from, in whole or in part, in any manner
 whatsoever, the Hanover Premises, the Hanover Lease, the Huntsville Premises, the Huntsville
 Lease, the Consent to Sublease, the Huntsville Sublease, the Debtors, the assets, liabilities,
 operations or business of the Debtors, or the Bankruptcy Cases, in all cases based upon any act
 or omission, transaction, agreement, event or other occurrence taking place on or before the
 Effective Date.

    L.      RELEASES BETWEEN SIR PROPERTIES TRUST AND TECHNICOLOR

         Upon payment in full of the SIR Settlement Amount in accordance with the Plan, SIR
 Properties Trust, Technicolor, Technicolor Southeast, and each of their respective Affiliates,
 shall release and forever discharge each other, and shall be deemed to have released and forever


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 discharged each other without further action, from any and all claims (as defined in section
 101(5) of the Bankruptcy Code), obligations and liabilities relating in any way to the Huntsville
 Premises arising under the Huntsville Lease, the Huntsville Sublease, the Consent to Sublease or
 otherwise, including but not limited to matters related to the maintenance, repair or physical
 condition of the Huntsville Premises or any other obligation of Technicolor or Technicolor
 Southeast related to the Huntsville Premises, whether asserted in a Proof of Claim filed by SIR
 Properties Trust, Technicolor, Technicolor Southeast or otherwise, from the beginning of time
 through the Effective Date. Nothing in this Section requires SIR Properties Trust, Technicolor or
 Technicolor Southeast to release each other from, nor does anything in the Section constitute a
 release of, any claims (as defined in section 101(5) of the Bankruptcy Code), obligations or
 liabilities first arising, and solely relating to the period of time, after the Effective Date, nor does
 anything in this Section, except as expressly set forth herein, terminate, modify or alter any term
 or condition set forth in the Huntsville Sublease by and between Technicolor Southeast and SIR
 Properties Trust by attornment pursuant to the attornment provision contained in the Huntsville
 Sublease and the Consent to Sublease, which attornment has been recognized by letter dated
 August 18, 2017 from SIR Properties Trust to Technicolor, nor does anything in this Section,
 except as expressly set forth herein, terminate, modify or alter any of the representations set forth
 in the letter dated September 19, 2018 from SIR Properties Trust to Technicolor.

    M.      RELEASES BETWEEN THE DEBTORS, THE REORGANIZED DEBTORS,
            THE RELEASED PARTIES, TECHNICOLOR AND TECHNICOLOR
            SOUTHEAST RELATING TO THE HUNTSVILLE PREMISES

         Upon payment in full of the Technicolor Initial Distribution in accordance with the Plan,
 Technicolor and Technicolor Southeast, on behalf of themselves and each of their respective
 Affiliates, parents, subsidiaries, predecessors, successors and assigns, shall release, and shall be
 deemed to have released without further action, the Debtors, their Estates, the Reorganized
 Debtors, the Released Parties, and each of their respective Insiders, parents, subsidiaries,
 predecessors, successors and assigns, current and former stockholders, shareholders, equity
 holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, solely from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations and liabilities relating in any way to the Huntsville Premises arising under the
 Huntsville Lease, the Huntsville Sublease, the Consent to Huntsville Sublease or otherwise,
 including but not limited to matters related to the maintenance, repair or physical condition of the
 Huntsville Premises or any other obligation of the Debtors, the Reorganized Debtors or the
 Released Parties related to the Huntsville Premises, whether asserted in a Proof of Claim filed by
 Technicolor, Technicolor Southeast, SIR Properties Trust or otherwise, from the beginning of
 time through the Effective Date.

        Upon payment in full of the Technicolor Initial Distribution in accordance with the Plan,
 the Debtors, their Estates, the Reorganized Debtors and the Released Parties, on behalf of
 themselves and each of their respective Affiliates, parents, subsidiaries, predecessors, successors
 and assigns, shall release, and shall be deemed to have released without further action,
 Technicolor and Technicolor Southeast, and each of their respective Insiders, parents,
 subsidiaries, predecessors, successors and assigns, current and former stockholders, shareholders,


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 equity holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, solely from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations and liabilities relating in any way to the Huntsville Premises arising under the
 Huntsville Lease, the Huntsville Sublease, the Consent to Huntsville Sublease or otherwise,
 including but not limited to matters related to the maintenance, repair or physical condition of the
 Huntsville Premises or any other obligation of Technicolor or Technicolor Southeast related to
 the Huntsville Premises, whether asserted in a Proof of Claim filed by Technicolor, Technicolor
 Southeast, SIR Properties Trust or otherwise, from the beginning of time through the Effective
 Date.

    N.      RELEASES BETWEEN THE DEBTORS, THE REORGANIZED DEBTORS,
            THE RELEASED PARTIES, TECHNICOLOR AND TECHNICOLOR
            SOUTHEAST

         On and after and subject to the occurrence of the Effective Date and payment in full of
 the Technicolor Initial Distribution in accordance with section 3.4.2 of the Plan and deposit of
 the Technicolor Olyphant Distribution with the Escrow Agent in accordance with sections 3.4.2
 and 6.8 of the Plan, Technicolor and Technicolor Southeast, on behalf of themselves and each of
 their respective Affiliates, parents, subsidiaries, predecessors, successors and assigns, shall
 release and forever discharge, and shall be deemed to have released and forever discharged
 without further action, each of the Debtors, their Estates, the Reorganized Debtors, and the
 Released Parties from any and all claims (as defined in section 101(5) of the Bankruptcy Code),
 obligations, rights, suits, damages, Causes of Action, remedies and liabilities whatsoever
 (including any derivative claims, asserted or assertable on behalf of any of the Debtors or their
 Estates), whether known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or
 unaccrued, matured or unmatured, determined or determinable, disputed or undisputed,
 liquidated or unliquidated, due or to become due, existing or hereinafter arising, in law, equity,
 or otherwise, that such entity would have been legally entitled to assert (whether individually or
 collectively), based on or relating to, or in any manner arising from, in whole or in part, the PSA,
 the Debtors, the Debtors’ restructuring, the Bankruptcy Cases, the purchase, sale, or rescission of
 the purchase or sale of any security of the Debtors, the subject matter of, or the transactions or
 events giving rise to, any claim (as defined in section 101(5) of the Bankruptcy Code) that is
 treated in the Plan, the business or contractual arrangements between any Debtor and
 Technicolor or Technicolor Southeast, the restructuring of claims (as defined in section 101(5) of
 the Bankruptcy Code) prior to or in the Bankruptcy Cases, the negotiation, formulation, or
 preparation of the Plan, or related agreements, instruments, or other documents, or any other act
 or omission, transaction, agreement, event or other occurrence relating to the Debtors or the
 Bankruptcy Cases taking place on and before the later of payment in full of the Technicolor
 Initial Distribution in accordance with section 3.4.2 of the Plan and deposit of the Technicolor
 Olyphant Distribution with the Escrow Agent in accordance with sections 3.4.2 and 6.8 of the
 Plan; except, with respect to (a) the obligations of the LC Guarantor (as defined in the PSA)
 under the LC Guarantee (as defined in the PSA), and (b) the obligations of the Parent (as defined
 in the PSA) solely with respect to its guarantee of CGI’s obligations under section 4.15(b) of the
 PSA to reimburse Technicolor for any amounts that are actually drawn on any of the Technicolor
 Letters of Credit, each of which obligations described under subpart (a) and (b) of this section


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 6.14 of the Plan shall not be released until each of the Technicolor Letters of Credit are cancelled
 and/or terminated or those obligations are otherwise satisfied; and except, with respect to the
 claims (as defined in section 101(5) of the Bankruptcy Code), obligations and liabilities related
 to the Olyphant Premises and the Olyphant Lease as set forth in the Olyphant Mutual Releases
 (as defined in section 6.10 of the Plan), which Olyphant Mutual Releases shall only become
 effective as provided in section 6.10 of the Plan. Entry of the Confirmation Order shall
 constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the foregoing
 release and, further, shall constitute the Bankruptcy Court’s finding that the foregoing release is:
 (1) in exchange for good and valuable consideration; (2) a good faith settlement and compromise
 of the Claims released by Technicolor and Technicolor Southeast; (3) in the best interests of the
 Debtors and their Estates; (4) fair, equitable and reasonable; (5) given and made after due notice
 and opportunity for hearing; and (6) a bar to Technicolor and/or Technicolor Southeast asserting
 any claim or Cause of Action released hereunder.

         On and after and subject to the occurrence of the Effective Date and payment in full of
 the Technicolor Initial Distribution in accordance with section 3.4.2 of the Plan and deposit of
 the Technicolor Olyphant Distribution with the Escrow Agent in accordance with sections 3.4.2
 and 6.8 of the Plan, the Debtors, their Estates, the Reorganized Debtors, and the Released
 Parties, on behalf of themselves and each of their respective Affiliates, parents, subsidiaries,
 predecessors, successors and assigns, shall release and forever discharge, and shall be deemed to
 have released and forever discharged without further action, each of Technicolor and
 Technicolor Southeast from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations, rights, suits, damages, Causes of Action, remedies and liabilities whatsoever
 (including any derivative claims, asserted or assertable on behalf of any of the Debtors or their
 Estates), whether known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or
 unaccrued, matured or unmatured, determined or determinable, disputed or undisputed,
 liquidated or unliquidated, due or to become due, existing or hereinafter arising, in law, equity,
 or otherwise, that such entity would have been legally entitled to assert (whether individually or
 collectively), based on or relating to, or in any manner arising from, in whole or in part, the PSA,
 the Debtors, the Debtors’ restructuring, the Bankruptcy Cases, the purchase, sale, or rescission of
 the purchase or sale of any security of the Debtors, the subject matter of, or the transactions or
 events giving rise to, any claim (as defined in section 101(5) of the Bankruptcy Code) that is
 treated in the Plan, the business or contractual arrangements between any Debtor and
 Technicolor or Technicolor Southeast, the restructuring of claims (as defined in section 101(5) of
 the Bankruptcy Code) prior to or in the Bankruptcy Cases, the negotiation, formulation, or
 preparation of the Plan, or related agreements, instruments, or other documents, or any other act
 or omission, transaction, agreement, event or other occurrence relating to the Debtors or the
 Bankruptcy Cases taking place on and before the later of payment in full of the Technicolor
 Initial Distribution in accordance with section 3.4.2 of the Plan and deposit of the Technicolor
 Olyphant Distribution with the Escrow Agent in accordance with sections 3.4.2 and 6.8 of the
 Plan; except, with respect to the claims (as defined in section 101(5) of the Bankruptcy Code),
 obligations and liabilities related to the Olyphant Premises and the Olyphant Lease as set forth in
 the Olyphant Mutual Releases (as defined in section 6.10 of the Plan), which Olyphant Mutual
 Releases shall only become effective as provided in section 6.10 of the Plan. Entry of the
 Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy
 Rule 9019, of the foregoing release and, further, shall constitute the Bankruptcy Court’s finding
 that the foregoing release is: (1) in exchange for good and valuable consideration; (2) a good


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 faith settlement and compromise of the Claims released by the Debtors, their Estates, the
 Reorganized Debtors, and the Released Parties; (3) in the best interests of the Debtors and their
 Estates; (4) fair, equitable and reasonable; (5) given and made after due notice and opportunity
 for hearing; and (6) a bar to the Debtors, their Estates, the Reorganized Debtors, and/or the
 Released Parties asserting any claim or Cause of Action released hereunder.

    O.      COOPERATION BETWEEN TECHNICOLOR AND THE REORGANIZED
            DEBTORS

         Within seven (7) Business Days of the filing of the Plan, Technicolor and Technicolor
 Southeast shall perform a diligent search and, at the election of the Debtors or Reorganized
 Debtors, as applicable, make available for inspection and copying, turn over and/or provide
 copies (either electronic or physical) to the Debtors or Reorganized Debtors, as applicable, of
 any existing building plans, site plans, drawings, surveys, blueprints and any other reports of the
 Debtors relating to the Owned Real Property (collectively the “Property Plans”) in their
 respective possession, custody or control (it being understood that the Property Plans were
 “Excluded Assets” under the PSA and that Technicolor and Technicolor Southeast do not believe
 that they have any Property Plans related to the Tuscaloosa Property). Technicolor and
 Technicolor Southeast shall have no liability with respect to the content or substance of the
 Property Plans. Unless the Debtors or Reorganized Debtors otherwise agree, Technicolor
 Southeast shall not remove any Property Plans from the Olyphant Premises.

         Technicolor and Technicolor Southeast shall provide reasonable cooperation to the
 Debtors or Reorganized Debtors in responding to requests by the Debtors or Reorganized
 Debtors for documents and/or information in their respective possession, custody or control
 relating to the reconciliation of Claims against the Debtors to the extent such documents and/or
 information is not reasonably deemed by Technicolor or Technicolor Southeast to be business
 sensitive to Technicolor or Technicolor Southeast or their Affiliates (e.g., is protected from
 disclosure by a pre-existing confidentiality agreement). If requested by the Debtors or
 Reorganized Debtors, Technicolor or Technicolor Southeast and the Debtors of Reorganized
 Debtors shall discuss any specific request for any such information, consistent with the
 foregoing, and if requested by Technicolor or Technicolor Southeast, the Debtors or Reorganized
 Debtors shall execute a reasonable and customary confidentiality agreement with respect to any
 such responsive documents and/or information prior to receipt thereof. Nothing in the Plan shall
 limit or impair the Debtors’ or Reorganized Debtors’ legal rights and remedies to obtain any
 such documents and/or information from Technicolor or Technicolor Southeast.

    P.      SOURCES OF DISTRIBUTIONS

         The Reorganized Debtors shall fund Distributions and satisfy Allowed Claims under the
 Plan from (1) the Plan Funding Amount, (2) Cash on hand, including any Cash from operations
 or from the lease of Owned Real Property, (3) the proceeds of any asset sales, including sales of
 Owned Real Property, (4) the proceeds of any additional secured or unsecured financing, and (5)
 capital contributions, if any, received from Najafi Companies, LLC, CAI Holdings, Inc. and/or
 its parent, affiliates, partners or designees. For the avoidance of doubt, nothing in the Plan shall
 require Najafi Companies, LLC, CAI Holdings, Inc., its parent, affiliates, partners or designees
 to make any capital contributions to the Reorganized Debtors. Upon the Effective Date, the


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 Reorganized Debtors shall set aside and hold in a reserve funds in an amount that the
 Reorganized Debtors believe, in their reasonable discretion, may be necessary to satisfy their
 obligations under the Plan with respect to Workers’ Compensation Insurance Claims that the
 Reorganized Debtors anticipate may become Allowed until all such Claims are either Allowed
 and satisfied or Disallowed. The amount of this reserve may be adjusted from time to time in the
 Reorganized Debtors’ reasonable discretion as Workers’ Compensation Insurance Claims are
 Allowed and satisfied or Disallowed.

    Q.      OPERATION OF THE REORGANIZED DEBTORS

         From and after the Effective Date, the Reorganized Debtors may operate their business,
 use, lease, acquire, sell or dispose of any asset, including Owned Real Property, and compromise
 or settle any Claims, Interests, or Causes of Action without supervision or approval by the
 Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

    R.      CONTINUANCE OF CERTAIN NON-DEBTOR GUARANTEES

         The PSA shall remain in effect solely with respect to (i) the obligations of the LC
 Guarantor (as defined in the PSA) under the LC Guarantee (as defined in the PSA), and (ii) the
 obligations of the Parent (as defined in the PSA), in each case solely with respect to its
 guarantee of CGI’s obligations under section 4.15(b) of the PSA to reimburse Technicolor for
 any amounts that are actually drawn on any of the Technicolor Letters of Credit, until each of the
 Technicolor Letters of Credit are cancelled and/or terminated or those obligations are otherwise
 satisfied.

    S.      LIMITATION ON DISTRIBUTIONS TO HOLDERS OF INTERCOMPANY
            CLAIMS AND INTERESTS

         Notwithstanding any other provision of the Plan to the contrary, the Reorganized Debtors
 shall not make any Distribution to any Holder of a Class 7 Intercompany Claim or Class 8
 Interest unless and until each Holder of an Allowed Claim in Classes 1, 2, 3, 4, 5 and 6 shall
 have received all Distributions such Holder is entitled to receive under Article III of the Plan.

    T.      MAINTENANCE OF BANK ACCOUNTS

        The Reorganized Debtors shall be authorized to continue to use the Debtors’ bank
 accounts that are in existence as of the Effective Date and to open such bank or other depository
 accounts as may be necessary or appropriate in their discretion to enable them to carry out the
 provisions of the Plan.

    U.      BOOKS AND RECORDS

        The Reorganized Debtors shall maintain an adequate set of books, records or databases
 that will allow the Reorganized Debtors to accurately track the Claims asserted against the
 Estates and the amounts paid to each Holder of an Allowed Claim pursuant to the terms of the
 Plan.




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    V.      DIRECTORS, MANAGERS, AND OFFICERS OF THE REORGANIZED
            DEBTORS

         As of the Effective Date, the current officers, directors and managers of the Debtors, as
 applicable, shall each continue to serve in such capacities for the Reorganized Debtors. Pursuant
 to section 1129(a)(5) of the Bankruptcy Code, the Debtors shall disclose the nature of any
 compensation to be paid to such Persons in the Plan Supplement.

    W.      CORPORATE ACTION

         All matters provided for in the Plan involving the legal or corporate structure of each
 Debtor or Reorganized Debtor, as applicable, and any legal or corporate action required by each
 Debtor or Reorganized Debtor, as applicable, in connection with the Plan, will be deemed to
 have occurred and will be in full force and effect in all respects, in each case without further
 notice or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
 rule or any requirement of further action, vote or other approval or authorization by the security
 holders, officers or directors of the Debtors or Reorganized Debtors or any other Person.

        All matters provided for in the Plan that would otherwise require approval of the
 stockholders, directors, managers or members of any Debtor will be deemed to have been so
 approved and will be in effect prior to, on or after the Effective Date (as appropriate) pursuant to
 applicable law and without any requirement of further action by the stockholders, directors,
 managers or members of such Debtor, or the need for any approvals, authorizations, actions or
 consents of any Person.

    X.      DIRECTOR AND OFFICER LIABILITY INSURANCE

          Notwithstanding anything contained in the Plan to the contrary, all director and officer
 liability insurance policies of the Debtors in effect on the Effective Date shall be continued. To
 the extent that such insurance policies are deemed to be executory contracts, then,
 notwithstanding anything in the Plan to the contrary, the Debtors shall be deemed to have
 assumed such insurance policies pursuant to sections 365(a) and 1123 of the Bankruptcy Code
 effective as of the Effective Date. Entry of the Confirmation Order will constitute the
 Bankruptcy Court’s approval of the Debtors’ assumption of each such unexpired director and
 officer liability insurance policy. Notwithstanding anything to the contrary contained in the Plan,
 Confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity or other
 obligations of the insurers under such policies.

    Y.      PRESERVATION OF CAUSES OF ACTION

         In accordance with section 1123(b)(3) of the Bankruptcy Code, except to the extent a
 Cause of Action is expressly waived, relinquished or released pursuant to the Plan or a Final
 Order, the Debtors and Reorganized Debtors shall retain and may (but are not required to)
 enforce all rights to commence and pursue, as appropriate, any and all Causes of Action, whether
 arising before or after the Petition Date, and the Debtors’ and Reorganized Debtors’ rights to
 commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the
 occurrence of the Effective Date. After the Effective Date, the Reorganized Debtors, in their
 sole and absolute discretion, shall have the right to bring, settle, release, compromise, or enforce


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 such Causes of Action (or decline to do any of the foregoing), without further approval of the
 Bankruptcy Court. The failure of the Debtors to specifically list any claim, right of action, suit,
 proceeding or other Cause of Action in the Plan does not, and shall not be deemed to, constitute a
 waiver or release by the Estates or the Debtors of such claim, right of action, suit, proceeding or
 other Cause of Action, and the Debtors and Reorganized Debtors shall retain the right to pursue
 such claims, rights of action, suits, proceedings and other Causes of Action in their sole
 discretion and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral
 estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
 laches, shall apply to such claim, right of action, suit, proceeding or other Cause of Action upon,
 after, or as a consequence of the Confirmation or consummation of the Plan.

        No Entity may rely on the absence of a specific reference in the Plan or the
 Disclosure Statement to any Cause of Action against such Entity as any indication that the
 Debtors and Reorganized Debtors will not pursue any and all available Causes of Action
 against such Entity. Without limiting the foregoing, except to the extent a Causes of Action
 is expressly waived, relinquished or released pursuant to the Plan or a Final Order, the
 Debtors and Reorganized Debtors expressly reserve the right to pursue any and all Causes
 of Action they may have against any party that has asserted or asserts a Claim against the
 Debtors, or who may be liable for a Claim asserted against the Debtors by reason of any
 cross-claim, third party claim, claim for indemnification, reimbursement or contribution,
 or other Claim of the Debtors against such party on any contractual, legal or equitable
 grounds.

    Z.      EFFECTUATING DOCUMENTS; FURTHER TRANSACTIONS

         Each of the Debtors and Reorganized Debtors and their respective officers and designees
 are authorized to issue, execute, deliver, file, or record such contracts, instruments, releases, and
 other agreements or documents, and to take such actions as may be necessary, desirable or
 appropriate to effectuate or further evidence the provisions of the Plan or to otherwise comply
 with applicable law, in each case without further notice or order of the Bankruptcy Court, act or
 action under applicable law, regulation, order, or rule or any requirement of further action, vote
 or other approval, consent or authorization by the security holders, officers or directors of the
 Debtors or Reorganized Debtors or any other Person.

    AA.     EXEMPTION FROM CERTAIN TRANSFER TAXES AND RECORDING
            FEES

        Pursuant to and to the fullest extent permitted by section 1146(a) of the Bankruptcy
 Code, any transfers from a Debtor or Reorganized Debtor to any other Person or any agreement
 regarding the transfer of title to or ownership of any of the Debtors’ or Reorganized Debtors’ real
 or personal property pursuant to or in furtherance of the Plan, shall not be subject to any
 document recording tax, stamp tax, conveyance fee, sales tax, use tax, privilege tax, intangibles
 or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
 Commercial Code filing or recording fee, or other similar tax or governmental assessment, and
 the Confirmation Order shall direct and be deemed to direct the appropriate federal, state or local
 governmental officials or agents to forego the collection of any such tax or governmental
 assessment and to accept for filing and recordation any of the foregoing instruments or other


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 documents without the payment of any such tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (1) any sale of an asset by the Debtors or Reorganized
 Debtors in furtherance of the Plan, including but not limited to any sale of personal or real
 property; (2) the creation or recording of any mortgage, deed of trust, lien or other security
 interest in or against any asset of the Debtors or Reorganized Debtors in furtherance of the Plan,
 including, but not limited to, the Olyphant First Mortgage, the Olyphant Second Mortgage, the
 Tuscaloosa First Mortgage and the Tuscaloosa Second Mortgage; (3) the assumption of any
 contract, lease or sublease by the Debtors; and (4) any other transaction contemplated or
 authorized by the Plan.

    BB.     FURTHER AUTHORIZATION

         The Reorganized Debtors shall be entitled to seek such orders, judgments, injunctions
 and rulings as they deem necessary or desirable to carry out the intentions and purposes, and to
 give full effect to the provisions, of the Plan.

    CC.     AMENDMENT OF CHARTERS

         On and as of the Effective Date, the charters of each of the Debtors shall be deemed to
 have been amended to prohibit the issuance of nonvoting equity securities in accordance with
 section 1123(a)(6) of the Bankruptcy Code. After the Effective Date, the Reorganized Debtors
 may amend and restate their respective certificates or articles of incorporation, bylaws and other
 organizational documents as permitted by the laws of their respective states of incorporation and
 such organizational documents.

                                              VIII.

                       PROVISIONS REGARDING DISTRIBUTIONS

    A.      DISBURSING AGENT

        Unless otherwise provided for in the Plan, all Distributions under the Plan shall be made
 by the Disbursing Agent.

    B.      DISTRIBUTIONS

        The Disbursing Agent shall make Distributions to the Holders of Allowed Claims in
 accordance with the terms of the Plan. All Distributions pursuant to the Plan shall, in the
 Disbursing Agent’s discretion, be made by check drawn on a domestic bank or by wire transfer
 from a domestic bank.

    C.      NO INTEREST ON CLAIMS

        Except as otherwise specifically provided for in the Plan with respect to the SIR
 Settlement Amount or in the Confirmation Order, post-petition interest shall not accrue or be
 paid on Claims and no Holder shall be entitled to interest accruing on or after the Petition Date
 on any Claim.



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    D.      UNDELIVERABLE DISTRIBUTIONS AND UNCLAIMED PROPERTY

         Distributions to a Holder of an Allowed Claim shall be made by the Disbursing Agent (a)
 at the address set forth on the Proof of Claim Filed by such Holder, (b) at the address set forth in
 any written notices of address change delivered to the Debtors or Reorganized Debtors, as
 applicable, after the date of any related Proof of Claim, (c) at the address set forth in any Filed
 notice of transfer of Claim, (d) at the address reflected in the Schedules if no Proof of Claim has
 been Filed and the Debtors have not received a written notice of a change of address, or (e) if the
 Holder’s address is not listed in the Schedules, at the last known address of such Holder
 according to the Debtors’ books and records. If any Holder’s Distribution is returned as
 undeliverable, no further Distributions to such Holder shall be made unless and until the
 Disbursing Agent is notified of such Holder’s then-current address. Amounts in respect of
 undeliverable or uncashed (in the case of a check) Distributions shall be retained by the
 Disbursing Agent in a reserve (the “Unpaid Claims Reserve”) until such Distributions are
 claimed or cashed, as the case may be; provided, however, that any Distribution returned as
 undeliverable to the Disbursing Agent, or not cashed, as the case may be, and not claimed by the
 Holder entitled to such Distribution within six (6) months after such Distribution is made shall be
 deemed unclaimed property under section 347(b) of the Bankruptcy Code and irrevocably revert
 to the Reorganized Debtors automatically and without need for further order of the Bankruptcy
 Court (and any funds held in the Unpaid Claims Reserve on account of such Distribution shall be
 released to the Reorganized Debtors) notwithstanding any federal or state escheat, abandoned, or
 unclaimed property laws to the contrary, and the Claim of any Holder to such property or interest
 in property shall be discharged and forever barred.

    E.      DISTRIBUTIONS TO HOLDERS AS OF THE RECORD DATE

        All Distributions on Allowed Claims or Interests shall be made to the Record Holders of
 such Claims or Interests unless otherwise agreed by the Debtors or Reorganized Debtors and a
 Record Holder. The Debtors or Reorganized Debtors may, but shall have no obligation to,
 recognize any transfer of any Claim or Interest occurring after the Record Date. The Debtors or
 Reorganized Debtors shall instead be entitled to recognize and deal for all purposes under the
 Plan with the Record Holders as of the Record Date.

    F.      REQUIRED TAX INFORMATION

         To the extent that the Disbursing Agent is required by applicable law to file information
 returns regarding payments to creditors with taxing authorities including, but not limited to, the
 Internal Revenue Service, the Disbursing Agent shall request an executed Internal Revenue
 Service Form W-9 (W-8 for non-US entities and individuals) from each Holder of an Allowed
 Claim as a condition to making any Distribution with respect such Allowed Claim. Should any
 Holder of a Claim not provide the Disbursing Agent with such document within 60 days of a
 request for a W-9 or W-8, as applicable, then the Disbursing Agent shall provide written notice
 to such Holder of the failure to provide a W-9 or W-8, as applicable, and 30 additional days to
 provide such information. Should any Holder of a Claim not timely provide an executed W-9 or
 W-8, as applicable, within the 90 day period referenced above, the Reorganized Debtors may
 File an objection to the Claim of such non-responding Holder based on the non-responding
 Holder’s failure to provide the W-9 or W-8 (with all required information) and shall serve the


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 objection on such non-responding Holder via first class mail. If the non-responding Holder of the
 Claim fails to respond to the objection or fails to provide to the Disbursing Agent the W-9 or W-
 8, as applicable (with all required information), the Bankruptcy Court may disallow such Claim
 for all purposes and any Distribution that would have otherwise been made to such Holder shall
 revert to the Reorganized Debtors. The Holder of such a Disallowed Claim shall be forever
 barred from pursuing the Reorganized Debtors for payment of such Claim.

    G.      DE MINIMIS DISTRIBUTIONS

        The Disbursing Agent shall have no obligation to make any Distribution to the Holder of
 an Allowed Claim if the amount to be distributed to such Holder is less than Fifty Dollars
 ($50.00).

    H.      FRACTIONAL DOLLARS

         Notwithstanding any other provision of the Plan, the Disbursing Agent shall not be
 required to make Distributions or payments of fractions of dollars. Whenever any payment of a
 fraction of a dollar under the Plan would otherwise be called for, the actual payment may, in the
 discretion of the Disbursing Agent, reflect a rounding of such fraction to the nearest whole dollar
 (up or down), with half dollars or less being rounded down.

    I.      WITHHOLDING TAXES

        The Reorganized Debtors shall comply with all withholding and reporting requirements
 imposed by any federal, state, local, or foreign taxing authority, and all Distributions under the
 Plan shall be subject to any such withholding and reporting requirements.

                                               IX.

         PROCEDURES FOR TREATING AND RESOLVING DISPUTED CLAIMS

    A.      OBJECTIONS TO CLAIMS

         The Reorganized Debtors shall have the exclusive right to File objections to any Claim
 that has not been Allowed by a Final Order or the express terms of the Plan. Any objections to
 Claims must be Filed by the Claims Objection Deadline.

    B.      AUTOMATIC DISALLOWANCE OF CERTAIN CLAIMS

         Any Claim that (a) has been or is hereafter listed in any of the Debtors’ respective
 Schedules at zero or as contingent, unliquidated, or disputed, or (b) is not listed in any of the
 Debtors’ respective Schedules, and, in each case, as to which a Claims Bar Date has been
 established but no Proof of Claim has been timely Filed or deemed timely Filed pursuant to any
 Final Order of the Bankruptcy Court, shall be deemed disallowed without further action by the
 Debtors or Reorganized Debtors and without further notice to any party or action, approval, or
 order of the Bankruptcy Court. Nothing herein shall preclude a party from Filing a motion
 seeking entry of an order of the Bankruptcy Court deeming timely Filed a Proof of Claim that is



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 Filed after an applicable Claims Bar Date on notice to the Reorganized Debtors and without
 prejudice to the Reorganized Debtors’ rights to oppose any such request.

    C.      ADJUSTMENT TO CLAIMS WITHOUT OBJECTION

         Any Claim that has been paid or satisfied, or any Claim that has been amended or
 superseded, may be adjusted or expunged on the claims register by the Debtors to the maximum
 extent provided by applicable law without a Claims objection having to be Filed and without any
 further notice or action, order, or approval of the Bankruptcy Court.

    D.      NO DISTRIBUTIONS PENDING ALLOWANCE

        Except as otherwise provided in the Plan, no Distributions will be made with respect to
 any portion of a Claim unless and until such Claim has been Allowed.

    E.      ESTIMATION OF CLAIMS

         The Reorganized Debtors may, at any time, request that the Bankruptcy Court estimate
 any contingent or unliquidated Claim pursuant to section 502 of the Bankruptcy Code regardless
 of whether the Debtors or Reorganized Debtors have previously objected to such Claim or
 whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court will
 retain jurisdiction to estimate any Claim at any time during litigation concerning any objection to
 any Claim, including during the pendency of any appeal relating to any such objection. In the
 event that the Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated
 amount will constitute either the Allowed amount of such Claim or a maximum limitation on
 such Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a
 maximum limitation on such Claim, the Reorganized Debtors may elect to pursue any
 supplemental proceedings to object to any ultimate payment on such Claim. All of the Claims
 objection, estimation and resolution procedures set forth in the Plan are cumulative and not
 exclusive of one another.

    F.      RESOLUTION OF CLAIMS AND CLAIM OBJECTIONS

         On and after the Effective Date, the Reorganized Debtors shall have the authority to
 compromise, settle, or otherwise resolve any Claim or objection to a Claim, whether or not a
 formal objection is Filed, or to withdraw any objection to a Claim, without prior approval or
 further order of the Bankruptcy Court.

    G.      MEDIATION OF CLAIM OBJECTIONS

         The Reorganized Debtors reserve the right to request that the Bankruptcy Court refer any
 objection to a Claim to mediation pursuant to D.N.J. LBR 9019-2 or any other mediation
 procedure approved by the Bankruptcy Court.

    H.      DISTRIBUTIONS ON INSURED CLAIMS

         If any Holder has asserted a Claim that is covered as to liability, in whole or in part, by
 an insurance policy that is assumed or otherwise remains in effect pursuant to the terms of the


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 Plan, such Holder will have a Claim entitled to a Distribution under the Plan only to the extent of
 any deductible or self-insured retention under the applicable insurance policy that was unpaid or
 otherwise unexhausted as of the Petition Date. Notwithstanding the foregoing, the Holder shall
 be entitled to pursue recovery of any amount in excess of such unpaid deductible or self-insured
 retention from the applicable insurance carrier and, in connection therewith, notwithstanding the
 discharge of the balance of such Claim provided pursuant to the Plan, such Holder may continue
 to pursue the balance of such Claim against the Reorganized Debtors solely for the purposes of
 liquidating such Claim and obtaining payment of the balance of such liquidated Claim from any
 otherwise applicable policy of insurance. Except as otherwise provided in the applicable
 insurance policy, the applicable insurance carrier may, at its expense, employ counsel, direct the
 defense, and determine whether and on what terms to settle any Claim for the purposes of
 determining the amount of insurance proceeds that will be paid on account of such Claim. If after
 liquidation of a Claim pursuant to this Section, it is determined that there are insufficient
 insurance proceeds available to satisfy the amount of such Claim that is in excess of any unpaid
 deductible or self-insured retention, then the Holder of such Claim shall have a Claim in the
 amount of such insufficiency. Notwithstanding any other provision of the Plan, after the
 Effective Date the Bankruptcy Court shall be authorized to enter one or more orders in the
 Bankruptcy Cases modifying and amending the provisions of this Section, provided that any
 such modifications shall not be material and adverse to the interests of Holders of insured
 Claims.

                                                X.

                                  CONDITIONS PRECEDENT

    A.      CONDITIONS TO CONFIRMATION

         The following are conditions precedent to Confirmation of the Plan that may be satisfied
 or waived to the extent provided by section 11.3 of the Plan: (i) the Bankruptcy Court shall have
 approved the Disclosure Statement with respect to the Plan in form and substance that is
 acceptable to the Debtors in their sole and absolute discretion, and (ii) the Confirmation Order
 shall have been signed by the Bankruptcy Court and entered on the docket of the Bankruptcy
 Cases.

    B.      CONDITIONS TO EFFECTIVE DATE

         The following are conditions precedent to the occurrence of the Effective Date that may
 be satisfied or waived to the extent provided by section 11.3 of the Plan:

                (i)     The Confirmation Order shall be in all material respects reasonably
 acceptable to the Debtors, shall not have been vacated, reversed or modified and, as of the
 Effective Date, shall not be stayed;

                (ii)   The Debtors shall have borrowed the Plan Funding Amount from the Plan
 Sponsor;

               (iii)  The Professional Fee Escrow shall have been established and funded in
 accordance with Section 4.2.4 of the Plan;


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                (iv)     All documents and agreements to be executed on the Effective Date or
 otherwise necessary to implement the Plan shall be in form and substance that is acceptable to
 the Debtors, in their reasonable discretion;

                 (v)     The Debtors shall have received any authorization, consent, regulatory
 approval, ruling, letter, opinion, or document that may be necessary to implement the Plan and
 that is required by law, regulation, or order; and

                (vi)    The Confirmation Order shall have become a Final Order.

    C.      WAIVER OF CONDITIONS TO CONFIRMATION AND THE EFFECTIVE
            DATE

         Under Section 11.3 of the Plan, the Debtors may waive the conditions precedent to
 Confirmation of the Plan and the occurrence of the Effective Date set forth in sections 11.1.1,
 11.2.1, 11.2.4, 11.2.5 and 11.2.6 of the Plan (X.A.(i) and X.B.(i) and (iv)-(vi) above), in whole or
 in part, without any notice to any other parties in interest or the Bankruptcy Court and without a
 hearing or order of the Bankruptcy Court. The failure to satisfy or waive any condition to the
 Confirmation Date or the Effective Date may be asserted by the Debtors in their sole discretion
 regardless of the circumstances giving rise to the failure of such condition to be satisfied
 (including any action or inaction by the Debtors). The failure of the Debtors to exercise any of
 the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
 deemed an ongoing right, which may be asserted at any time.

                                                 XI.

                       EFFECT OF PLAN ON CLAIMS AND INTERESTS

    A.      DISCHARGE OF THE DEBTORS

         Except as otherwise expressly provided in the Plan or the Confirmation Order, pursuant
 to section 1141(d) of the Bankruptcy Code, and effective as of the Effective Date: (a) the
 Distributions and rights that are provided in the Plan, if any, and the treatment of all Claims
 under the Plan shall be in exchange for and in complete satisfaction, discharge, and release of all
 Claims and Causes of Action that arose or are deemed to have arisen prior to the Effective Date,
 whether known or unknown, including any interest accrued on such Claims and Causes of
 Action from and after the Petition Date, against, liabilities of, Liens on, obligations of, and rights
 against the Debtors or any of their assets or properties, regardless of whether any property shall
 have been distributed or retained pursuant to the Plan on account of such Claims and rights,
 including, but not limited to, Claims and debts of the kind specified in sections 502(g), 502(h), or
 502(i) of the Bankruptcy Code, in each case whether or not (i) a Proof of Claim based upon such
 Claim, debt, or right is Filed or deemed Filed under section 501 of the Bankruptcy Code, (ii) a
 Claim based upon such Claim, debt, or right is Allowed under section 502 of the Bankruptcy
 Code, or (iii) the Holder of such a Claim, debt or right accepted the Plan; (b) the Plan shall bind
 all Holders of Claims and Interests; (c) all Claims shall be satisfied, discharged, and released in
 full, and the Debtors’ liability with respect thereto shall be extinguished completely, including
 any liability of the kind specified under section 502(g) of the Bankruptcy Code; and (d) all



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 Entities shall be precluded from asserting against the Debtors, the Estates, the Reorganized
 Debtors, their successors and assigns, and their assets and properties any other Claims based
 upon any documents, instruments, or any act or omission, transaction, or other activity of any
 kind or nature that occurred prior to the Effective Date. This Section of the Plan shall not affect
 any release set forth in Article 6 of the Plan. The Confirmation Order shall be a judicial
 determination of the discharge of all Claims against the Debtors, subject to the occurrence of the
 Effective Date.

    B.      RELEASE OF LIENS

          Except as otherwise provided in the Plan, on the Effective Date and concurrently with the
 commencement of Distributions made pursuant to the Plan and, in the case of a Secured Claim,
 satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
 all mortgages, deeds of trust, Liens, pledges, or other security interests against any property of
 the Estates shall be fully released, terminated, extinguished and discharged, in each case without
 further notice or order of the Bankruptcy Court, act or action under applicable law, regulation,
 order, or rule or the vote, consent, authorization or approval of any Entity, and all of the right,
 title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other
 security interests shall revert to the applicable Reorganized Debtor. Any Entity holding such
 mortgages, deeds of trust, Liens, pledges, or other security interests shall pursuant to section
 1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such
 instruments of termination, release, satisfaction and/or assignment (in recordable form) as may
 be reasonably requested by the Reorganized Debtors, at the sole cost and expense of the
 Reorganized Debtors. This Section of the Plan shall not affect any mortgages and/or liens set
 forth in Article 6 of the Plan.

    C.      RELEASE BY DEBTORS OF CERTAIN PARTIES

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
 consideration, on and after and subject to the occurrence of the Effective Date, the Debtors
 and their Estates shall release each of the Released Parties, and each Released Party is
 deemed released by the Debtors, the Estates, and the Reorganized Debtors from any and all
 Claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
 whatsoever (including any derivative claims, asserted or assertable on behalf of any of the
 Debtors, their Estates or the Reorganized Debtors, as applicable) whether known or
 unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, matured
 or unmatured, determined or determinable, disputed or undisputed, liquidated or
 unliquidated, due or to become due, existing or hereinafter arising, in law, equity, or
 otherwise, that the Debtors, the Estates, or the Reorganized Debtors would have been
 legally entitled to assert in their own right (whether individually or collectively), or on
 behalf of the Holder of any Claim or Interest or other entity, based on or relating to, or in
 any manner arising from, in whole or in part, the Debtors, the Debtors’ restructuring, the
 Bankruptcy Cases, the purchase, sale, transfer, or rescission of the purchase, sale, or
 transfer of any security, asset, right, or interest of the Debtors or the Reorganized Debtors,
 the subject matter of, or the transactions or events giving rise to, any Claim or Interest that
 is treated in the Plan, the business or contractual arrangements between any Debtor and
 any Released Party, the restructuring of Claims and Interests prior to or in the Bankruptcy


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 Cases, the negotiation, formulation, or preparation of the Plan or related agreements,
 instruments, or other documents, and any other act or omission, transaction, agreement,
 event, or other occurrence taking place on and before the Petition Date; provided, however,
 that the foregoing release shall not operate to waive or release (a) any Claim or Cause of
 Action of the Debtors against any party that has asserted or asserts a Claim against the
 Debtors, or who may be liable for a Claim asserted against the Debtors by reason of any
 cross-claim, third party claim, claim for indemnification, reimbursement or contribution,
 or other Claim of the Debtors against such party on any contractual, legal or equitable
 grounds, or (b) any obligations of any party under the Plan or any other document,
 instrument, or agreement executed to implement the Plan. Entry of the Confirmation
 Order shall constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule
 9019, of the foregoing release, and further, shall constitute the Bankruptcy Court’s finding
 that such release is: (1) in exchange for good and valuable consideration provided by the
 Released Parties; (2) a good faith settlement and compromise of the claims released; (3) in
 the best interests of the Debtors and all holders of Claims and Interests; (4) fair, equitable,
 and reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a
 bar to any of the Debtors or their Estates asserting any claim or Cause of Action released
 pursuant to such release.

    D.      THIRD PARTY RELEASE

          On and after and subject to the occurrence of the Effective Date as to each of the
 Releasing Parties, the Releasing Parties shall release each of the Released Parties, and each
 of the Debtors, their Estates, and the Released Parties shall be deemed released from any
 and all Claims, obligations, rights, suits, damages, Causes of Action, remedies and
 liabilities whatsoever (including any derivative claims, asserted or assertable on behalf of
 any of the Debtors or their Estates), whether known or unknown, foreseen or unforeseen,
 asserted or unasserted, accrued or unaccrued, matured or unmatured, determined or
 determinable, disputed or undisputed, liquidated or unliquidated, due or to become due,
 existing or hereinafter arising, in law, equity, or otherwise, that such entity would have
 been legally entitled to assert (whether individually or collectively), based on or relating to,
 or in any manner arising from, in whole or in part, the Debtors, the Debtors’ restructuring,
 the Bankruptcy Cases, the purchase, sale, or rescission of the purchase or sale of any
 security of the Debtors, the subject matter of, or the transactions or events giving rise to,
 any Claim that is treated in the Plan, the business or contractual arrangements between
 any Debtor and any Released Party, the restructuring of Claims prior to or in the
 Bankruptcy Cases, the negotiation, formulation, or preparation of the Plan, or related
 agreements, instruments, or other documents, or any other act or omission, transaction,
 agreement, event or other occurrence taking place on and before the Effective Date;
 provided, however, that the foregoing release shall not operate to waive or release any
 Claim or Cause of Action of the Debtors against any party that has asserted or asserts a
 Claim against the Debtors, or who may be liable for a Claim asserted against the Debtors
 by reason of any cross-claim, third party claim, claim for indemnification, reimbursement
 or contribution, or other Claim of the Debtors against such party on any contractual, legal
 or equitable grounds; and provided further, however, that the foregoing release shall not
 become binding on SIR Properties Trust until payment in full of the SIR Settlement
 Amount has been made in accordance with the Plan. Notwithstanding anything to the


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 contrary in the foregoing release, nothing in the Plan shall release any obligations of any
 party under the Plan or any other document, instrument, or agreement executed to
 implement the Plan. Entry of the Confirmation Order shall constitute the Bankruptcy
 Court’s approval, pursuant to Bankruptcy Rule 9019, of the foregoing release and, further,
 shall constitute the Bankruptcy Court’s finding that the foregoing release is: (1) in
 exchange for good and valuable consideration provided by the Released Parties; (2) a good
 faith settlement and compromise of the Claims released by the Releasing Parties; (3) in the
 best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable and
 reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a bar
 to any of the Releasing Parties asserting any claim or Cause of Action released under the
 Plan.

    E.     EXCULPATION AND LIMITATION OF LIABILITY

         Except to the extent expressly provided otherwise in the Plan, the Exculpated
 Parties shall neither have nor incur any liability to any Entity for any Exculpated Claim;
 provided, however, that the foregoing “exculpation” shall have no effect on the liability of
 any Entity that results from any such act or omission that is determined in a Final Order to
 have constituted gross negligence or willful misconduct. The Exculpated Parties have, and
 upon Confirmation shall be deemed to have, participated in good faith and in compliance
 with the applicable provisions of the Bankruptcy Code and, therefore, are not and shall not
 be liable at any time for the violation of any applicable, law, rule, or regulation governing
 the solicitation of acceptances or rejections of the Plan or Distributions made pursuant to
 the Plan. This Section of the Plan shall not affect any release set forth in Article 6 of the
 Plan.

    F.     INJUNCTION

         Except as otherwise expressly provided in the Plan, the Confirmation Order, or a
 separate Final Order of the Bankruptcy Court, all Persons who have held, hold, or may
 hold Claims against any of the Debtors are permanently enjoined, on and after the
 Effective Date, from (a) commencing or continuing in any manner any action or other
 proceeding of any kind against the Debtors or Reorganized Debtors or their property with
 respect to any such Claim; (b) enforcing, attaching, collecting, or recovering by any
 manner or means any judgment, award, decree, or order against the Debtors or
 Reorganized Debtors or their property on account of any such Claim; (c) creating,
 perfecting, or enforcing any Lien or encumbrance of any kind against the Debtors or
 Reorganized Debtors or their property on account of any such Claim; (d) asserting any
 setoff, right of subrogation, or recoupment of any kind against any such Claim; or (e)
 taking any action that is inconsistent with or interferes with the implementation or
 consummation of the Plan; provided, however, that nothing in the Plan shall prevent any
 Person from taking action in the Bankruptcy Court to enforce their rights under and in
 accordance with the Plan.




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    G.      SETOFF AND RECOUPMENT

         Pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy Code),
 applicable non-bankruptcy law, or as may be agreed to by the Holder of a Claim, the Debtors or
 Reorganized Debtors may, but shall not be required to, set off against or recoup from any
 Allowed Claim, and the payments or other Distributions to be made pursuant to the Plan in
 respect of such Allowed Claim, any Claims, rights or Causes of Action of any nature whatsoever
 that the Debtors may have against the Holder of such Allowed Claim; but neither the Debtors’ or
 Reorganized Debtors’ failure to do so nor the allowance of any Claim shall constitute a waiver or
 release by the Debtors, the Reorganized Debtors or the Estates of any such Claims, rights or
 Causes of Action that the Debtors or Reorganized Debtors may have against such Holder. Any
 dispute related to setoff or recoupment rights of the Debtors or Reorganized Debtors shall be
 determined by the Bankruptcy Court. In no event shall any Holder of a Claim be entitled to
 setoff or recoup any Claim against any Claim, right, or Cause of Action of any of the Debtors or
 Reorganized Debtors unless such Holder has Filed a motion requesting the authority to perform
 such setoff or recoupment on or before the Confirmation Date, and notwithstanding any
 indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve
 any right of setoff or recoupment pursuant to section 553 or otherwise.

    H.      BINDING EFFECT

         On the Confirmation Date, the provisions of the Plan shall be binding on the Debtors, the
 Estates, the Reorganized Debtors, all Holders of Claims against or Interests in the Debtors, and
 all other parties-in-interest whether or not such Holders are Impaired and whether or not such
 Holders have accepted the Plan.

    I.      AUTOMATIC STAY

         The automatic stay arising out of section 362(a) of the Bankruptcy Code shall continue in
 full force and effect until the Consummation Date and the Debtors, Reorganized Debtors and the
 Estates shall be entitled to all of the protections afforded thereby.

                                               XII.

                           MISCELLANEOUS PLAN PROVISIONS

    A.      MODIFICATION OF THE PLAN

        The Debtors expressly reserve their rights to modify the Plan, whether such modification
 is material or immaterial, at any time before the Confirmation Date, and seek Confirmation
 consistent with the Bankruptcy Code and, as appropriate and unless otherwise ordered by the
 Bankruptcy Court, not resolicit votes on such modified Plan. Subject to certain restrictions and
 requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the
 Debtors and Reorganized Debtors, as applicable, further expressly reserve their rights to alter,
 amend or modify the Plan at any time after the Confirmation Date and before substantial
 consummation of the Plan, and, to the extent necessary, may initiate proceedings in the
 Bankruptcy Court to so alter, amend or modify the Plan, or remedy any defect or omission, or
 reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order, in


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 such matters as may be necessary to carry out the purposes and intent of the Plan. Any such
 modification or supplement shall be considered a modification of the Plan and shall be made in
 accordance with this Section. A Holder of a Claim that has accepted or rejected the Plan shall be
 deemed to have accepted or rejected, as the case may be, such Plan as modified, unless, within
 the time fixed by the Bankruptcy Court, such Holder changes its previous acceptance or
 rejection.

        Entry of the Confirmation Order shall mean that all modifications or amendments to the
 Plan occurring after the solicitation thereof are approved pursuant to section 1127 of the
 Bankruptcy Code and do not require additional disclosure or resolicitation under Bankruptcy
 Rule 3019.

    B.      RETENTION OF JURISDICTION

         The Plan provides that subsequent to the Effective Date, the Bankruptcy Court shall have
 or retain jurisdiction for various purposes set forth in Article XII thereof.

    C.      DISSOLUTION OF CREDITORS’ COMMITTEE

         On the Effective Date, the Committee shall dissolve automatically, whereupon its
 members, professionals, and agents shall be released from any further duties and responsibilities
 in the Bankruptcy Cases and under the Bankruptcy Code, provided that, after the Effective Date,
 the Committee shall be deemed to continue to exist solely with respect to the filing of
 applications pursuant to sections 330 and 331 of the Bankruptcy Code and objections thereto.

    D.      NO BAR TO SUITS

         Except as otherwise provided in Article X of the Plan, neither the Plan nor Confirmation
 thereof shall operate to bar or estop the Debtors or Reorganized Debtors from commencing any
 Cause of Action or any other legal action against any Holder of a Claim or Interest or any other
 Person, whether such Cause of Action or other legal action arose prior to or after the
 Confirmation Date and whether or not the existence of such Cause of Action or any other legal
 action was disclosed in any disclosure statement Filed by the Debtors in connection with the Plan
 or whether or not any payment was made or is made on account of any Claim or Interest.

                                             XIII.

                 CONFIRMATION AND CONSUMMATION PROCEDURE

    A.      GENERAL INFORMATION

        All Holders of Claims that are impaired by the Plan may cast their votes for or against the
 Plan. As a condition to confirmation of the Plan, the Bankruptcy Code requires that one Class of
 Impaired Claims votes to accept the Plan. Section 1126(c) of the Bankruptcy Code defines
 acceptance of a plan by a Class of Impaired Claims as acceptance by Holders of at least
 two-thirds of the dollar amount and by more than one-half in number of Claims in the Class of
 those creditors who exercise their right to vote. Holders of Claims who fail to vote are not
 counted as either accepting or rejecting a plan. Voting is accomplished by completing, dating,


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 signing and returning the Ballot form by the Voting Deadline. Ballots will be distributed to all
 creditors entitled to vote on the Plan as part of the Solicitation Package accompanying this
 Disclosure Statement. See Section I.C. of this Disclosure Statement for a more detailed
 explanation of who will receive Ballots and the voting procedures.

    B.      SOLICITATION OF ACCEPTANCES

         This Disclosure Statement has been approved by the Bankruptcy Court as containing
 “adequate information” to permit creditors to make an informed decision whether to accept or
 reject the Plan. Under the Bankruptcy Code, your acceptance of the Plan may not be solicited
 unless you receive a copy of this Disclosure Statement prior to, or concurrently with, such
 solicitation.

    C.      ACCEPTANCES NECESSARY TO CONFIRM THE PLAN

         At the Confirmation Hearing, the Bankruptcy Court shall determine, among other things,
 whether the Plan has been accepted by the Debtors’ creditors. Class 3, Class 4 and Class 5 will
 be deemed to accept the Plan if at least two-thirds in amount and more than one-half in number
 of the Claims in such Classes actually voting vote to accept the Plan. Furthermore, unless there
 is unanimous acceptance of the Plan by all members of the Classes entitled to vote on the Plan,
 the Bankruptcy Court must also determine that any non-accepting Class members will receive
 property with a value, as of the Effective Date of the Plan, that is not less than the amount that
 such Class member would receive or retain if the Debtors were liquidated as of the Effective
 Date of the Plan under Chapter 7 of the Bankruptcy Code.

         If all Classes of Claims entitled to vote on the Plan do not accept the Plan, the Debtors
 will seek to confirm the Plan under section 1129(b) of the Bankruptcy Code, which permits the
 confirmation of a plan notwithstanding the non-acceptance by one or more Impaired Classes of
 Claims or Interests. Under section 1129(b) of the Bankruptcy Code, a plan may be confirmed if
 (a) the plan has been accepted by at least one Impaired Class of Claims and (b) the Bankruptcy
 Court determines that the plan does not discriminate unfairly and is “fair and equitable” with
 respect to the non-accepting classes.

                                               XIV.

                         ALTERNATIVES TO CONFIRMATION AND
                            CONSUMMATION OF THE PLAN

          The Debtors have considered whether a liquidation of their assets by a Chapter 7 trustee
 would result in a higher recovery to creditors than that contemplated by the Plan. The Debtors
 believe that the distributions to creditors contemplated by the Plan and facilitated by the Plan
 Sponsor’s financing of the Plan Funding Amount will provide a substantially greater recovery to
 creditors than creditors are likely to receive in a liquidation of the Debtors’ assets by a Chapter 7
 trustee.

        The Debtors further believe that a conversion of the Bankruptcy Cases to Chapter 7
 would delay distributions to creditors and increase costs to the detriment of the Debtors’ estates
 and creditors.


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          In a Chapter 7 case, a trustee would be appointed or elected and would require additional
 time to become familiar with the Debtors’ assets and financial affairs. Under section 326(a) of
 the Bankruptcy Code, a Chapter 7 trustee would be entitled to compensation based upon a
 percentage of all funds distributed in the case to parties in interest. In addition, the Chapter 7
 trustee would be authorized to hire professionals to assist the trustee in the administration of the
 chapter 7 estates and the costs and expenses of such professionals that are Allowed would be
 additional Administrative Expense Claims against the Debtors’ estates. The Debtors believe that
 a Chapter 7 liquidation would result in delay and a diminution in value because of the substantial
 additional administrative expenses that will be required to compensate the Chapter 7 trustee and
 new attorneys, accountants and/or other professionals who are unfamiliar with the Debtors’
 assets, the Bankruptcy Cases and the Claims against the Estates.

        The Debtors further believe that a conversion of the Bankruptcy Cases to Chapter 7
 would likely fail to maximize the value of the Debtors’ assets for the benefit of all of their
 stakeholders, including equity holders, because a Chapter 7 trustee would likely list the Debtors’
 Owned Real Property for an immediate and expedited sale and obtain only liquidation value. By
 contrast, the Debtors believe that the Plan, which provides for the management of the Debtors’
 assets by existing management who are familiar with those assets will reduce costs and
 maximize value for the benefit of all parties in interest.

         The Debtors’ recommendation that all creditors in voting Classes vote to accept the Plan
 is based on the Debtors’ view that the Plan is preferable to other alternatives for reorganization
 or liquidation of the Debtors’ Estates. If the Plan is not accepted and confirmed, there is a risk
 that the interests of all creditors and equity holders will be diminished.

                                               XV.

                         CERTAIN RISK FACTORS TO CONSIDER

         The following disclosures are not intended to be exclusive and should be read in
 connection with the other disclosures contained in this Disclosure Statement. You should
 consult your legal, financial, and tax advisors regarding the risks associated with the Plan and the
 distributions you may receive thereunder.

         Claims Estimation: There can be no assurance that the estimated Claim amounts assumed
 for the purposes of preparing the Plan are correct. The actual amount of Allowed Claims likely
 will differ in some respect from the estimates. The estimated amounts are subject to certain risks,
 uncertainties, and assumptions. Should one or more of these risks or uncertainties materialize, or
 should underlying assumptions prove incorrect, the actual Allowed amount of Claims may vary
 from those estimated for the purpose of preparing the Plan. In addition, the actual amount of
 Allowed Claims against the Debtors will not be known until after the Debtors complete their
 review and reconciliation of all filed Claims, the Debtors prosecute objections to Claims, and all
 such Claim objections are adjudicated and resolved and/or settled. However, the Debtors do not
 believe that the estimated recovery percentages provided in this Disclosure Statement will be
 materially different than the actual recoveries that are realized under the Plan.




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         Certain Risks of Nonconfirmation: There can be no assurance that the requisite
 acceptances to confirm the Plan will be received. In addition, even if the requisite acceptances of
 the Plan are received, there can be no assurance that the Bankruptcy Court will confirm the Plan.
 The Bankruptcy Court could deny confirmation of the Plan if it were to find that any of the
 statutory requirements for confirmation are not met.

                                              XVI.

              UNITED STATES FEDERAL INCOME TAX CONSEQUENCES

      THE DEBTORS HAVE NOT SOUGHT OR OBTAINED ANY RULING FROM
 THE INTERNAL REVENUE SERVICE OR FROM ANY OTHER TAXING
 AUTHORITY WITH RESPECT TO ANY OF THE TAX CONSEQUENCES OF THE
 PLAN, NOR HAVE THE DEBTORS SOUGHT OR OBTAINED AN OPINION OF
 COUNSEL WITH RESPECT TO ANY SUCH TAX CONSEQUENCES.          NO
 REPRESENTATIONS OR ASSURANCES ARE MADE WITH RESPECT TO THE
 FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN. BECAUSE THE TAX
 CONSEQUENCES OF THE PLAN ARE COMPLEX AND MAY VARY BASED ON
 INDIVIDUAL CIRCUMSTANCES, EACH CREDITOR SHOULD CONSULT WITH ITS
 OWN TAX ADVISOR REGARDING THE SPECIFIC TAX CONSEQUENCES OF ANY
 ASPECT OF THE PLAN WITH RESPECT TO SUCH CREDITOR.

                                             XVII.

                                     RECOMMENDATION

        For all of the reasons set forth in this Disclosure Statement, the Debtors believe that
 confirmation and consummation of the Plan is preferable to all other alternatives. Consequently,
 the Debtors urge all Holders of Claims in Classes entitled to vote on the Plan to vote to ACCEPT
 the Plan, and to complete and return their ballots so that they will be RECEIVED on or before
 [_____________ __], 2018.




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 Dated: October 4, 2018

                                             Respectfully submitted,

                                             CINRAM GROUP, INC., CINRAM
                                             PROPERTY GROUP, LLC, and CINRAM
                                             OPERATIONS, INC., DEBTORS

                                             By: /s/ Glenn R. Langberg
                                                Name: Glenn R. Langberg
                                                Title: CEO




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                                     Exhibit A

                     Fourth Amended Joint Plan of Reorganization
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 Counsel to the Debtors and Debtors-in-Possession

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In re:                                                    Chapter 11

 Cinram Group, Inc., et al.,1                              Case No. 17-15258 (VFP)

                           Debtors.                        (Jointly Administered)



           DEBTORS’ FOURTH AMENDED JOINT PLAN OF REORGANIZATION
                 UNDER CHAPTER 11 OF THE BANKRUPTCY CODE




 Dated: October 4, 2018


 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: Cinram Group, Inc. (0588), Cinram Property Group, LLC (9738), and Cinram Operations, Inc. (7377).
 The Debtors conduct all of their business affairs out of offices located at 220 South Orange Avenue, Livingston,
 New Jersey 07039.



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                                         INTRODUCTION

         Cinram Group, Inc., Cinram Property Group, LLC, and Cinram Operations, Inc., the
 debtors and debtors-in-possession in the above-captioned cases (each, a “Debtor” and,
 collectively, the “Debtors”), propose this Plan for the resolution of the outstanding Claims
 against and Interests in the Debtors. The Debtors are the proponents of this Plan within the
 meaning of section 1129 of the Bankruptcy Code. Reference is made to the Disclosure
 Statement, distributed contemporaneously herewith, for a discussion of the Debtors’ history,
 business, assets, and events leading up to commencement of these Bankruptcy Cases, and for a
 summary of this Plan and the treatment of Claims and Interests provided for herein. Subject to
 the requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019,
 the Debtors reserve the right to alter, amend, modify, revoke or withdraw this Plan.

      ALL HOLDERS OF CLAIMS ARE ENCOURAGED TO READ THIS PLAN AND
 THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT
 OR REJECT THIS PLAN.

                                            ARTICLE I
                                Definitions and General Provisions

        For the purposes of this Plan, except as otherwise expressly provided, all capitalized
 terms not otherwise defined shall have the meanings ascribed to them in section 1.1 of this Plan.
 Any term used in this Plan that is not defined herein, but is defined in the Bankruptcy Code or
 the Bankruptcy Rules, shall have the meaning ascribed to that term in the Bankruptcy Code or
 the Bankruptcy Rules. Whenever the context requires, terms shall include the plural as well as
 the singular in number, and the masculine shall include the feminine and the feminine shall
 include the masculine in gender.

         1.1    Definitions. The following terms shall have the following meanings when used in
 this Plan:

                1.1.1 “Administrative Expense Claim” means a Claim for payment of the costs
 and expenses of administration of the Estates pursuant to section 503(b) and 507(a)(2) of the
 Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred after the
 Petition Date and through the Effective Date of preserving the Estates and operating the business
 of the Debtors; (b) all fees and charges assessed against the Estates pursuant to chapter 123 of
 the Judicial Code, including, but not limited to, U.S. Trustee Fees; and (c) Professional Fee
 Claims.

                1.1.2 “Administrative Expense Claims Bar Date” means the first Business Day
 following the date that is thirty (30) days after the Debtors serve notice by mail or by publication
 of the occurrence of the Effective Date.

              1.1.3     “Affiliate” shall have the meaning set forth in section 101(2) of the
 Bankruptcy Code.

                  1.1.4 “Allowed” means: (a) when used in reference to an Interest, that such an
 Interest is reflected in the stock transfer ledger, similar register or other books and records of the
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 applicable Debtor on the Record Date; and (b) when used in reference to a Claim, such Claim or
 any portion thereof that (i) has been allowed by a Final Order of the Bankruptcy Court, (ii) is
 agreed to by the Debtors or Reorganized Debtors, as applicable; (iii) is listed in any of the
 Debtors’ respective Schedules and for which no contrary Proof of Claim has been timely Filed,
 other than a Claim that is listed in any of the Debtors’ Schedules at zero or as disputed,
 contingent, or unliquidated; (iv) is evidenced by a Proof of Claim that has been timely Filed on
 or before the applicable Claims Bar Date or deemed to be timely Filed pursuant to any Final
 Order of the Bankruptcy Court or under applicable law, and as to which (A) no objection to its
 allowance or request for estimation has been Filed on or before the Claims Objection Deadline,
 or (B) any objection to its allowance has been settled or withdrawn, or has been overruled by a
 Final Order; or (v) is allowed pursuant to the terms of this Plan (regardless of whether such
 Claim has been listed by the Debtors in their Schedules and regardless of whether a Proof of
 Claim has been Filed in respect thereof); provided, however, that Claims allowed solely for the
 purpose of voting to accept or reject this Plan pursuant to an order of the Bankruptcy Court shall
 not be considered Allowed Claims for the purposes of Distribution under this Plan. Except as
 otherwise specified in this Plan or any Final Order, the amount of an Allowed Claim shall not
 include interest on such Claim from and after the Petition Date. For purposes of determining the
 amount of an Allowed Claim, there shall be deducted therefrom an amount equal to the amount
 of any Claim that the Debtors may hold against the Holder thereof, to the extent such Claim may
 be offset, recouped, or otherwise reduced under applicable law.

                 1.1.5 “Assumption Notice” means a notice Filed by the Debtors at least seven
 (7) days prior to the Confirmation Hearing designating Executory Contracts or Unexpired Leases
 that are to be assumed by the Debtors effective as of the Effective Date and the amount of any
 monetary defaults under each such Executory Contract or Unexpired Lease to be cured by the
 Debtors or Reorganized Debtors pursuant to section 365(b)(1) of the Bankruptcy Code.

                1.1.6 “Avoidance Action” means any and all actual or potential claims and
 Causes of Action to avoid a transfer of property or an obligation incurred by the Debtors and its
 recovery, subordination or other remedies that may be brought by and on behalf of the Debtors
 and their Estates arising out of or maintainable pursuant to sections 502, 510, 542, 544, 545, 547
 through 553, and 724(a) of the Bankruptcy Code or under any other similar applicable law,
 regardless of whether or not such action has been commenced prior to the Effective Date.

                 1.1.7 “Bankruptcy Case” means, with respect to each Debtor, the chapter 11
 case initiated by such Debtor’s filing on the Petition Date of a voluntary petition for relief in the
 Bankruptcy Court under chapter 11 of the Bankruptcy Code. The Bankruptcy Cases are being
 jointly administered in the Bankruptcy Court under Bankruptcy Case No. 17-15258 (VFP)
 pursuant to the Order Directing Joint Administration of the Debtors’ Chapter 11 Cases dated
 March 24, 2017 and entered by the Bankruptcy Court on March 28, 2017.

                1.1.8   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §
 101, et seq.

               1.1.9 “Bankruptcy Court” means the United States Bankruptcy Court for the
 District of New Jersey or, in the event such court ceases to exercise jurisdiction over any



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 Bankruptcy Case, such court or adjunct thereof that exercises jurisdiction over such Bankruptcy
 Case in lieu of the United States Bankruptcy Court for the District of New Jersey.

               1.1.10 “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
 Procedure and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure,
 as applicable to the Bankruptcy Cases or proceedings therein, and the Local Rules of the
 Bankruptcy Court, as applied to the Bankruptcy Cases or proceedings therein, as the case may
 be.

                1.1.11 “Business Day” means any day on which commercial banks are required
 to be open for business in New Jersey.

                1.1.12 “Cash” means legal tender of the United States of America and
 equivalents thereof.

                 1.1.13 “Causes of Action” means any and all actions, claims, claims for
 indemnification, reimbursement or contribution, proceedings, causes of action, suits, accounts,
 demands, controversies, agreements, promises, rights to legal remedies, rights to equitable
 remedies, rights to payments and claims, whether known or unknown, reduced to judgment, not
 reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
 undisputed, secured or unsecured, and whether asserted or assertable directly or derivatively, in
 law, equity or otherwise, including actions brought prior to the Petition Date, actions under
 chapter 5 of the Bankruptcy Code, including any Avoidance Action, and actions against any
 Entity for failure to pay for products or services provided or rendered by the Debtors, all claims,
 suits or proceedings relating to enforcement of the Debtors’ intellectual property rights,
 including patents, copyrights and trademarks, and all claims or causes of action seeking recovery
 of the Debtors’ accounts receivable or other receivables or rights to payment created or arising in
 the ordinary course of the Debtors’ business, based in whole or in part upon any act or omission
 or other event occurring prior to the Petition Date or during the course of the Bankruptcy Cases,
 including through the Effective Date. For the avoidance of doubt, Causes of Action include: (a)
 all rights of setoff, counterclaim, cross-claim, or recoupment, and claims on contracts or for
 breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims; and (c)
 such claims and defenses as fraud, mistake, duress, and usury, and any other defenses set forth in
 section 558 of the Bankruptcy Code.

                1.1.14 “CGI” means Cinram Group, Inc., a Delaware corporation.

                1.1.15 “COI” means Cinram Operations, Inc., an Alabama corporation

                1.1.16 “CPG” means Cinram Property Group, LLC, a Delaware limited liability
 company.

               1.1.17 “Claim” means a “claim” as defined in section 101(5) of the Bankruptcy
 Code against any of the Debtors, whether or not asserted.

                1.1.18 “Claims Bar Date” means, with respect to any Claim, the applicable date
 established by the Bankruptcy Court by which a Proof of Claim must be Filed with respect to



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 such Claim pursuant to (a) the Claims Bar Date Order, or (b) any other Final Order of the
 Bankruptcy Court.

                1.1.19 “Claims Bar Date Order” means the Order (A) Establishing Deadlines to
 File Proofs of Claim Against the Debtors, Including but not Limited to Claims Arising under
 Section 503(b)(9) of the Bankruptcy Code, (B) Approving the Form and Manner of Notice of the
 Bar Dates, (C) Authorizing Publication of the Bar Dates, and (D) Granting Related Relief,
 entered by the Bankruptcy Court on June 15, 2017 [Docket No. 128].

                  1.1.20 “Claims Objection Deadline” means the later of: (a) the first Business Day
 that is at least 180 days after the Effective Date; and (b) such later date as may be fixed by the
 Bankruptcy Court, after Designated Notice, upon a motion Filed by the Reorganized Debtors on
 or before the then existing Claims Objection Deadline.

                1.1.21 “Class” means a category of Claims or Interests as set forth in Article II of
 this Plan pursuant to section 1123(a)(1) of the Bankruptcy Code.

                1.1.22 “Committee” means the Official Committee of Unsecured Creditors
 appointed in the Debtors’ Bankruptcy Cases pursuant to section 1102(a) of the Bankruptcy Code.

               1.1.23 “Confirmation” means the entry of the Confirmation Order on the docket
 of the Bankruptcy Cases.

                1.1.24 “Confirmation Date” means the date on which the Bankruptcy Court
 enters the Confirmation Order.

               1.1.25 “Confirmation Hearing” means the hearing before the Bankruptcy Court
 held to consider Confirmation of this Plan and related matters under section 1128 of the
 Bankruptcy Code, as such hearing may be adjourned or continued from time to time.

                1.1.26 “Confirmation Order” means the order of the Bankruptcy Court
 confirming this Plan pursuant to section 1129 of the Bankruptcy Code.

              1.1.27 “Consent to Sublease” means that certain Consent to Sublease Agreement
 between SIR Properties Trust, CGI and Technicolor Southeast, dated November 12, 2015.

               1.1.28 “Consummation Date” means the date on which the Disbursing Agent
 makes the Final Distribution in accordance with this Plan.

                 1.1.29 “Designated Notice” means notice and an opportunity for a hearing as
 defined in section 102(1) of the Bankruptcy Code, with notice limited to the Debtors or
 Reorganized Debtors, as applicable, the United States Trustee, and other parties in interest who,
 after entry of the Confirmation Order, File a request for such notice and serve a copy of same on
 counsel for the Debtors.

                 1.1.30 “Disallowed” means a Claim or any portion thereof that (i) has been
 disallowed by a Final Order or pursuant to the terms of this Plan, (ii) has been or is hereafter
 listed in any of the Debtors’ Schedules at zero or as disputed, contingent, or unliquidated and as


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 to which no Proof of Claim has been timely Filed on or before the applicable Claims Bar Date or
 deemed timely Filed pursuant to any Final Order of the Bankruptcy Court, or (iii) is not listed in
 any of the Debtors’ Schedules and as to which no Proof of Claim has been timely Filed on or
 before the applicable Claims Bar Date or deemed timely Filed pursuant to any Final Order of the
 Bankruptcy Court.

                1.1.31 “Disclosure Statement” means the Debtors’ Fourth Amended Disclosure
 Statement for the Debtors’ Fourth Amended Joint Plan of Reorganization Under Chapter 11 of
 the Bankruptcy Code, dated as of October 4, 2018, as it may be further amended, supplemented,
 or modified from time to time, that relates to this Plan, as approved by the Bankruptcy Court
 pursuant to section 1125 of the Bankruptcy Code and Bankruptcy Rule 3017.

                1.1.32 “Disclosure Statement Order” means the Order of the Bankruptcy Court
 approving the Disclosure Statement, as containing, among other things, “adequate information”
 as required by section 1125 of the Bankruptcy Code and solicitation procedures related thereto.

                1.1.33 “Disbursing Agent” means the Reorganized Debtors, their agent, or any
 other person or entity designated by the Debtors or Reorganized Debtors to make or facilitate
 Distributions under this Plan.

                1.1.34 “Distribution” means any distribution of Cash by the Disbursing Agent to
 a Holder of an Allowed Claim or Interest on account of such Claim or Interest.

                1.1.35 “District Court” means the United States District Court for the District of
 New Jersey.

               1.1.36 “Effective Date” means the date specified by the Debtors in a Filed notice
 as the date on which this Plan shall take effect, which date shall be not more than ten (10)
 Business Days after the date on which the conditions to the Effective Date provided for in this
 Plan have been satisfied or waived by the Debtors.

                1.1.37 “Entity” means “entity” as defined in section 101(15) of the Bankruptcy
 Code.

               1.1.38 “Estate” means, with regard to each Debtor, the estate that was created by
 the commencement by a Debtor of a Bankruptcy Case pursuant to section 541 of the Bankruptcy
 Code, and shall be deemed to include any and all rights, powers, and privileges of such Debtor
 and any and all interests in property, whether real, personal or mixed, rights, Causes of Action,
 avoidance powers or extensions of time that such Debtor or such Estate shall have had as of the
 commencement of the Bankruptcy Case, or which such Estate acquired after the commencement
 of the Bankruptcy Case.

                 1.1.39 “Exculpated Claim” means any Claim related to any act or omission in
 connection with, relating to, or arising out of the Debtors’ restructuring, the Bankruptcy Cases,
 formulation, preparation, dissemination, negotiation, or filing of the Disclosure Statement, the
 Plan, the settlement of Claims or renegotiation of any Executory Contract or Unexpired Lease,
 the negotiation of the Plan or any contract, instrument, release, or other agreement or document
 created or entered into in connection with the Disclosure Statement or Plan, the filing of the


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 Bankruptcy Cases, the pursuit of Confirmation, the pursuit of consummation of the Plan, the
 administration, consummation, and implementation of the Plan, the distribution of property
 under the Plan, or any transaction contemplated by the Plan or Disclosure Statement, or in
 furtherance thereof.

                1.1.40 “Exculpated Parties” means, collectively, each of the following in their
 respective capacities as such: (a) the Debtors; (b) the Reorganized Debtors; (c) the Plan Sponsor;
 and (d) with respect to each of the Entities identified in subsections (a)-(c) herein, such Entity’s
 respective predecessors, successors and assigns, and current and former stockholders,
 shareholders, equity holders, members, limited partners, general partners, equity holders,
 principals, partners, managed funds, parents, members, employees, agents, officers, directors,
 managers, trustees, professionals, representatives, advisors, attorneys, financial advisors,
 accountants, investment bankers, and consultants.

               1.1.41 “Executory Contract or Unexpired Lease” means all executory contracts
 and unexpired leases to which any of the Debtors are a party.

                1.1.42 “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy
 Court in the Bankruptcy Cases.

                1.1.43 “Final Distribution” means the Distribution by the Disbursing Agent upon
 which each Holder of an Allowed Claim in Classes 1, 2, 3, 4, 5 and 6 under this Plan shall have
 received all Distributions each such Holder is entitled to receive under Article III of this Plan.

                 1.1.44 “Final Order” means an order or judgment, the operation or effect of
 which has not been reversed, stayed, modified, or amended, is in full force and effect, and as to
 which order or judgment (or any reversal, stay, modification, or amendment thereof) (a) the time
 to appeal, seek certiorari, or request reargument or further review or rehearing has expired and
 no appeal, petition for certiorari, or request for reargument or further review or rehearing has
 been timely filed, or (b) any appeal that has been or may be taken or any petition for certiorari or
 request for reargument or further review or rehearing that has been or may be filed has been
 resolved by the highest court to which the order or judgment was appealed, from which certiorari
 was sought, or to which the request was made, and no further appeal or petition for certiorari or
 request for reargument or further review or rehearing has been or can be taken or granted;
 provided, however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil
 Procedures, or any analogous rule under the Bankruptcy Rules, may be filed relating to such
 order shall not prevent such order from being a Final Order; provided, further, that the Debtors or
 Reorganized Debtors, as applicable, reserve their right to waive any appeal period for an order or
 judgment to become a Final Order.

              1.1.45 “General Unsecured Claim” means any Unsecured Claim other than (a) a
 SIR Rejection Damage Claim, (b) a Technicolor Indemnification Claim, (c) a Workers’
 Compensation Insurance Claim, or (d) an Intercompany Claim.

                1.1.46 “GUC Distribution Amount” means $250,000.

               1.1.47 “Hanover Lease” means that certain Lease dated September 24, 2008
 (together with all amendments, assignments, consents to assignment, exhibits, and/or


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 supplements thereto) between CGI (as successor in interest of the “Lessee” under the Lease) and
 SIR Properties Trust (as successor in interest of the “Lessor” under the Lease), for the Hanover
 Premises.

                1.1.48 “Hanover Premises” means the “Premises” as defined in the Hanover
 Lease.

                1.1.49 “Holder” means a holder of a Claim or Interest, as applicable.

               1.1.50 “Huntsville Lease” means that certain Lease dated August 31, 2012
 (together with all amendments, assignments, consents to assignment, exhibits, and/or
 supplements thereto) between CGI, as “Lessee,” and SIR Properties Trust, as “Lessor,” for the
 Huntsville Premises.

                1.1.51 “Huntsville Premises” means the “Premises” as defined in the Huntsville
 Lease.

               1.1.52 “Huntsville Sublease” means that certain Sublease between CGI and
 Technicolor Southeast, dated November 12, 2015.

                1.1.53 “Impaired” or “Impairment” shall have the meaning ascribed to such term
 in section 1124 of the Bankruptcy Code.

              1.1.54 “Insider” shall have the meaning set forth in section 101(31) of the
 Bankruptcy Code.

                 1.1.55 “Intercompany Claim” means a Claim (a) held by any Debtor against
 another Debtor or (b) any non-Debtor Affiliate against any of the Debtors, including in each
 case, for the avoidance of doubt, all prepetition and post-petition Claims.

                  1.1.56 “Interest” means common stock, limited liability company interest, equity
 security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
 interests, unit, or share in a Debtor (including all options, warrants, rights, or other securities or
 agreements to obtain such an interest or share in such Debtor), whether or not arising under or in
 connection with any employment agreement and whether or not certificated, transferable,
 preferred, common, voting, or denominated “stock” or a similar security, including any claims
 against the Debtors subject to subordination pursuant to section 510(b) of the Bankruptcy Code
 arising from or related to any of the foregoing.

                1.1.57 “Lien” has the meaning set forth in section 101(37) of the Bankruptcy
 Code.

               1.1.58 “Olyphant First Mortgage” means a mortgage on the Olyphant Property to
 be granted by CPG to the Plan Sponsor on the Effective Date to secure repayment of the Plan
 Funding Amount to the Plan Sponsor.

               1.1.59 “Olyphant Lease” means that certain Lease dated November 12, 2015
 (together with all amendments, assignments, consents to assignment, exhibits, and/or


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 supplements thereto) between CPG, as “Lessor,” and Technicolor Southeast, as “Lessee,” for the
 Olyphant Premises.

                1.1.60 “Olyphant Premises” means the “Premises” as defined in the Olyphant
 Lease.

                1.1.61 “Olyphant Premises Surrender Conditions” means:

                Technicolor Southeast shall peaceably and quietly surrender the
                Olyphant Premises to CPG free of all personal property of Technicolor
                Southeast (except as expressly set forth herein) and any Lessee
                Representative (as defined in the Olyphant Lease), meaning solely that
                Technicolor Southeast shall remove all personal property including, but
                not limited to, manufacturing, mastering, replication, printing and/or
                packaging equipment of Technicolor Southeast and any Lessee
                Representative located at the Olyphant Premises. With respect to
                removal of such equipment, Technicolor Southeast’s obligation shall be
                only to (in addition to physically removing the equipment): (a)
                disconnect the electrical cabling and wires therefrom, turn off power to
                such equipment at the nearest breaker and pull such cabling and wires
                into ceiling void, and (b) disconnect the plumbing, tubing and hoses
                therefrom, shut-off at the nearest shutoff valve and terminate such
                plumbing, tubing and hoses above the drop-ceiling. Without limitation,
                Technicolor Southeast shall have no obligation whatsoever to remove
                or restore any alterations, improvements, additions, fixtures, walls,
                mezzanines and/or doors.
                1.1.62 “Olyphant Property” means that certain real property owned by CPG
 located at 1400 East Lackawanna Avenue, Olyphant, Pennsylvania, and all plants, buildings,
 structures, improvements, appurtenances and fixtures (including fixed machinery and fixed
 equipment) thereon, forming part thereof or benefitting such real property.

                 1.1.63 “Olyphant Second Mortgage” means a mortgage on the Olyphant
 Property, which shall be subordinate to the Olyphant First Mortgage except as otherwise
 provided in Section 6.6 of this Plan, to be granted by CPG or the Reorganized Debtors as
 applicable to Technicolor on the Effective Date to secure the contingent obligations of (1) the LC
 Guarantor (as defined in the PSA) under the LC Guarantee (as defined in the PSA), and (2) the
 Parent (as defined in the PSA), but in the case of the Parent, solely with respect to its guarantee
 of CGI’s obligations under section 4.15(b) of the PSA to reimburse Technicolor for any amounts
 that are actually drawn on any of the Technicolor Letters of Credit.

                1.1.64 “Owned Real Property” means the Olyphant Property and the Tuscaloosa
 Property.

                1.1.65 “Person” means an individual, corporation, partnership, joint venture,
 association, joint stock company, limited liability company, limited liability partnership, trust,
 estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
 Bankruptcy Code) or other entity.


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               1.1.66 “Petition Date” means March 17, 2017.

               1.1.67 “Plan” means this Debtors’ Fourth Amended Joint Plan of Reorganization
 Under Chapter 11 of the Bankruptcy Code, as it may be further amended, supplemented or
 modified from and after the date hereof.

               1.1.68 “Plan Funding Amount” means $12,500,000.

                1.1.69 “Plan Sponsor” means Com Real Estate 918 LLC, a Delaware limited
 liability company, which is an Affiliate of the Debtors.

                1.1.70 “Plan Supplement” means the compilation of documents, forms of
 documents, schedules, notices and/or exhibits to this Plan, which the Debtors shall File at least
 five days prior to commencement of the Confirmation Hearing, as the same may be amended,
 supplemented, or modified from time to time through and including the Effective Date.

               1.1.71 “Priority Claim” means a Claim against any Debtor entitled to priority
 under the provisions of section 507(a) of the Bankruptcy Code other than an Administrative
 Expense Claim or a Tax Claim.

                 1.1.72 “Pro Rata” means the proportion that an Allowed Claim in a particular
 Class bears to the aggregate amount of Allowed Claims in that Class.

                1.1.73 “Professional” means any Person retained in the Bankruptcy Cases
 pursuant to and in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be
 compensated for services rendered and expenses incurred pursuant to sections 327, 328, 329,
 330, 331, or 363 of the Bankruptcy Code.

                 1.1.74 “Professional Fee Claims” means all Claims for accrued fees and expenses
 for services rendered and expenses incurred by a Professional from the Petition Date through and
 including the Effective Date to the extent such fees and expenses have not previously been paid
 pursuant to an order of the Bankruptcy Court.

                 1.1.75 “Professional Fee Claims Estimate” means the amount of Professional Fee
 Claims that are estimated by each Professional retained by the Committee or the Debtors, as
 applicable, in good faith to be accrued but unpaid as of the Effective Date.

                1.1.76 “Professional Fee Escrow” means an escrow account to be funded on the
 Effective Date in an amount equal to the Professional Fee Claims Estimate.

               1.1.77 “Proof of Claim” means a proof of Claim Filed against any of the Debtors
 in the Bankruptcy Cases.

               1.1.78 “PSA” means that certain Purchase and Sale Agreement dated August 10,
 2015 by and among Technicolor, as “Buyer,” CGI, as “Seller”, CAI Holdings, Inc., as “Parent,”
 and Najafi Companies, LLC, as “LOC Guarantor”, as amended by that certain Amendment No.
 1, dated November 11, 2015.



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                1.1.79 “Record Date” means the date established in the Confirmation Order or
 any other Final Order of the Bankruptcy Court for determining the identity of Holders of
 Allowed Claims and Interests entitled to Distributions under this Plan. If no Record Date is
 established in the Confirmation Order or any other order of the Bankruptcy Court, then the
 Record Date shall be the Confirmation Date.

                 1.1.80 “Reinstated” or “Reinstatement” means: (a) leaving unaltered the legal,
 equitable, and contractual rights to which a Claim or Interest entitles the Holder of such Claim or
 Interest so as to leave such Claim or Interest Unimpaired; or (b) notwithstanding any contractual
 provision or applicable law that entitles the Holder of a Claim or Interest to demand or receive
 accelerated payment of such Claim or Interest after the occurrence of a default: (i) curing any
 such default that occurred before or after the Petition Date, other than a default of a kind
 specified in section 365(b)(2) of the Bankruptcy Code or of a kind that section 365(b)(2)
 expressly does not require to be cured; (ii) reinstating the maturity (to the extent such maturity
 has not otherwise accrued by the passage of time) of such Claim or Interest as such maturity
 existed before such default; (iii) compensating the Holder of such Claim or Interest for any
 damages incurred as a result of any reasonable reliance by such Holder on such contractual
 provision or such applicable law; (iv) if such Claim or Interest arises from a failure to perform a
 nonmonetary obligation other than a default arising from failure to operate a nonresidential real
 property lease subject to section 365(b)(1)(A), compensating the Holder of such Claim or
 Interest (other than a Debtor or an Insider) for any actual pecuniary loss incurred by such Holder
 as a result of such failure; and (v) not otherwise altering the legal, equitable, or contractual rights
 to which such Claim or Interest entitles the Holder.

                1.1.81 “Record Holder” means the Holder of a Claim or Interest as of the Record
 Date.

                1.1.82 “Released Parties” means, collectively, in each case solely in their
 capacity as such: (a) each Debtor, each Debtor’s Estate and each Reorganized Debtor; (b) each of
 the Debtors’ current and former officers, directors, and managers; (c) all Affiliates of the
 Debtors; (d) the Plan Sponsor; and (e) with respect to each of the Entities identified in
 subsections (a) through (d) herein, each of such Entities’ respective predecessors, successors and
 assigns, and respective current and former stockholders, shareholders, equity holders, members,
 partners, subsidiaries, principals, managed funds, parents, employees, agents, officers, directors,
 managers, trustees, professionals, representatives, advisors, attorneys, financial advisors,
 accountants, investment bankers, and consultants, including but not limited to CAI Holdings,
 Inc., JCIN Holdings, Inc., Najafi Companies, LLC, Jahm Najafi, Tina Rhodes-Hall, Daniel
 Shum, John Gamero, Emily Tadano, Glenn R. Langberg, Karen Kessler and Joseph Catalano.

                1.1.83 “Releasing Parties” means, collectively, in each case solely in their
 capacity as such: (a) each Debtor, each Debtor’s Estate and each Reorganized Debtor; (b) all
 Holders of Claims against or Interests in the Debtors who are deemed to accept the Plan; (c) all
 other Holders of Claims who are entitled to vote on the Plan and who do not opt out of the
 release provided by Section 10.4 of the Plan pursuant to a duly completed ballot submitted prior
 to the Voting Deadline (except for Technicolor and Technicolor Southeast and each of their
 respective Affiliates who are not Releasing Parties); (d) SIR Properties Trust; and (e) with
 respect to each of the Entities identified in subsections (a)-(d) herein, each of such Entities’


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 respective predecessors, successors and assigns, and respective current and former stockholders,
 shareholders, equity holders, members, partners, subsidiaries, principals, managed funds,
 parents, employees, agents, officers, directors, managers, trustees, professionals, representatives,
 advisors, attorneys, financial advisors, accountants, investment bankers, and consultants.

                 1.1.84 “Reorganized Debtors” means each of the Debtors, as reorganized
 pursuant to and under this Plan or any successor thereto, by merger, consolidation, or otherwise,
 on or after the Effective Date.

                1.1.85 “Schedules” means the schedules of assets and liabilities Filed in the
 Bankruptcy Cases by each Debtor, respectively, pursuant to section 521 of the Bankruptcy Code,
 which incorporate by reference the Global Notes, Methodology and Specific Disclosures
 Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs,
 as such schedules have been or may be further modified, amended or supplemented from time to
 time in accordance with Bankruptcy Rule 1009 or Final Orders of the Bankruptcy Court.

                1.1.86 “Secured Claim” means a Claim against any Debtor to the extent secured
 by a Lien on any property of such Debtor to the extent of the value of said property as provided
 in section 506(a) of the Bankruptcy Code.

               1.1.87 “SIR Rejection Damage Claims” means, collectively, all Unsecured
 Claims of SIR Properties Trust against one or more of the Debtors.

               1.1.88 “SIR Setoff Order” means the Order Granting SIR Properties Trust Relief
 From the Automatic Stay Pursuant to 11 U.S.C. § 362(d)(1) and Fed. R. Bankr. P. 4001 to Apply
 and Setoff Security Deposit Pursuant to 11 U.S.C. § 553 and Applicable Non-Bankruptcy Law
 and Granting Related Relief [Docket. No. 233].

                  1.1.89 “SIR Settlement Amount” means (1) if paid in full on or before October 1,
 2018, $8,500,000, or (2) if paid in full after October 1, 2018, (a) $8,500,000, plus (b) simple
 interest at the rate of 8% per annum (computed based on the actual number of days elapsed in a
 year consisting of 365 days) solely on the portion of such amount that remains unpaid from time
 to time after October 1, 2018.

               1.1.90 “Tax Claim” means any Claim entitled to priority under section 507(a)(8)
 of the Bankruptcy Code.

                1.1.91 “Technicolor” means Technicolor Home Entertainment Services, Inc.

                1.1.92 “Technicolor Allowed Claim Amount” means $1,500,000.

               1.1.93 “Technicolor Indemnification Claims” means, collectively, all Claims of
 Technicolor Southeast, Technicolor or their respective Affiliates against one or more of the
 Debtors, whether on account of indemnification rights, rejection of any Executory Contract or
 Unexpired Lease or any other matter.

                1.1.94 “Technicolor Letters of Credit” means the “Employment-Related Letters
 of Credit” as defined in the PSA.


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               1.1.95 “Technicolor Southeast” means Technicolor Home Entertainment Services
 Southeast, LLC f/k/a CT Acquisition Holdco, LLC.

               1.1.96 “Tuscaloosa First Mortgage” means a mortgage or deed of trust on the
 Tuscaloosa Property to be granted by COI to the Plan Sponsor on the Effective Date to secure
 repayment of the Plan Funding Amount to the Plan Sponsor.

                1.1.97 “Tuscaloosa Property” means that certain real property owned by COI
 located at 1 JVC Road, Tuscaloosa, Alabama and 2 JVC Road, Tuscaloosa, Alabama, and all
 plants, buildings, structures, improvements, appurtenances and fixtures (including fixed
 machinery and fixed equipment) thereon, forming part thereof or benefitting such real property.

                 1.1.98 “Tuscaloosa Second Mortgage” means a mortgage on the Tuscaloosa
 Property, which shall be subordinate to the Tuscaloosa First Mortgage, to be granted by COI or
 the Reorganized Debtors, as applicable, to Technicolor on the Effective Date to secure the
 contingent obligations of (1) the LC Guarantor (as defined in the PSA) under the LC Guarantee
 (as defined in the PSA), and (2) the Parent (as defined in the PSA), but in the case of the Parent,
 solely with respect to its guarantee of CGI’s obligations under section 4.15(b) of the PSA to
 reimburse Technicolor for any amounts that are actually drawn on any of the Technicolor Letters
 of Credit.

                 1.1.99 “Unimpaired” means, with respect to a Class of Claims or Interests, any
 Class that is not Impaired.

                1.1.100        “Unpaid Claims Reserve” shall have the meaning ascribed to such
 term in section 8.4 hereof.

              1.1.101         “Unsecured Claim” means a Claim against any Debtor that is not a
 Secured Claim, Priority Claim, Tax Claim, or Administrative Expense Claim.

               1.1.102          “U.S. Trustee Fees” means fees arising under 28 U.S.C. §
 1930(a)(6) and, to the extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

              1.1.103         “Voting Deadline” means the deadline established by the
 Bankruptcy Court in the Disclosure Statement Order for voting on the Plan.

                 1.1.104          “Workers’ Compensation Insurance Claim” means a Claim of a
 workers’ compensation insurance carrier, state authority or agency, or third party administrator
 of workers’ compensation claims arising from or relating to workers’ compensation claims
 against, or liabilities of, a Debtor.

         1.2     Time. Whenever the time for the occurrence or happening of an event as set forth
 in this Plan falls on a day which is a Saturday, Sunday, or legal holiday under the laws of the
 United States of America or the State of New Jersey, then the time for the occurrence or
 happening of said event shall be extended to the next day that is not a Saturday, Sunday, or legal
 holiday.




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                                            ARTICLE II
                               Classification of Claims and Interests

         2.1     Classification of Claims and Interests. Pursuant to section 1123(a)(1) of the
 Bankruptcy Code, the classification of Claims and Interests against the Debtors for all purposes
 of this Plan is set forth below. A Claim or Interest is classified in a particular Class only to the
 extent the Claim or Interest qualifies within the description of that Class and is classified in other
 Classes to the extent that any portion of such Claim or Interest qualifies within the description of
 such other Classes. Any Class of Claims that does not have at least one Holder eligible to vote
 as of the Voting Deadline shall be considered vacant, deemed eliminated from this Plan for
 purposes of voting to accept or reject this Plan, and disregarded for purposes of determining
 acceptance or rejection of this Plan by such Class pursuant to section 1129(a)(8) of the
 Bankruptcy Code.

   Class       Description                              Status           Voting Rights
   Class 1     Secured Claims                           Unimpaired       Not Entitled to Vote
                                                                         (Deemed to Accept)
   Class 2     Priority Claims                          Unimpaired       Not Entitled to Vote
                                                                         (Deemed to Accept)
   Class 3     SIR Rejection Damage Claims              Impaired         Entitled to Vote
   Class 4     Technicolor Indemnification              Impaired         Entitled to Vote
               Claims
   Class 5     General Unsecured Claims                 Impaired         Entitled to Vote
   Class 6     Workers’ Compensation Insurance          Unimpaired       Not Entitled to Vote
               Claims                                                    (Deemed to Accept)
   Class 7     Intercompany Claims                      Unimpaired       Not Entitled to Vote
                                                                         (Deemed to Accept)
   Class 8     Interests                                Unimpaired       Not Entitled to Vote
                                                                         (Deemed to Accept)

        2.2     Deemed Acceptance of Plan. Classes 1, 2, 6, 7 and 8 are Unimpaired under this
 Plan. Accordingly, pursuant to section 1126(f) of the Bankruptcy Code, Classes 1, 2, 6, 7 and 8
 are conclusively presumed to accept this Plan and are not entitled to vote to accept or reject this
 Plan.

         2.3 Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code. The Debtors
 will request Confirmation of this Plan, as it may be modified from time to time, under section
 1129(b) of the Bankruptcy Code with respect to any Class that is Impaired and votes to reject
 this Plan. The Debtors reserve the right to modify this Plan in order to satisfy the requirements
 of section 1129(b) of the Bankruptcy Code, if necessary.

                                         ARTICLE III
                                 Treatment of Claims and Interests

        3.1     Class 1—Secured Claims

                3.1.1   Classification: Class 1 consists of all Secured Claims.


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                 3.1.2 Treatment: Except to the extent that a Holder of an Allowed Secured
 Claim agrees to a less favorable treatment of its Allowed Secured Claim or such Claim is
 satisfied pursuant to the SIR Setoff Order, in full and final satisfaction, settlement, release, and
 discharge of and in exchange for each Allowed Secured Claim, on or as soon as reasonably
 practicable after the later of (i) the Effective Date, and (ii) the date such Secured Claim becomes
 Allowed, each Holder of an Allowed Secured Claim shall receive, at the option of the
 Reorganized Debtors, either:

                        (a)    Cash in an amount equal to such Allowed Secured Claim;

                        (b)    the proceeds of the sale or disposition of the collateral securing
                               such Allowed Secured Claim to the extent of the value of the
                               Holder’s interest in such collateral;

                        (c)    the collateral securing such Allowed Secured Claim; or

                        (d)    such other treatment rendering such Holder’s Allowed Secured
                               Claim Unimpaired including, but not limited to, payment in the
                               ordinary course of business in accordance with the terms of any
                               agreement governing such Allowed Claim.

 In the event that the Reorganized Debtors elect to treat an Allowed Secured Claim under clause
 (a) or (b) of this section 3.1.2, the Liens securing such Claim shall be deemed released without
 the need for further action. Upon the occurrence of the Effective Date, SIR Properties Trust shall
 have an Allowed Secured Claim in the amount of $3,739,382.00, which shall be deemed fully
 satisfied by the exercise of its setoff rights pursuant to the SIR Setoff Order.

               3.1.3 Voting: Class 1 is an Unimpaired Class, and the Holders of Secured
 Claims are conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the
 Bankruptcy Code and are not entitled to vote to accept or reject this Plan.

        3.2     Class 2—Priority Claims

                3.2.1   Classification: Class 2 consists of all Priority Claims.

                 3.2.2 Treatment: Except to the extent that a Holder of an Allowed Priority
 Claim agrees to a less favorable treatment of its Allowed Priority Claim, in full and final
 satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority
 Claim, on or as soon as reasonably practicable after the later of (a) the Effective Date, or (b) the
 date such Priority Claim becomes Allowed, each Holder of an Allowed Priority Claim shall
 receive, at the option of the Reorganized Debtors, either:

                        (a)    Cash equal to the full amount of such Allowed Priority Claim; or

                        (b)    such other treatment rendering such Holder’s Allowed Priority
                               Claim Unimpaired.




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               3.2.3 Voting: Class 2 is an Unimpaired Class, and the Holders of Priority
 Claims are conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the
 Bankruptcy Code and are not entitled to vote to accept or reject this Plan.

        3.3    Class 3—SIR Rejection Damage Claims

               3.3.1   Classification: Class 3 consists of the SIR Rejection Damage Claims.

                3.3.2 Treatment: The SIR Rejection Damage Claims shall be Allowed in an
 aggregate amount equal to the SIR Settlement Amount. The SIR Settlement Amount shall be
 paid in full within 60 days after the Effective Date in full and final satisfaction, settlement,
 release and discharge of and in exchange for the SIR Rejection Damage Claims.

                 3.3.3 Voting: Class 3 is an Impaired Class. Pursuant to section 1126 of the
 Bankruptcy Code, SIR Properties Trust (the sole Holder of Claims in Class 3) is entitled to vote
 to accept or reject this Plan.

        3.4    Class 4—Technicolor Indemnification Claims

               3.4.1   Classification: Class 4 consists of the Technicolor Indemnification Claims.

                 3.4.2 Treatment: The Technicolor Indemnification Claims shall be Allowed in
 the aggregate amount of the Technicolor Allowed Claim Amount. In full and final satisfaction,
 settlement, release and discharge of and in exchange for the Technicolor Indemnification Claims,
 the Technicolor Allowed Claim Amount shall be paid as follows: (a) $1,000,000 shall be paid
 within 10 days after the Effective Date to Technicolor (the “Technicolor Initial Distribution”),
 and (b) $500,000 (the “Technicolor Olyphant Distribution”, collectively with the Technicolor
 Initial Distribution, the “Technicolor Distributions”) shall be deposited no later than 30 days
 after the Effective Date in immediately available funds with the Escrow Agent (as defined in
 Section 6.8 of this Plan) and held and distributed in accordance with the terms of Section 6.8 of
 this Plan and the Escrow Agreement (as defined in Section 6.8 of this Plan). In addition,
 pursuant to Sections 6.6 and 6.7 of this Plan, on the Effective Date, the Olyphant Second
 Mortgage shall be executed by CPG and delivered to Technicolor, the Tuscaloosa Second
 Mortgage shall be executed by COI and delivered to Technicolor, and the Olyphant
 Subordination Agreement (as defined in Section 6.6 of this Plan) shall be executed by
 Technicolor and the Plan Sponsor. For the avoidance of doubt, notwithstanding execution and
 delivery of the Olyphant Second Mortgage and the Tuscaloosa Second Mortgage, under no
 circumstance shall the Technicolor Indemnification Claims be Allowed in an amount greater
 than the Technicolor Allowed Claim Amount.

                3.4.3 Voting: Class 4 is an Impaired Class. Pursuant to section 1126 of the
 Bankruptcy Code, Technicolor Southeast (the sole Holder of a Claim in Class 4) is entitled to
 vote to accept or reject this Plan.

        3.5    Class 5—General Unsecured Claims

               3.5.1   Classification: Class 5 consists of all General Unsecured Claims.



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               3.5.2 Treatment: Except to the extent a Holder of an Allowed General
 Unsecured Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
 release and discharge of and in exchange for each Allowed General Unsecured Claim, each
 Holder thereof shall receive such Holder’s Pro Rata share of Cash in the amount of the GUC
 Distribution Amount, which shall be paid by the Debtors on or before the Effective Date into a
 segregated bank account for the benefit of Holders of Allowed General Unsecured Claims, and
 from which Distributions shall be made as soon as practicable after the date on which all General
 Unsecured Claims are either Allowed or Disallowed.

              3.5.3 Voting: Class 5 is an Impaired Class. Pursuant to section 1126 of the
 Bankruptcy Code, each Holder of a Claim in Class 5 is entitled to vote to accept or reject this
 Plan.

        3.6     Class 6—Workers’ Compensation Insurance Claims

                3.6.1   Classification: Class 6 consists of all Workers’ Compensation Insurance
 Claims.

               3.6.2 Treatment: On the Effective Date, all Allowed Workers’ Compensation
 Insurance Claims shall be Reinstated.

               3.6.3 Voting: Class 6 is an Unimpaired Class, and the Holders of Workers’
 Compensation Insurance Claims are conclusively presumed to have accepted this Plan pursuant
 to section 1126(f) of the Bankruptcy Code and are not entitled to vote to accept or reject this
 Plan.

        3.7     Class 7—Intercompany Claims

                3.7.1   Classification: Class 7 consists of all Intercompany Claims.

                3.7.2 Treatment: On the Effective Date, all net Allowed Intercompany Claims
 (taking into account any setoffs of Intercompany Claims) shall, at the election of the
 Reorganized Debtors, be either (i) Reinstated, or (ii) released, waived, and discharged without
 any Distribution on account of such Claims.

                3.7.3 Voting: Class 7 is an Unimpaired Class, and the Holders of Intercompany
 Claims are conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the
 Bankruptcy Code. In addition, Holders of Intercompany Claims, as proponents of this Plan, are
 deemed to accept this Plan. Therefore, the Holders of Intercompany Claims are not entitled to
 vote to accept or reject this Plan.

        3.8     Class 8—Interests

                3.8.1   Classification: Class 8 consists of all Interests in a Debtor.

                3.8.2 Treatment: On the Effective Date, Allowed Interests shall be Reinstated
 and shall not be discharged, canceled, released, extinguished or otherwise altered as a result of or
 by this Plan.


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               3.8.3 Voting: Class 8 is an Unimpaired Class, and the Holders of Interests are
 conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy
 Code and are not entitled to vote to accept or reject this Plan.

         3.9    No Waiver of Defenses. Except as otherwise provided in this Plan, nothing in this
 Plan is intended to or shall affect the Debtors’ or Reorganized Debtors’ rights and defenses in
 respect of any Claim, including all rights in respect of legal and equitable defenses to or setoffs
 or recoupments against such Claims.

                                        ARTICLE IV
                                Treatment of Unclassified Claims

         4.1     Summary. Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative
 Expense Claims (including Professional Fee Claims) and Tax Claims against the Debtors are not
 classified for purposes of voting on, or receiving Distributions under, this Plan. All such Claims
 are instead treated separately in accordance with this Article IV and in accordance with the
 requirements set forth in sections 1129(a)(9)(A) and (C) of the Bankruptcy Code.

        4.2     Administrative Expense Claims.

                 4.2.1 Unless otherwise agreed to by the Holder of an Allowed Administrative
 Expense Claim or Allowed Professional Fee Claim and the Debtors or Reorganized Debtors, as
 applicable, to the extent an Allowed Administrative Expense Claim or an Allowed Professional
 Fee Claim has not already been paid in full or otherwise satisfied during the Bankruptcy Cases,
 each Holder of an Allowed Administrative Expense Claim and/or Allowed Professional Fee
 Claim will receive, in full and final satisfaction of its Allowed Administrative Expense Claim
 and/or Allowed Professional Fee Claim, Cash equal to the amount of the unpaid portion of such
 Allowed Administrative Expense Claim and/or Allowed Professional Fee Claim either: (1) if
 such Administrative Expense Claim and/or Professional Fee Claim is Allowed as of the Effective
 Date, no later than thirty (30) days after the Effective Date or as soon as reasonably practicable
 thereafter; (2) if such Administrative Expense Claim and/or Allowed Professional Fee Claim is
 not Allowed as of the Effective Date, no later than thirty (30) days after the date on which such
 Administrative Expense Claim is Allowed; or (3) if an Administrative Expense Claim (other than
 a Professional Fee Claim) is based on liabilities incurred by the Debtors’ Estates in the ordinary
 course of their business after the Petition Date, pursuant to the terms and conditions of the
 particular transaction giving rise to such Administrative Expense Claim, without any further
 action by the Holder of such Administrative Expense Claim.

               4.2.2 Except as otherwise provided in this Plan, any Person holding an
 Administrative Expense Claim (other than a Professional Fee Claim) shall File a request
 for payment of such Administrative Expense Claim and serve a copy thereof upon the
 Reorganized Debtors no later than the Administrative Expense Claims Bar Date. Any
 Person who is required but fails to timely File and serve a request for payment of an
 Administrative Expense Claim on or before the Administrative Expense Claims Bar Date
 shall be forever barred from seeking payment of such Administrative Expense Claim by
 the Debtors, their Estates or the Reorganized Debtors, and such Administrative Expense
 Claim shall be deemed discharged as of the Effective Date. Any objection to a request for


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 payment of an Administrative Expense Claim must be Filed and served on the requesting
 party on or before the Claims Objection Deadline.

                 4.2.3 Any Person seeking allowance by the Bankruptcy Court of a Professional
 Fee Claim shall File a final application for allowance of such Professional Fee Claim within
 sixty (60) days after the Effective Date. The provisions of this paragraph shall not apply to any
 Person providing services to the Debtors as an “ordinary course professional” that, pursuant to a
 Final Order, is not required to File fee applications.

                4.2.4 As soon as reasonably practicable after the Confirmation Date and no later
 than the Effective Date, the Debtors or Reorganized Debtors shall establish and fund the
 Professional Fee Escrow. The Debtors or Reorganized Debtors shall fund the Professional Fee
 Escrow with Cash equal to the Professional Fee Claims Estimate. Funds held in the Professional
 Fee Escrow shall not be considered property of the Debtors’ Estates or property of the
 Reorganized Debtors, but shall revert to the Reorganized Debtors only after all Professional Fee
 Claims allowed by the Bankruptcy Court have been irrevocably paid in full. The Professional
 Fee Escrow shall be held in trust for Professionals retained by the Committee or the Debtors and
 for no other parties until all Professional Fee Claims Allowed by the Bankruptcy Court have
 been paid in full. Professional Fees owing to the applicable Professionals shall be paid in Cash to
 such Professionals from funds held in the Professional Fee Escrow when such Professional Fee
 Claims are Allowed by an order of the Bankruptcy Court; provided, that obligations with respect
 to Professional Fee Claims shall not be limited nor deemed limited to the balance of funds held
 in the Professional Fee Escrow. No Liens, claims, or interests shall encumber the Professional
 Fee Escrow in any way.

         4.3      Tax Claims. Except to the extent that a Holder of an Allowed Tax Claim agrees
 to a less favorable treatment, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, each Allowed Tax Claim, each Holder of such Allowed Tax Claim shall
 receive Cash in an amount equal to such Allowed Tax Claim as soon as reasonably practicable
 after the later of the Effective Date and the date such Claim becomes Allowed. Notwithstanding
 the foregoing, the Reorganized Debtors reserve the right to treat any Allowed Tax Claim in
 accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

        4.4     Post-Effective Date Fees and Expenses. Except as otherwise specifically
 provided in this Plan, on and after the Effective Date, the Reorganized Debtors may employ and
 pay the reasonable fees and expenses of any professional or advisor in the ordinary course of
 business and without any further notice to or action, order, or approval of the Bankruptcy Court.
 Upon the Effective Date, any requirement that Professionals engaged by the Debtors comply
 with sections 327 through 331 of the Bankruptcy Code or any order governing interim
 compensation of Professionals in the Bankruptcy Cases in seeking retention or compensation for
 services rendered after such date will terminate.

                                       ARTICLE V
                   Treatment of Executory Contracts and Unexpired Leases

        5.1   Executory Contracts and Unexpired Leases. On the Effective Date, all Executory
 Contracts or Unexpired Leases of the Debtors will be deemed rejected in accordance with


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 sections 365 and 1123(b)(2) of the Bankruptcy Code, except those Executory Contracts or
 Unexpired Leases that (a) have been previously rejected or assumed by a Debtor pursuant to an
 order of the Bankruptcy Court, (b) are the subject of a motion to assume Filed by the Debtors
 which is pending on the Effective Date, (c) are designated by the Debtors in an Assumption
 Notice as Executory Contracts or Unexpired Leases that are to be assumed by the Debtors
 effective as of the Effective Date, or (d) are director and officer liability insurance policies that
 are to be assumed by the Debtors pursuant to Section 6.24 of this Plan. Entry of the
 Confirmation Order by the Bankruptcy Court shall constitute approval of such rejections or
 assumptions, as applicable, pursuant to sections 365 and 1123(b)(2) of the Bankruptcy Code.

        5.2    Claims Based on Rejection of Executory Contracts or Unexpired Leases. All
 Proofs of Claim with respect to Claims arising from the rejection pursuant to this Plan of
 any Executory Contracts or Unexpired Leases, if any, must be Filed and served upon the
 Reorganized Debtors within thirty (30) days after the Effective Date. Any Claims arising
 from the rejection of Executory Contracts or Unexpired Leases that become Allowed
 Claims are classified and shall be treated as Class 5 General Unsecured Claims. Any
 Claims arising from the rejection of an Executory Contract or Unexpired Lease pursuant
 to this Plan not Filed within the time required by this Section will be automatically
 disallowed, forever barred from assertion, and shall not be enforceable against the Debtors,
 the Reorganized Debtors, the Estates and property of the Debtors and Reorganized
 Debtors unless otherwise ordered by the Bankruptcy Court or provided in this Plan.
 Notwithstanding the foregoing, a Claim for damages arising from the rejection of an
 Executory Contract or Unexpired Lease rejected pursuant to an order of the Bankruptcy
 Court entered prior to the Effective Date must be Filed prior to any deadline set forth in
 such order.

         5.3    Cure of Defaults for Executory Contracts or Unexpired Leases Assumed by the
 Debtors. Any monetary defaults under each Executory Contract or Unexpired Lease to be
 assumed pursuant to this Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
 Code, by payment of the default amount specified in an Assumption Notice in Cash within 30
 days after the Effective Date, subject to the limitations described below, or on such other terms
 as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the
 event of a dispute regarding: (1) the amount of any payments to cure such a default; (2) the
 ability of the Debtors or Reorganized Debtors to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under an Executory
 Contract or Unexpired Lease to be assumed; or (3) any other matter pertaining to assumption, the
 cure amount required by section 365(b)(1) of the Bankruptcy Code shall be paid following the
 entry of a Final Order or orders resolving the dispute and approving the assumption; provided,
 that the Debtors or Reorganized Debtors, as applicable, may settle any dispute regarding
 assumption of an Executory Contract or Unexpired Lease without any further notice to any other
 party or any action, order, or approval of the Bankruptcy Court; provided, further, that,
 notwithstanding anything to the contrary herein, prior to the entry of a Final Order resolving any
 dispute and approving the assumption and assignment of an Executory Contract or Unexpired
 Lease, the Debtors or Reorganized Debtors, as applicable, reserve the right to reject any such
 Executory Contract or Unexpired Lease which is subject to dispute, whether by amending an
 Assumption Notice to remove any such Executory Contract or Unexpired Lease or withdrawing
 an Assumption Notice. The Debtors shall serve a copy of any Assumption Notice on the


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 applicable counterparties to any Executory Contract or Unexpired Lease designated for
 assumption therein. Any objection by a counterparty to an Executory Contract or Unexpired
 Lease to a proposed assumption or related cure amount must be Filed, served, and actually
 received by the Debtors or Reorganized Debtors, as applicable, no later than thirty (30) days
 after service of the Assumption Notice. Any counterparty to an Executory Contract or
 Unexpired Lease that fails to timely object to a proposed assumption or cure amount will be
 deemed to have assented to such assumption or cure amount. Assumption of any Executory
 Contract or Unexpired Lease pursuant to this Plan shall constitute the full release and satisfaction
 of any Claims or defaults, whether monetary or nonmonetary, arising under any assumed
 Executory Contract or Unexpired Lease at any time prior to the effective date of such
 assumption. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired
 Lease that has been assumed shall be deemed disallowed and expunged, without further
 notice, action, order, or approval of the Bankruptcy Court.

        5.4     Preexisting Obligations to the Debtors under Executory Contracts and Unexpired
 Leases. Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall not constitute a termination of preexisting obligations owed to the Debtors under
 such Executory Contract or Unexpired Lease.

         5.5      Survival of Certain Indemnification Obligations. Notwithstanding any other
 provision of this Plan, the obligations of the Debtors pursuant to their certificates or articles of
 incorporation, bylaws and other organizational documents to indemnify persons serving after the
 Petition Date as officers, directors, agents, or employees of the Debtors with respect to actions,
 suits and proceedings against the Debtors or such officers, directors, agents, or employees, based
 upon any act or omission for, on behalf of, or relating to the Debtors and occurring prior to or
 after the Petition Date, shall not be discharged or impaired by Confirmation of the Plan and shall
 continue to be obligations of the Debtors and Reorganized Debtors, as applicable, from and after
 the Confirmation Date.

         5.6      Modifications, Amendments, Supplements, Restatements, or Other Agreements.
 Modifications, amendments, supplements, and restatements to a prepetition Executory Contract
 or Unexpired Lease that have been executed by the Debtors during the Bankruptcy Cases shall
 not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or
 the validity, priority, or amount of any Claims that may arise in connection therewith.

         5.7    Contracts and Leases Entered Into After the Petition Date. Contracts and leases
 entered into after the Petition Date by any Debtor, including any Executory Contract or
 Unexpired Lease assumed by such Debtor, will be performed by the applicable Debtor or
 Reorganized Debtor in the ordinary course of its business. Accordingly, such contracts and
 leases (including any assumed Executory Contract or Unexpired Lease) will survive and remain
 unaffected by entry of the Confirmation Order.

         5.8    Reservation of Rights. Neither the exclusion nor inclusion of any Executory
 Contract or Unexpired Lease on an Assumption Notice, nor anything contained in the Plan, shall
 constitute an admission by the Debtors that any such contract or lease is in fact an Executory
 Contract or Unexpired Lease or that any of the Debtors has any liability thereunder. In the event
 of a dispute regarding whether a contract or lease is or was executory or unexpired at the time of


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 assumption or rejection, the Debtors or Reorganized Debtors, as applicable, shall have thirty (30)
 days following entry of a Final Order resolving such dispute to alter their treatment of such
 contract or lease, including by rejecting such contract or lease nunc pro tunc to the Effective
 Date.

                                         ARTICLE VI
                              Means for Implementation of the Plan

         6.1     General Settlement of Claims. Pursuant to section 1123 of the Bankruptcy Code
 and Bankruptcy Rule 9019, and in consideration for the classification, allowance of Claims,
 distributions, releases and other benefits provided under this Plan, upon the Effective Date, the
 provisions of this Plan will constitute a good faith compromise and settlement of all Claims and
 Equity Interests and controversies resolved pursuant to this Plan.

         6.2     Substantive Consolidation. This Plan shall serve as a motion by the Debtors
 seeking entry of an order substantively consolidating each of the Estates of the Debtors into a
 single consolidated Estate solely for the purposes of voting and Distributions under this Plan. On
 and after the Effective Date, solely for the purpose of Distributions under this Plan, (1) all assets
 and liabilities of the substantively consolidated Debtors will be deemed to be merged, (2) the
 obligations of each Debtor will be deemed to be the obligation of the substantively consolidated
 Debtors, (3) any Claims filed or to be filed in connection with any such obligations will be
 deemed Claims against the substantively consolidated Debtors, (4) each Claim filed in the
 Bankruptcy Case of any Debtor will be deemed filed against the Debtors in the consolidated
 Bankruptcy Cases in accordance with the substantive consolidation of the assets and liabilities of
 the Debtors, (5) all transfers, disbursements and distributions made under this Plan will be
 deemed to be made by the substantively consolidated Debtors, and (6) all guarantees by a Debtor
 of the obligations of any other Debtor and any joint or several liability of any of the Debtors shall
 be deemed eliminated so that any Claim against any Debtor and any guarantee thereof executed
 by any other Debtor and any joint or several liability of any of the Debtors shall be deemed to be
 one obligation of the substantively consolidated Debtors. Holders of Allowed Claims in each
 Class shall be entitled to their share of Distributions to such Class without regard to which
 Debtor was originally liable for such Claim.

                 The substantive consolidation effected pursuant to this Section shall not (other
 than for purposes related to funding Distributions under the Plan) result in the merger or
 otherwise affect the separate legal existence of each Debtor, and shall not affect (1) defenses to
 any Claims and/or Causes of Action or requirements for any third party to establish mutuality in
 order to assert a right to setoff under section 553 of the Bankruptcy Code, (2) distributions out of
 any insurance policies or proceeds of such policies, (3) executory contracts or unexpired leases
 that were entered into during the Bankruptcy Cases or that have been or will be assumed or
 rejected, or (4) the Reorganized Debtors’ ability to subordinate or otherwise challenge Claims on
 an entity by entity basis.

         6.3     Continued Corporate Existence. Each Debtor, as reorganized, will continue to
 exist after the Effective Date as a separate corporate entity with all the powers of a corporation
 under applicable law in the jurisdiction in which it is incorporated or otherwise formed and
 pursuant to its certificate or articles of incorporation and bylaws or other organizational


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 documents in effect prior to the Effective Date, except to the extent such articles of incorporation
 and bylaws or other organizational documents are amended by this Plan, without prejudice to
 any right to terminate such existence (whether by merger or otherwise) under applicable law
 after the Consummation Date.

         6.4     Revesting of Assets. Except as otherwise provided in this Plan or the
 Confirmation Order, on the Effective Date, all assets and property of the respective Debtors and
 their Estates (including all Causes of Action unless otherwise released pursuant to this Plan, but
 excluding property that has been abandoned pursuant to an order of the Bankruptcy Court) shall
 automatically vest in each respective Reorganized Debtor, free and clear of all Claims, Liens,
 encumbrances, charges and other interests.

         6.5     Exit Financing. On the Effective Date, the Debtors shall be and are authorized to
 borrow the Plan Funding Amount from the Plan Sponsor, and CPG and COI, as applicable, shall
 be and are authorized to execute and deliver the Olyphant First Mortgage and the Tuscaloosa
 First Mortgage to the Plan Sponsor. On the Effective Date, the Debtors shall be and are further
 authorized to execute and deliver any related loan documents, and to execute, deliver, file, record
 and issue any other notes, guarantees, deeds of trust, security agreements, documents,
 amendments to the foregoing, or agreements in connection therewith, in each case without
 further notice or order of the Bankruptcy Court, act or action under applicable law, regulation,
 order, or rule or the vote, consent, authorization or approval of any Entity. Substantially final
 forms of the Olyphant First Mortgage and the Tuscaloosa First Mortgage shall be included in the
 Plan Supplement. The Plan Funding Amount shall accrue simple interest from and after the
 Effective Date at the rate of 8% per annum (computed based on the actual number of days
 elapsed in a year consisting of 365 days) on the outstanding balance and shall be repayable to the
 Plan Sponsor upon, and from the net proceeds of, any sale of Owned Real Property. The accrued
 interest shall be paid to the Plan Sponsor on a monthly basis in arrears on the first Business Day
 of each month commencing with the first Business Day occurring subsequent to the first full
 calendar month after the Effective Date. In the event of a default in payment of interest when
 due, the interest rate on the outstanding balance of the Plan Funding Amount shall increase to
 12% per annum (computed based on the actual number of days elapsed in a year consisting of
 365 days) until such time as the default is cured.

         6.6    Olyphant Second Mortgage and Olyphant Subordination Agreement. On the
 Effective Date, CPG and the Reorganized Debtors, as applicable, shall be and are authorized to
 execute and deliver the Olyphant Second Mortgage to Technicolor, and to execute, deliver, file,
 record and issue any other notes, guarantees, deeds of trust, security agreements, documents,
 amendments to the foregoing, or agreements in connection therewith, including the Olyphant
 Subordination Agreement (as defined below), in each case without further notice or order of the
 Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
 consent, authorization or approval of any Entity. A substantially final form of the Olyphant
 Second Mortgage shall be included in the Plan Supplement, which Olyphant Second Mortgage
 shall be acceptable to Technicolor, the Debtors and the Plan Sponsor, and so approved by
 Technicolor, the Debtors and the Plan Sponsor at least 3 days prior to the Voting Deadline. The
 Olyphant Second Mortgage shall be in an amount equal to the aggregate sum of the face amount
 of the Technicolor Letters of Credit that remain outstanding as of the Effective Date and shall be
 automatically reduced, dollar for dollar, if, as, and when the face amount of any of the


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 Technicolor Letters of Credit outstanding is reduced or cancelled (in each case, other than as the
 result of a draw on a letter of credit by the beneficiary thereof).

                 The Olyphant First Mortgage shall be subject and subordinate in all respects to
 the liens and terms of the Olyphant Second Mortgage with respect to an amount equal to, but not
 to exceed, the lesser of (i) $250,000, and (ii) the aggregate sum of the face amount of the
 Technicolor Letters of Credit that remain outstanding at any time, in accordance with the terms
 of a subordination agreement between Technicolor and the Plan Sponsor (the “Olyphant
 Subordination Agreement”). A substantially final form of the Olyphant Subordination
 Agreement shall be included in the Plan Supplement, which Olyphant Subordination Agreement
 shall be acceptable to Technicolor and the Plan Sponsor, and so approved by Technicolor and the
 Plan Sponsor at least 3 days prior to the Voting Deadline. The Olyphant Subordination
 Agreement shall be self-operative and no further instrument of subordination shall be required.
 If requested, however, CPG, the Reorganized Debtors or the Plan Sponsor shall execute, deliver,
 file, record and issue such further instruments as are reasonably necessary to effectuate this
 subordination. In the event of a draw on a Technicolor Letter of Credit on or after the Effective
 Date, Technicolor shall provide notice and evidence thereof to the Reorganized Debtors, the Plan
 Sponsor and Najafi Companies, LLC at least forty-five (45) days prior to taking any action
 seeking to exercise or enforce any rights or remedies under the Olyphant Second Mortgage
 and/or the Olyphant Subordination Agreement.
         6.7     Tuscaloosa Second Mortgage. On the Effective Date, COI and the Reorganized
 Debtors, as applicable, shall be and are authorized to execute and deliver the Tuscaloosa Second
 Mortgage to Technicolor, and to execute, deliver, file, record and issue any other notes,
 guarantees, deeds of trust, security agreements, documents, amendments to the foregoing, or
 agreements in connection therewith, in each case without further notice or order of the
 Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
 consent, authorization or approval of any Entity. A substantially final form of the Tuscaloosa
 Second Mortgage shall be included in the Plan Supplement, which Tuscaloosa Second Mortgage
 shall be acceptable to Technicolor, the Debtors and the Plan Sponsor, and so approved by
 Technicolor, the Debtors and the Plan Sponsor at least 3 days prior to the Voting Deadline. The
 Tuscaloosa Second Mortgage shall be in an amount equal to the aggregate sum of the face
 amount of the Technicolor Letters of Credit that remain outstanding as of the Effective Date and
 shall be automatically reduced, dollar for dollar, if, as, and when the face amount of any of the
 Technicolor Letters of Credit outstanding is reduced or cancelled (in each case, other than as the
 result of a draw on a letter of credit by the beneficiary thereof). In the event of a draw on a
 Technicolor Letter of Credit on or after the Effective Date, Technicolor shall provide notice and
 evidence thereof to the Reorganized Debtors, the Plan Sponsor and Najafi Companies, LLC at
 least forty-five (45) days prior to taking any action seeking to exercise or enforce any rights or
 remedies under the Tuscaloosa Second Mortgage.

        6.8    The Olyphant Exit, Technicolor Olyphant Distribution, and the Escrow
 Agreement. Technicolor Southeast shall vacate the Olyphant Premises and surrender the
 Olyphant Premises to CPG solely in accordance with the Olyphant Premises Surrender
 Conditions (the “Olyphant Exit Obligations”) on or before June 30, 2019 or such later date as
 may be agreed upon by Technicolor Southeast and the Debtors or Reorganized Debtors (the
 “Olyphant Exit Deadline”); provided, however, that in the event the Effective Date occurs after


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 March 31, 2019, the Olyphant Exit Deadline shall be automatically extended to the date that is
 90 days after occurrence of the Effective Date. The Olyphant Exit Obligations are contingent
 upon the deposit of the Technicolor Olyphant Distribution with the Escrow Agent as set forth in
 section 3.4.2 of this Plan. The Technicolor Olyphant Distribution shall be deposited no later than
 30 days after the Effective Date in immediately available funds with an escrow agent acceptable
 to the Debtors and Technicolor Southeast (the “Escrow Agent”), to be held in an interest bearing
 account in accordance with the terms of the Escrow Agreement (the “Escrow Agreement”) to be
 entered into by and among the Escrow Agent, Technicolor Southeast and the Debtors no later
 than 30 days after the Effective Date. A substantially final form of the Escrow Agreement shall
 be included in the Plan Supplement, which Escrow Agreement shall be acceptable to Technicolor
 Southeast and the Debtors, and so approved by Technicolor Southeast and the Debtors at least 3
 days prior to the Voting Deadline. The Technicolor Olyphant Distribution shall be released in
 accordance with the terms of this Plan and the Escrow Agreement, which shall provide (without
 other conditions) for immediate release of the full Technicolor Olyphant Distribution to
 Technicolor Southeast upon the date that a certification (the “Olyphant Exit Certification”)
 signed by a duly-authorized representative of Technicolor Southeast is delivered to the Escrow
 Agent and the Debtors or Reorganized Debtors stating that Technicolor Southeast has complied
 with the Olyphant Exit Obligations on or before the Olyphant Exit Deadline. The Escrow
 Agreement shall further provide that if (a) the Technicolor Olyphant Distribution is deposited in
 escrow as provided for herein, (b) the Debtors and Reorganized Debtors have not intentionally
 impeded Technicolor Southeast’s exit of the Olyphant Premises, and (c) the Olyphant Exit
 Certification is not delivered to the Escrow Agent and the Debtors or Reorganized Debtors on or
 before the Olyphant Exit Deadline, the Technicolor Olyphant Distribution shall be forfeited and
 forever waived by Technicolor Southeast and instead irrevocably released to the Reorganized
 Debtors. If the Olyphant Exit Deadline is extended by agreement of Technicolor Southeast and
 the Debtors or Reorganized Debtors, Technicolor Southeast and the Debtors or Reorganized
 Debtors shall jointly notify the Escrow Agent of such extension. The Debtors and the
 Reorganized Debtors shall provide reasonable cooperation in connection with any reasonable
 request for assistance made by Technicolor Southeast in connection with Technicolor
 Southeast’s exit of the Olyphant Premises and shall not intentionally impede such exit; provided,
 however, that compliance with any such request by Technicolor Southeast for assistance shall
 not include the expenditure or incurrence of any out-of-pocket costs by the Debtors or
 Reorganized Debtors, unless otherwise reasonably agreed upon by Technicolor Southeast and the
 Debtors or Reorganized Debtors. Technicolor Southeast shall continue to permit CPG and its
 authorized representatives access to the Olyphant Premises in accordance with the terms of
 Paragraph 13 of the Olyphant Lease, or as otherwise agreed between the parties, until the
 Olyphant Lease Termination Date (as defined in Section 6.9 of this Plan).

        6.9     The Olyphant Termination Agreement. The form of an agreement terminating the
 Olyphant Lease (the “Olyphant Lease Termination Agreement”) shall be agreed to by and
 between Technicolor Southeast and CPG at least 3 days prior to the Voting Deadline and shall be
 executed by Technicolor Southeast and CPG and delivered to the Escrow Agent no later than 30
 days after the Effective Date and held in accordance with the Escrow Agreement. The Olyphant
 Lease Termination Agreement shall be released from escrow and made effective immediately
 upon the earlier of (i) the Escrow Agent’s and the Debtors or Reorganized Debtors receipt of the
 Olyphant Exit Certification and Technicolor Southeast’s receipt of the Technicolor Olyphant
 Distribution, or (ii) occurrence of the Olyphant Exit Deadline without delivery of the Olyphant


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 Exit Certification to the Escrow Agent and the Debtors or Reorganized Debtors; provided the
 Technicolor Olyphant Distribution was previously deposited in escrow as provided for herein (in
 either case the “Olyphant Lease Termination Date”). For clarification, the Escrow Agreement
 shall reflect the foregoing. The Olyphant Lease Termination Agreement shall provide that CPG
 shall accept the Olyphant Premises, and Technicolor Southeast’s surrender thereof, on the
 Olyphant Lease Termination Date in its “as is” and “where is” condition without warranty of any
 kind, express or implied, including, without limitation, any warranty as to title or physical
 condition. This Section shall negate any lease termination notice required under the Olyphant
 Lease. From and after the date this Plan is filed with the Bankruptcy Court and until the
 Olyphant Lease Termination Date, Technicolor Southeast shall (i) bring current (to the extent
 unpaid) and continue to pay all costs of insurance, taxes, utilities, regular rubbish removal, lawn
 maintenance, snow removal, and rent as required by the Olyphant Lease, (ii) maintain existing
 alarm and/or security systems at the Olyphant Premises, (iii) use commercially reasonable efforts
 to mitigate (on a temporary basis until the Olyphant Lease Termination Date) any condition of
 the Olyphant Premises causing significant physical damage to the Olyphant Premises that
 comes to Technicolor Southeast’s attention during such period, and (iv) promptly notify the
 Debtors or Reorganized Debtors of any such condition and Technicolor Southeast’s
 commercially reasonable efforts to mitigate such condition during such period (collectively the
 “Interim Olyphant Obligations”). Technicolor Southeast’s share of taxes for the Olyphant
 Premises for the year in which the Olyphant Lease is terminated shall be prorated based on the
 portion of the tax year that the Olyphant Lease is in effect, and Technicolor Southeast shall be
 credited or charged, as the case may be, consistent with the foregoing (the “Olyphant Tax
 Proration”). In the event the Olyphant Lease Termination Agreement is made effective as a
 result of occurrence of the Olyphant Exit Deadline without delivery of the Olyphant Exit
 Certification to the Escrow Agent, Technicolor Southeast shall be deemed to be holding over
 beyond the term of the Olyphant Lease and shall be subject to eviction or ejectment from the
 Olyphant Premises under applicable law.

                 Technicolor Southeast shall provide the Debtors or Reorganized Debtors sixty
 (60) days’ prior written notice of its intention to vacate and surrender the Olyphant Premises.
 Technicolor Southeast shall have the option to vacate the Olyphant Premises and surrender the
 Olyphant Premises to CPG solely in accordance with the Olyphant Premises Surrender
 Conditions by providing the Debtors or Reorganized Debtors sixty (60) days’ prior written notice
 of its intention to vacate and surrender the Olyphant Premises, in which case the Olyphant Lease
 Termination Date shall occur effective upon the later of (i) the date that is sixty (60) days after
 such written notice is provided to the Debtors or Reorganized Debtors, and (ii) the date
 Technicolor Southeast delivers the Olyphant Exit Certification to CPG or the Reorganized
 Debtors; provided, however, that in no event shall the Olyphant Lease Termination Date occur
 prior to March 1, 2019.         The Olyphant Lease Termination Agreement and the Escrow
 Agreement shall reflect the foregoing. If Technicolor Southeast exercises the foregoing option,
 the Technicolor Olyphant Distribution shall nevertheless be deposited with the Escrow Agent no
 later than 30 days after the Effective Date and held in accordance with the Escrow Agreement.

        6.10 Releases Between the Debtors, the Reorganized Debtors, the Released Parties,
 Technicolor and Technicolor Southeast Relating to the Olyphant Premises. Upon Technicolor
 Southeast’s receipt of the Technicolor Olyphant Distribution in accordance with this Plan or
 Technicolor Southeast’s forfeiture and waiver thereof (if applicable) in accordance with Section


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 6.8 of this Plan, Technicolor and Technicolor Southeast, on behalf of themselves and each of
 their respective Affiliates, parents, subsidiaries, predecessors, successors and assigns, shall
 release, and shall be deemed to have released without further action, the Debtors, their Estates,
 the Reorganized Debtors, the Released Parties, and each of their respective Insiders, parents,
 subsidiaries, predecessors, successors and assigns, current and former stockholders, shareholders,
 equity holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, solely from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations and liabilities relating in any way to the Olyphant Premises (and Olyphant
 Property) arising under the Olyphant Lease or otherwise, including but not limited to matters
 related to the maintenance, repair or physical condition of the Olyphant Premises (and Olyphant
 Property) or any other obligation of the Debtors, the Reorganized Debtors or the Released Parties
 related to the Olyphant Premises (and Olyphant Property), whether asserted in a Proof of Claim
 filed by Technicolor, Technicolor Southeast or otherwise, from the beginning of time through the
 Olyphant Lease Termination Date; except, with respect to the claims, obligations and liabilities
 related to the Olyphant Tax Proration.

                  Upon the later of (i) Technicolor Southeast’s delivery of the Olyphant Exit
 Certification in accordance with the Plan on or before the Olyphant Exit Deadline, and (ii) the
 Effective Date, the Debtors, their Estates, the Reorganized Debtors and the Released Parties, on
 behalf of themselves and each of their respective Affiliates, parents, subsidiaries, predecessors,
 successors and assigns, shall release, and shall be deemed to have released without further
 action, Technicolor and Technicolor Southeast, and each of their respective Insiders, parents,
 subsidiaries, predecessors, successors and assigns, current and former stockholders, shareholders,
 equity holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, solely from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations and liabilities relating in any way to the Olyphant Premises (and Olyphant
 Property) arising under the Olyphant Lease or otherwise, including but not limited to matters
 related to the maintenance, repair or physical condition of the Olyphant Premises (and Olyphant
 Property) or any other obligation of Technicolor or Technicolor Southeast related to the
 Olyphant Premises (and Olyphant Property), whether asserted in a Proof of Claim filed by
 Technicolor, Technicolor Southeast or otherwise, from the beginning of time through the
 Olyphant Lease Termination Date; except, with respect to the claims, obligations and liabilities
 related to (i) the Olyphant Premises Surrender Conditions, (ii) the Interim Olyphant Obligations,
 and (iii) the Olyphant Tax Proration.
              The foregoing releases provided for in this Section 6.10 shall be referred to as the
 “Olyphant Mutual Releases”.
          6.11 Releases Between SIR Properties Trust and the Debtors. Upon payment in full of
 the SIR Settlement Amount in accordance with this Plan, SIR Properties Trust, on behalf of itself
 and its Affiliates, parents, subsidiaries, predecessors, successors and assigns, shall release, and
 shall be deemed to have released without further action, all causes of action, obligations
 liabilities, Claims and administrative expenses under section 503(b) of the Bankruptcy Code
 against the Debtors and their Affiliates, and their respective Insiders, parents, subsidiaries,


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 predecessors, successors and assigns, current and former stockholders, shareholders, equity
 holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, including but not limited to CAI Holdings, Inc., JCIN Holdings, Inc., Najafi
 Companies, LLC, the Plan Sponsor, Jahm Najafi, Tina Rhodes-Hall, Glenn R. Langberg, Karen
 Kessler and Joseph Catalano based upon any act or omission, transaction, agreement, event or
 other occurrence taking place on or before the Effective Date.

                 Upon payment in full of the SIR Settlement Amount in accordance with this Plan,
 the Debtors, on behalf of themselves and their Affiliates, parents, subsidiaries, predecessors,
 successors and assigns, shall release, and shall be deemed to have released without further
 action, all causes of action, obligations liabilities and claims (as defined in section 101(5) of the
 Bankruptcy Code) against SIR Properties Trust and its Affiliates, and their respective Insiders,
 parents, subsidiaries, predecessors, successors and assigns, current and former stockholders,
 shareholders, equity holders, members, limited partners, general partners, partners, principals,
 managed funds, employees, agents, officers, directors, secretaries, managers, trustees,
 professionals, representatives, advisors, attorneys, financial advisors, accountants, investment
 bankers, and consultants based on, relating to, or arising from, in whole or in part, in any manner
 whatsoever, the Hanover Premises, the Hanover Lease, the Huntsville Premises, the Huntsville
 Lease, the Consent to Sublease, the Huntsville Sublease, the Debtors, the assets, liabilities,
 operations or business of the Debtors, or the Bankruptcy Cases, in all cases based upon any act
 or omission, transaction, agreement, event or other occurrence taking place on or before the
 Effective Date.

          6.12 Releases Between SIR Properties Trust and Technicolor. Upon payment in full of
 the SIR Settlement Amount in accordance with this Plan, SIR Properties Trust, Technicolor,
 Technicolor Southeast, and each of their respective Affiliates, shall release and forever discharge
 each other, and shall be deemed to have released and forever discharged each other without
 further action, from any and all claims (as defined in section 101(5) of the Bankruptcy Code),
 obligations and liabilities relating in any way to the Huntsville Premises arising under the
 Huntsville Lease, the Huntsville Sublease, the Consent to Sublease or otherwise, including but
 not limited to matters related to the maintenance, repair or physical condition of the Huntsville
 Premises or any other obligation of Technicolor or Technicolor Southeast related to the
 Huntsville Premises, whether asserted in a Proof of Claim filed by SIR Properties Trust,
 Technicolor, Technicolor Southeast or otherwise, from the beginning of time through the
 Effective Date. Nothing in this Section requires SIR Properties Trust, Technicolor or
 Technicolor Southeast to release each other from, nor does anything in the Section constitute a
 release of, any claims (as defined in section 101(5) of the Bankruptcy Code), obligations or
 liabilities first arising, and solely relating to the period of time, after the Effective Date, nor does
 anything in this Section, except as expressly set forth herein, terminate, modify or alter any term
 or condition set forth in the Huntsville Sublease by and between Technicolor Southeast and SIR
 Properties Trust by attornment pursuant to the attornment provision contained in the Huntsville
 Sublease and the Consent to Sublease, which attornment has been recognized by letter dated
 August 18, 2017 from SIR Properties Trust to Technicolor, nor does anything in this Section,
 except as expressly set forth herein, terminate, modify or alter any of the representations set forth
 in the letter dated September 19, 2018 from SIR Properties Trust to Technicolor.


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         6.13 Releases Between the Debtors, the Reorganized Debtors, the Released Parties,
 Technicolor and Technicolor Southeast Relating to the Huntsville Premises. Upon payment in
 full of the Technicolor Initial Distribution in accordance with this Plan, Technicolor and
 Technicolor Southeast, on behalf of themselves and each of their respective Affiliates, parents,
 subsidiaries, predecessors, successors and assigns, shall release, and shall be deemed to have
 released without further action, the Debtors, their Estates, the Reorganized Debtors, the Released
 Parties, and each of their respective Insiders, parents, subsidiaries, predecessors, successors and
 assigns, current and former stockholders, shareholders, equity holders, members, limited
 partners, general partners, partners, principals, managed funds, employees, agents, officers,
 directors, secretaries, managers, trustees, professionals, representatives, advisors, attorneys,
 financial advisors, accountants, investment bankers, and consultants, solely from any and all
 claims (as defined in section 101(5) of the Bankruptcy Code), obligations and liabilities relating
 in any way to the Huntsville Premises arising under the Huntsville Lease, the Huntsville
 Sublease, the Consent to Huntsville Sublease or otherwise, including but not limited to matters
 related to the maintenance, repair or physical condition of the Huntsville Premises or any other
 obligation of the Debtors, the Reorganized Debtors or the Released Parties related to the
 Huntsville Premises, whether asserted in a Proof of Claim filed by Technicolor, Technicolor
 Southeast, SIR Properties Trust or otherwise, from the beginning of time through the Effective
 Date.

                 Upon payment in full of the Technicolor Initial Distribution in accordance with
 this Plan, the Debtors, their Estates, the Reorganized Debtors and the Released Parties, on behalf
 of themselves and each of their respective Affiliates, parents, subsidiaries, predecessors,
 successors and assigns, shall release, and shall be deemed to have released without further
 action, Technicolor and Technicolor Southeast, and each of their respective Insiders, parents,
 subsidiaries, predecessors, successors and assigns, current and former stockholders, shareholders,
 equity holders, members, limited partners, general partners, partners, principals, managed funds,
 employees, agents, officers, directors, secretaries, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and
 consultants, solely from any and all claims (as defined in section 101(5) of the Bankruptcy
 Code), obligations and liabilities relating in any way to the Huntsville Premises arising under the
 Huntsville Lease, the Huntsville Sublease, the Consent to Huntsville Sublease or otherwise,
 including but not limited to matters related to the maintenance, repair or physical condition of the
 Huntsville Premises or any other obligation of Technicolor or Technicolor Southeast related to
 the Huntsville Premises, whether asserted in a Proof of Claim filed by Technicolor, Technicolor
 Southeast, SIR Properties Trust or otherwise, from the beginning of time through the Effective
 Date.

                6.14 Releases Between the Debtors, the Reorganized Debtors, the Released
 Parties, Technicolor and Technicolor Southeast. On and after and subject to the occurrence of
 the Effective Date and payment in full of the Technicolor Initial Distribution in accordance with
 section 3.4.2 of this Plan and deposit of the Technicolor Olyphant Distribution with the Escrow
 Agent in accordance with sections 3.4.2 and 6.8 of this Plan, Technicolor and Technicolor
 Southeast, on behalf of themselves and each of their respective Affiliates, parents, subsidiaries,
 predecessors, successors and assigns, shall release and forever discharge, and shall be deemed to
 have released and forever discharged without further action, each of the Debtors, their Estates,
 the Reorganized Debtors, and the Released Parties from any and all claims (as defined in section


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 101(5) of the Bankruptcy Code), obligations, rights, suits, damages, Causes of Action, remedies
 and liabilities whatsoever (including any derivative claims, asserted or assertable on behalf of
 any of the Debtors or their Estates), whether known or unknown, foreseen or unforeseen,
 asserted or unasserted, accrued or unaccrued, matured or unmatured, determined or
 determinable, disputed or undisputed, liquidated or unliquidated, due or to become due, existing
 or hereinafter arising, in law, equity, or otherwise, that such entity would have been legally
 entitled to assert (whether individually or collectively), based on or relating to, or in any manner
 arising from, in whole or in part, the PSA, the Debtors, the Debtors’ restructuring, the
 Bankruptcy Cases, the purchase, sale, or rescission of the purchase or sale of any security of the
 Debtors, the subject matter of, or the transactions or events giving rise to, any claim (as defined
 in section 101(5) of the Bankruptcy Code) that is treated in this Plan, the business or contractual
 arrangements between any Debtor and Technicolor or Technicolor Southeast, the restructuring of
 claims (as defined in section 101(5) of the Bankruptcy Code) prior to or in the Bankruptcy
 Cases, the negotiation, formulation, or preparation of this Plan, or related agreements,
 instruments, or other documents, or any other act or omission, transaction, agreement, event or
 other occurrence relating to the Debtors or the Bankruptcy Cases taking place on and before the
 later of payment in full of the Technicolor Initial Distribution in accordance with section 3.4.2 of
 this Plan and deposit of the Technicolor Olyphant Distribution with the Escrow Agent in
 accordance with sections 3.4.2 and 6.8 of this Plan; except, with respect to (a) the obligations of
 the LC Guarantor (as defined in the PSA) under the LC Guarantee (as defined in the PSA), and
 (b) the obligations of the Parent (as defined in the PSA) solely with respect to its guarantee of
 CGI’s obligations under section 4.15(b) of the PSA to reimburse Technicolor for any amounts
 that are actually drawn on any of the Technicolor Letters of Credit, each of which obligations
 described under subpart (a) and (b) of this section 6.14 of the Plan shall not be released until
 each of the Technicolor Letters of Credit are cancelled and/or terminated or those obligations are
 otherwise satisfied; and except, with respect to the claims (as defined in section 101(5) of the
 Bankruptcy Code), obligations and liabilities related to the Olyphant Premises and the Olyphant
 Lease as set forth in the Olyphant Mutual Releases (as defined in section 6.10 of this Plan),
 which Olyphant Mutual Releases shall only become effective as provided in section 6.10 of this
 Plan. Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 pursuant to Bankruptcy Rule 9019, of the foregoing release and, further, shall constitute the
 Bankruptcy Court’s finding that the foregoing release is: (1) in exchange for good and valuable
 consideration; (2) a good faith settlement and compromise of the Claims released by Technicolor
 and Technicolor Southeast; (3) in the best interests of the Debtors and their Estates; (4) fair,
 equitable and reasonable; (5) given and made after due notice and opportunity for hearing; and
 (6) a bar to Technicolor and/or Technicolor Southeast asserting any claim or Cause of Action
 released hereunder.

                 On and after and subject to the occurrence of the Effective Date and payment in
 full of the Technicolor Initial Distribution in accordance with section 3.4.2 of this Plan and
 deposit of the Technicolor Olyphant Distribution with the Escrow Agent in accordance with
 sections 3.4.2 and 6.8 of this Plan, the Debtors, their Estates, the Reorganized Debtors, and the
 Released Parties, on behalf of themselves and each of their respective Affiliates, parents,
 subsidiaries, predecessors, successors and assigns, shall release and forever discharge, and shall
 be deemed to have released and forever discharged without further action, each of Technicolor
 and Technicolor Southeast from any and all claims (as defined in section 101(5) of the
 Bankruptcy Code), obligations, rights, suits, damages, Causes of Action, remedies and liabilities


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 whatsoever (including any derivative claims, asserted or assertable on behalf of any of the
 Debtors or their Estates), whether known or unknown, foreseen or unforeseen, asserted or
 unasserted, accrued or unaccrued, matured or unmatured, determined or determinable, disputed
 or undisputed, liquidated or unliquidated, due or to become due, existing or hereinafter arising, in
 law, equity, or otherwise, that such entity would have been legally entitled to assert (whether
 individually or collectively), based on or relating to, or in any manner arising from, in whole or
 in part, the PSA, the Debtors, the Debtors’ restructuring, the Bankruptcy Cases, the purchase,
 sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or
 the transactions or events giving rise to, any claim (as defined in section 101(5) of the
 Bankruptcy Code) that is treated in this Plan, the business or contractual arrangements between
 any Debtor and Technicolor or Technicolor Southeast, the restructuring of claims (as defined in
 section 101(5) of the Bankruptcy Code) prior to or in the Bankruptcy Cases, the negotiation,
 formulation, or preparation of this Plan, or related agreements, instruments, or other documents,
 or any other act or omission, transaction, agreement, event or other occurrence relating to the
 Debtors or the Bankruptcy Cases taking place on and before the later of payment in full of the
 Technicolor Initial Distribution in accordance with section 3.4.2 of this Plan and deposit of the
 Technicolor Olyphant Distribution with the Escrow Agent in accordance with sections 3.4.2 and
 6.8 of this Plan; except, with respect to the claims (as defined in section 101(5) of the
 Bankruptcy Code), obligations and liabilities related to the Olyphant Premises and the Olyphant
 Lease as set forth in the Olyphant Mutual Releases (as defined in section 6.10 of this Plan),
 which Olyphant Mutual Releases shall only become effective as provided in section 6.10 of this
 Plan. Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 pursuant to Bankruptcy Rule 9019, of the foregoing release and, further, shall constitute the
 Bankruptcy Court’s finding that the foregoing release is: (1) in exchange for good and valuable
 consideration; (2) a good faith settlement and compromise of the Claims released by the Debtors,
 their Estates, the Reorganized Debtors, and the Released Parties; (3) in the best interests of the
 Debtors and their Estates; (4) fair, equitable and reasonable; (5) given and made after due notice
 and opportunity for hearing; and (6) a bar to the Debtors, their Estates, the Reorganized Debtors,
 and/or the Released Parties asserting any claim or Cause of Action released hereunder.

         6.15 Cooperation Between Technicolor and the Reorganized Debtors. Within seven
 (7) Business Days of the filing of this Plan, Technicolor and Technicolor Southeast shall
 perform a diligent search and, at the election of the Debtors or Reorganized Debtors, as
 applicable, make available for inspection and copying, turn over and/or provide copies (either
 electronic or physical) to the Debtors or Reorganized Debtors, as applicable, of any existing
 building plans, site plans, drawings, surveys, blueprints and any other reports of the Debtors
 relating to the Owned Real Property (collectively the “Property Plans”) in their respective
 possession, custody or control (it being understood that the Property Plans were “Excluded
 Assets” under the PSA and that Technicolor and Technicolor Southeast do not believe that they
 have any Property Plans related to the Tuscaloosa Property). Technicolor and Technicolor
 Southeast shall have no liability with respect to the content or substance of the Property Plans.
 Unless the Debtors or Reorganized Debtors otherwise agree, Technicolor Southeast shall not
 remove any Property Plans from the Olyphant Premises.

        Technicolor and Technicolor Southeast shall provide reasonable cooperation to the
 Debtors or Reorganized Debtors in responding to requests by the Debtors or Reorganized
 Debtors for documents and/or information in their respective possession, custody or control


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 relating to the reconciliation of Claims against the Debtors to the extent such documents and/or
 information is not reasonably deemed by Technicolor or Technicolor Southeast to be business
 sensitive to Technicolor or Technicolor Southeast or their Affiliates (e.g., is protected from
 disclosure by a pre-existing confidentiality agreement). If requested by the Debtors or
 Reorganized Debtors, Technicolor or Technicolor Southeast and the Debtors of Reorganized
 Debtors shall discuss any specific request for any such information, consistent with the
 foregoing, and if requested by Technicolor or Technicolor Southeast, the Debtors or Reorganized
 Debtors shall execute a reasonable and customary confidentiality agreement with respect to any
 such responsive documents and/or information prior to receipt thereof. Nothing in this Plan shall
 limit or impair the Debtors’ or Reorganized Debtors’ legal rights and remedies to obtain any
 such documents and/or information from Technicolor or Technicolor Southeast.
         6.16 Sources of Distributions. The Reorganized Debtors shall fund Distributions and
 satisfy Allowed Claims under this Plan from (1) the Plan Funding Amount, (2) Cash on hand,
 including any Cash from operations or from the lease of Owned Real Property, (3) the proceeds
 of any asset sales, including sales of Owned Real Property, (4) the proceeds of any additional
 secured or unsecured financing, and (5) capital contributions, if any, received from Najafi
 Companies, LLC, CAI Holdings, Inc. and/or its parent, affiliates, partners or designees. For the
 avoidance of doubt, nothing herein shall require Najafi Companies, LLC, CAI Holdings, Inc., its
 parent, affiliates, partners or designees to make any capital contributions to the Reorganized
 Debtors. Upon the Effective Date, the Reorganized Debtors shall set aside and hold in a reserve
 funds in an amount that the Reorganized Debtors believe, in their reasonable discretion, may be
 necessary to satisfy their obligations under this Plan with respect to Workers’ Compensation
 Insurance Claims that the Reorganized Debtors anticipate may become Allowed until all such
 Claims are either Allowed and satisfied or Disallowed. The amount of this reserve may be
 adjusted from time to time in the Reorganized Debtors’ reasonable discretion as Workers’
 Compensation Insurance Claims are Allowed and satisfied or Disallowed.

        6.17 Operation of the Reorganized Debtors. From and after the Effective Date, the
 Reorganized Debtors may operate their business, use, lease, acquire, sell or dispose of any asset,
 including Owned Real Property, and compromise or settle any Claims, Interests, or Causes of
 Action without supervision or approval by the Bankruptcy Court and free of any restrictions of
 the Bankruptcy Code or the Bankruptcy Rules.

         6.18 Continuance of Certain Non-Debtor Guarantees. The PSA shall remain in effect
 solely with respect to (i) the obligations of the LC Guarantor (as defined in the PSA) under the
 LC Guarantee (as defined in the PSA), and (ii) the obligations of the Parent (as defined in the
 PSA), in each case solely with respect to its guarantee of CGI’s obligations under section
 4.15(b) of the PSA to reimburse Technicolor for any amounts that are actually drawn on any of
 the Technicolor Letters of Credit, until each of the Technicolor Letters of Credit are cancelled
 and/or terminated or those obligations are otherwise satisfied.

        6.19 Limitation on Distributions to Holders of Intercompany Claims and Interests.
 Notwithstanding any other provision of this Plan to the contrary, the Reorganized Debtors shall
 not make any Distribution to any Holder of a Class 7 Intercompany Claim or Class 8 Interest
 unless and until each Holder of an Allowed Claim in Classes 1, 2, 3, 4, 5 and 6 shall have
 received all Distributions such Holder is entitled to receive under Article III of this Plan.



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         6.20 Maintenance of Bank Accounts. The Reorganized Debtors shall be authorized to
 continue to use the Debtors’ bank accounts that are in existence as of the Effective Date and to
 open such bank or other depository accounts as may be necessary or appropriate in their
 discretion to enable them to carry out the provisions of this Plan.

        6.21 Books and Records. The Reorganized Debtors shall maintain an adequate set of
 books, records or databases that will allow the Reorganized Debtors to accurately track the
 Claims asserted against the Estates and the amounts paid to each Holder of an Allowed Claim
 pursuant to the terms of this Plan.

         6.22 Directors, Managers, and Officers of the Reorganized Debtors. As of the
 Effective Date, the current officers, directors and managers of the Debtors, as applicable, shall
 each continue to serve in such capacities for the Reorganized Debtors. Pursuant to section
 1129(a)(5) of the Bankruptcy Code, the Debtors shall disclose the nature of any compensation to
 be paid to such Persons in the Plan Supplement.

         6.23 Corporate Action. All matters provided for in this Plan involving the legal or
 corporate structure of each Debtor or Reorganized Debtor, as applicable, and any legal or
 corporate action required by each Debtor or Reorganized Debtor, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, officers or directors of the Debtors or
 Reorganized Debtors or any other Person.

                All matters provided for in this Plan that would otherwise require approval of the
 stockholders, directors, managers or members of any Debtor will be deemed to have been so
 approved and will be in effect prior to, on or after the Effective Date (as appropriate) pursuant to
 applicable law and without any requirement of further action by the stockholders, directors,
 managers or members of such Debtor, or the need for any approvals, authorizations, actions or
 consents of any Person.

         6.24 Director and Officer Liability Insurance. Notwithstanding anything contained in
 this Plan to the contrary, all director and officer liability insurance policies of the Debtors in
 effect on the Effective Date shall be continued. To the extent that such insurance policies are
 deemed to be executory contracts, then, notwithstanding anything in this Plan to the contrary, the
 Debtors shall be deemed to have assumed such insurance policies pursuant to sections 365(a) and
 1123 of the Bankruptcy Code effective as of the Effective Date. Entry of the Confirmation
 Order will constitute the Bankruptcy Court’s approval of the Debtors’ assumption of each such
 unexpired director and officer liability insurance policy. Notwithstanding anything to the
 contrary contained in this Plan, Confirmation of this Plan shall not discharge, impair, or
 otherwise modify any indemnity or other obligations of the insurers under such policies.

        6.25 Preservation of Causes of Action. In accordance with section 1123(b)(3) of the
 Bankruptcy Code, except to the extent a Cause of Action is expressly waived, relinquished or
 released pursuant to this Plan or a Final Order, the Debtors and Reorganized Debtors shall retain
 and may (but are not required to) enforce all rights to commence and pursue, as appropriate, any


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 and all Causes of Action, whether arising before or after the Petition Date, and the Debtors’ and
 Reorganized Debtors’ rights to commence, prosecute, or settle such Causes of Action shall be
 preserved notwithstanding the occurrence of the Effective Date. After the Effective Date, the
 Reorganized Debtors, in their sole and absolute discretion, shall have the right to bring, settle,
 release, compromise, or enforce such Causes of Action (or decline to do any of the foregoing),
 without further approval of the Bankruptcy Court. The failure of the Debtors to specifically list
 any claim, right of action, suit, proceeding or other Cause of Action in this Plan does not, and
 shall not be deemed to, constitute a waiver or release by the Estates or the Debtors of such claim,
 right of action, suit, proceeding or other Cause of Action, and the Debtors and Reorganized
 Debtors shall retain the right to pursue such claims, rights of action, suits, proceedings and other
 Causes of Action in their sole discretion and, therefore, no preclusion doctrine, including the
 doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
 (judicial, equitable, or otherwise), or laches, shall apply to such claim, right of action, suit,
 proceeding or other Cause of Action upon, after, or as a consequence of the Confirmation or
 consummation of this Plan.

               No Entity may rely on the absence of a specific reference in this Plan or the
 Disclosure Statement to any Cause of Action against such Entity as any indication that the
 Debtors and Reorganized Debtors will not pursue any and all available Causes of Action
 against such Entity. Without limiting the foregoing, except to the extent a Causes of Action
 is expressly waived, relinquished or released pursuant to this Plan or a Final Order, the
 Debtors and Reorganized Debtors expressly reserve the right to pursue any and all Causes
 of Action they may have against any party that has asserted or asserts a Claim against the
 Debtors, or who may be liable for a Claim asserted against the Debtors by reason of any
 cross-claim, third party claim, claim for indemnification, reimbursement or contribution,
 or other Claim of the Debtors against such party on any contractual, legal or equitable
 grounds.

         6.26 Effectuating Documents; Further Transactions. Each of the Debtors and
 Reorganized Debtors and their respective officers and designees are authorized to issue, execute,
 deliver, file, or record such contracts, instruments, releases, and other agreements or documents,
 and to take such actions as may be necessary, desirable or appropriate to effectuate or further
 evidence the provisions of this Plan or to otherwise comply with applicable law, in each case
 without further notice or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval, consent or
 authorization by the security holders, officers or directors of the Debtors or Reorganized Debtors
 or any other Person.

          6.27 Exemption From Certain Transfer Taxes and Recording Fees. Pursuant to and to
 the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers from a
 Debtor or Reorganized Debtor to any other Person or any agreement regarding the transfer of
 title to or ownership of any of the Debtors’ or Reorganized Debtors’ real or personal property
 pursuant to or in furtherance of this Plan, shall not be subject to any document recording tax,
 stamp tax, conveyance fee, sales tax, use tax, privilege tax, intangibles or similar tax, mortgage
 tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or
 recording fee, or other similar tax or governmental assessment, and the Confirmation Order shall
 direct and be deemed to direct the appropriate federal, state or local governmental officials or


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 agents to forego the collection of any such tax or governmental assessment and to accept for
 filing and recordation any of the foregoing instruments or other documents without the payment
 of any such tax or governmental assessment. Such exemption specifically applies, without
 limitation, to (1) any sale of an asset by the Debtors or Reorganized Debtors in furtherance of
 this Plan, including but not limited to any sale of personal or real property; (2) the creation or
 recording of any mortgage, deed of trust, lien or other security interest in or against any asset of
 the Debtors or Reorganized Debtors in furtherance of this Plan, including, but not limited to, the
 Olyphant First Mortgage, the Olyphant Second Mortgage, the Tuscaloosa First Mortgage and the
 Tuscaloosa Second Mortgage; (3) the assumption of any contract, lease or sublease by the
 Debtors; and (4) any other transaction contemplated or authorized by this Plan.

         6.28 Further Authorization. The Reorganized Debtors shall be entitled to seek such
 orders, judgments, injunctions and rulings as they deem necessary or desirable to carry out the
 intentions and purposes, and to give full effect to the provisions, of this Plan.

                                       ARTICLE VII
                    Provisions Regarding Corporate Governance of Debtors

         7.1     Amendment of Charters. On and as of the Effective Date, the charters of each of
 the Debtors shall be deemed to have been amended to prohibit the issuance of nonvoting equity
 securities in accordance with section 1123(a)(6) of the Bankruptcy Code. After the Effective
 Date, the Reorganized Debtors may amend and restate their respective certificates or articles of
 incorporation, bylaws and other organizational documents as permitted by the laws of their
 respective states of incorporation and such organizational documents.

                                          ARTICLE VIII
                                           Distributions

         8.1     Disbursing Agent. Unless otherwise provided for herein, all Distributions under
 this Plan shall be made by the Disbursing Agent.

        8.2      Distributions. The Disbursing Agent shall make Distributions to the Holders of
 Allowed Claims in accordance with the terms of this Plan. All Distributions pursuant to this
 Plan shall, in the Disbursing Agent’s discretion, be made by check drawn on a domestic bank or
 by wire transfer from a domestic bank.

         8.3      No Interest on Claims. Except as otherwise specifically provided for in this Plan
 with respect to the SIR Settlement Amount or in the Confirmation Order, post-petition interest
 shall not accrue or be paid on Claims and no Holder shall be entitled to interest accruing on or
 after the Petition Date on any Claim.

         8.4    Undeliverable Distributions and Unclaimed Property. Distributions to a Holder
 of an Allowed Claim shall be made by the Disbursing Agent (a) at the address set forth on the
 Proof of Claim Filed by such Holder, (b) at the address set forth in any written notices of address
 change delivered to the Debtors or Reorganized Debtors, as applicable, after the date of any
 related Proof of Claim, (c) at the address set forth in any Filed notice of transfer of Claim, (d) at
 the address reflected in the Schedules if no Proof of Claim has been Filed and the Debtors have
 not received a written notice of a change of address, or (e) if the Holder’s address is not listed in


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 the Schedules, at the last known address of such Holder according to the Debtors’ books and
 records. If any Holder’s Distribution is returned as undeliverable, no further Distributions to such
 Holder shall be made unless and until the Disbursing Agent is notified of such Holder’s then-
 current address. Amounts in respect of undeliverable or uncashed (in the case of a check)
 Distributions shall be retained by the Disbursing Agent in a reserve (the “Unpaid Claims
 Reserve”) until such Distributions are claimed or cashed, as the case may be; provided, however,
 that any Distribution returned as undeliverable to the Disbursing Agent, or not cashed, as the
 case may be, and not claimed by the Holder entitled to such Distribution within six (6) months
 after such Distribution is made shall be deemed unclaimed property under section 347(b) of the
 Bankruptcy Code and irrevocably revert to the Reorganized Debtors automatically and without
 need for further order of the Bankruptcy Court (and any funds held in the Unpaid Claims
 Reserve on account of such Distribution shall be released to the Reorganized Debtors)
 notwithstanding any federal or state escheat, abandoned, or unclaimed property laws to the
 contrary, and the Claim of any Holder to such property or interest in property shall be discharged
 and forever barred.

         8.5     Distributions to Holders as of the Record Date. All Distributions on Allowed
 Claims or Interests shall be made to the Record Holders of such Claims or Interests unless
 otherwise agreed by the Debtors or Reorganized Debtors and a Record Holder. The Debtors or
 Reorganized Debtors may, but shall have no obligation to, recognize any transfer of any Claim
 or Interest occurring after the Record Date. The Debtors or Reorganized Debtors shall instead be
 entitled to recognize and deal for all purposes under this Plan with the Record Holders as of the
 Record Date.

         8.6    Required Tax Information. To the extent that the Disbursing Agent is required by
 applicable law to file information returns regarding payments to creditors with taxing authorities
 including, but not limited to, the Internal Revenue Service, the Disbursing Agent shall request an
 executed Internal Revenue Service Form W-9 (W-8 for non-US entities and individuals) from
 each Holder of an Allowed Claim as a condition to making any Distribution with respect such
 Allowed Claim. Should any Holder of a Claim not provide the Disbursing Agent with such
 document within 60 days of a request for a W-9 or W-8, as applicable, then the Disbursing Agent
 shall provide written notice to such Holder of the failure to provide a W-9 or W-8, as applicable,
 and 30 additional days to provide such information. Should any Holder of a Claim not timely
 provide an executed W-9 or W-8, as applicable, within the 90 day period referenced above, the
 Reorganized Debtors may File an objection to the Claim of such non-responding Holder based
 on the non-responding Holder’s failure to provide the W-9 or W-8 (with all required
 information) and shall serve the objection on such non-responding Holder via first class mail. If
 the non-responding Holder of the Claim fails to respond to the objection or fails to provide to the
 Disbursing Agent the W-9 or W-8, as applicable (with all required information), the Bankruptcy
 Court may disallow such Claim for all purposes and any Distribution that would have otherwise
 been made to such Holder shall revert to the Reorganized Debtors. The Holder of such a
 Disallowed Claim shall be forever barred from pursuing the Reorganized Debtors for payment of
 such Claim.

        8.7      De Minimis Distributions. The Disbursing Agent shall have no obligation to
 make any Distribution to the Holder of an Allowed Claim if the amount to be distributed to such
 Holder is less than Fifty Dollars ($50.00).


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         8.8     Fractional Dollars. Notwithstanding any other provision of this Plan, the
 Disbursing Agent shall not be required to make Distributions or payments of fractions of dollars.
 Whenever any payment of a fraction of a dollar under this Plan would otherwise be called for,
 the actual payment may, in the discretion of the Disbursing Agent, reflect a rounding of such
 fraction to the nearest whole dollar (up or down), with half dollars or less being rounded down.

        8.9     Withholding Taxes. The Reorganized Debtors shall comply with all withholding
 and reporting requirements imposed by any federal, state, local, or foreign taxing authority, and
 all Distributions under this Plan shall be subject to any such withholding and reporting
 requirements.

                                        ARTICLE IX
                    Procedures for Treating and Resolving Disputed Claims

         9.1    Objections to Claims. The Reorganized Debtors shall have the exclusive right to
 File objections to any Claim that has not been Allowed by a Final Order or the express terms of
 this Plan. Any objections to Claims must be Filed by the Claims Objection Deadline.

         9.2     Automatic Disallowance of Certain Claims. Any Claim that (a) has been or is
 hereafter listed in any of the Debtors’ respective Schedules at zero or as contingent, unliquidated,
 or disputed, or (b) is not listed in any of the Debtors’ respective Schedules, and, in each case, as
 to which a Claims Bar Date has been established but no Proof of Claim has been timely Filed or
 deemed timely Filed pursuant to any Final Order of the Bankruptcy Court, shall be deemed
 disallowed and expunged without further action by the Debtors or Reorganized Debtors and
 without further notice to any party or action, approval, or order of the Bankruptcy Court.
 Nothing herein shall preclude a party from Filing a motion seeking entry of an order of the
 Bankruptcy Court deeming timely Filed a Proof of Claim that is Filed after an applicable Claims
 Bar Date on notice to the Reorganized Debtors and without prejudice to the Reorganized
 Debtors’ rights to oppose any such request.

         9.3     Adjustment to Claims Without Objection. Any Claim that has been paid or
 satisfied, or any Claim that has been amended or superseded, may be adjusted or expunged on
 the claims register by the Debtors to the maximum extent provided by applicable law without a
 Claims objection having to be Filed and without any further notice or action, order, or approval
 of the Bankruptcy Court.

        9.4     No Distributions Pending Allowance. Except as otherwise provided herein, no
 Distributions will be made with respect to any portion of a Claim unless and until such Claim has
 been Allowed.

        9.5     Estimation of Claims. The Reorganized Debtors may, at any time, request that the
 Bankruptcy Court estimate any contingent or unliquidated Claim pursuant to section 502 of the
 Bankruptcy Code regardless of whether the Debtors or Reorganized Debtors have previously
 objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
 Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during litigation
 concerning any objection to any Claim, including during the pendency of any appeal relating to
 any such objection. In the event that the Bankruptcy Court estimates any contingent or



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 unliquidated Claim, that estimated amount will constitute either the Allowed amount of such
 Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the
 estimated amount constitutes a maximum limitation on such Claim, the Reorganized Debtors
 may elect to pursue any supplemental proceedings to object to any ultimate payment on such
 Claim. All of the Claims objection, estimation and resolution procedures set forth herein are
 cumulative and not exclusive of one another.

         9.6    Resolution of Claims and Claim Objections. On and after the Effective Date, the
 Reorganized Debtors shall have the authority to compromise, settle, or otherwise resolve any
 Claim or objection to a Claim, whether or not a formal objection is Filed, or to withdraw any
 objection to a Claim, without prior approval or further order of the Bankruptcy Court.

        9.7      Mediation of Claim Objections. The Reorganized Debtors reserve the right to
 request that the Bankruptcy Court refer any objection to a Claim to mediation pursuant to D.N.J.
 LBR 9019-2 or any other mediation procedure approved by the Bankruptcy Court.

         9.8      Distributions on Insured Claims. If any Holder has asserted a Claim that is
 covered as to liability, in whole or in part, by an insurance policy that is assumed or otherwise
 remains in effect pursuant to the terms of this Plan, such Holder will have a Claim entitled to a
 Distribution under this Plan only to the extent of any deductible or self-insured retention under
 the applicable insurance policy that was unpaid or otherwise unexhausted as of the Petition Date.
 Notwithstanding the foregoing, the Holder shall be entitled to pursue recovery of any amount in
 excess of such unpaid deductible or self-insured retention from the applicable insurance carrier
 and, in connection therewith, notwithstanding the discharge of the balance of such Claim
 provided pursuant to this Plan, such Holder may continue to pursue the balance of such Claim
 against the Reorganized Debtors solely for the purposes of liquidating such Claim and obtaining
 payment of the balance of such liquidated Claim from any otherwise applicable policy of
 insurance. Except as otherwise provided in the applicable insurance policy, the applicable
 insurance carrier may, at its expense, employ counsel, direct the defense, and determine whether
 and on what terms to settle any Claim for the purposes of determining the amount of insurance
 proceeds that will be paid on account of such Claim. If after liquidation of a Claim pursuant to
 this Section, it is determined that there are insufficient insurance proceeds available to satisfy the
 amount of such Claim that is in excess of any unpaid deductible or self-insured retention, then
 the Holder of such Claim shall have a Claim in the amount of such insufficiency.
 Notwithstanding any other provision of this Plan, after the Effective Date the Bankruptcy Court
 shall be authorized to enter one or more orders in the Bankruptcy Cases modifying and amending
 the provisions of this Section, provided that any such modifications shall not be material and
 adverse to the interests of Holders of insured Claims.

                                           ARTICLE X
                              Effect of Plan on Claims and Interests

        10.1 Discharge of the Debtors. Except as otherwise expressly provided in this Plan or
 the Confirmation Order, pursuant to section 1141(d) of the Bankruptcy Code, and effective as of
 the Effective Date: (a) the Distributions and rights that are provided in this Plan, if any, and the
 treatment of all Claims under this Plan shall be in exchange for and in complete satisfaction,
 discharge, and release of all Claims and Causes of Action that arose or are deemed to have arisen


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 prior to the Effective Date, whether known or unknown, including any interest accrued on such
 Claims and Causes of Action from and after the Petition Date, against, liabilities of, Liens on,
 obligations of, and rights against the Debtors or any of their assets or properties, regardless of
 whether any property shall have been distributed or retained pursuant to this Plan on account of
 such Claims and rights, including, but not limited to, Claims and debts of the kind specified in
 sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not (i) a Proof
 of Claim based upon such Claim, debt, or right is Filed or deemed Filed under section 501 of the
 Bankruptcy Code, (ii) a Claim based upon such Claim, debt, or right is Allowed under section
 502 of the Bankruptcy Code, or (iii) the Holder of such a Claim, debt or right accepted this Plan;
 (b) the Plan shall bind all Holders of Claims and Interests; (c) all Claims shall be satisfied,
 discharged, and released in full, and the Debtors’ liability with respect thereto shall be
 extinguished completely, including any liability of the kind specified under section 502(g) of the
 Bankruptcy Code; and (d) all Entities shall be precluded from asserting against the Debtors, the
 Estates, the Reorganized Debtors, their successors and assigns, and their assets and properties
 any other Claims based upon any documents, instruments, or any act or omission, transaction, or
 other activity of any kind or nature that occurred prior to the Effective Date. This Section 10.1
 of this Plan shall not affect any release set forth in Article 6 of this Plan. The Confirmation
 Order shall be a judicial determination of the discharge of all Claims against the Debtors, subject
 to the occurrence of the Effective Date.

         10.2 Release of Liens. Except as otherwise provided in this Plan, on the Effective Date
 and concurrently with the commencement of Distributions made pursuant to this Plan and, in the
 case of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed
 as of the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
 against any property of the Estates shall be fully released, terminated, extinguished and
 discharged, in each case without further notice or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or the vote, consent, authorization or approval of
 any Entity, and all of the right, title, and interest of any Holder of such mortgages, deeds of trust,
 Liens, pledges, or other security interests shall revert to the applicable Reorganized Debtor. Any
 Entity holding such mortgages, deeds of trust, Liens, pledges, or other security interests shall
 pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the
 Reorganized Debtors such instruments of termination, release, satisfaction and/or assignment (in
 recordable form) as may be reasonably requested by the Reorganized Debtors, at the sole cost
 and expense of the Reorganized Debtors. This Section 10.2 of this Plan shall not affect any
 mortgages and/or liens set forth in Article 6 of this Plan.

        10.3 Release by Debtors of Certain Parties. Pursuant to section 1123(b) of the
 Bankruptcy Code, for good and valuable consideration, on and after and subject to the
 occurrence of the Effective Date, the Debtors and their Estates shall release each of the
 Released Parties, and each Released Party is deemed released by the Debtors, the Estates,
 and the Reorganized Debtors from any and all Claims, obligations, rights, suits, damages,
 Causes of Action, remedies, and liabilities whatsoever (including any derivative claims,
 asserted or assertable on behalf of any of the Debtors, their Estates or the Reorganized
 Debtors, as applicable) whether known or unknown, foreseen or unforeseen, asserted or
 unasserted, accrued or unaccrued, matured or unmatured, determined or determinable,
 disputed or undisputed, liquidated or unliquidated, due or to become due, existing or
 hereinafter arising, in law, equity, or otherwise, that the Debtors, the Estates, or the


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 Reorganized Debtors would have been legally entitled to assert in their own right (whether
 individually or collectively), or on behalf of the Holder of any Claim or Interest or other
 entity, based on or relating to, or in any manner arising from, in whole or in part, the
 Debtors, the Debtors’ restructuring, the Bankruptcy Cases, the purchase, sale, transfer, or
 rescission of the purchase, sale, or transfer of any security, asset, right, or interest of the
 Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events
 giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
 arrangements between any Debtor and any Released Party, the restructuring of Claims
 and Interests prior to or in the Bankruptcy Cases, the negotiation, formulation, or
 preparation of the Plan or related agreements, instruments, or other documents, and any
 other act or omission, transaction, agreement, event, or other occurrence taking place on
 and before the Petition Date; provided, however, that the foregoing release shall not
 operate to waive or release (a) any Claim or Cause of Action of the Debtors against any
 party that has asserted or asserts a Claim against the Debtors, or who may be liable for a
 Claim asserted against the Debtors by reason of any cross-claim, third party claim, claim
 for indemnification, reimbursement or contribution, or other Claim of the Debtors against
 such party on any contractual, legal or equitable grounds, or (b) any obligations of any
 party under this Plan or any other document, instrument, or agreement executed to
 implement this Plan. Entry of the Confirmation Order shall constitute the Bankruptcy
 Court’s approval, pursuant to Bankruptcy Rule 9019, of the foregoing release, and further,
 shall constitute the Bankruptcy Court’s finding that such release is: (1) in exchange for
 good and valuable consideration provided by the Released Parties; (2) a good faith
 settlement and compromise of the claims released; (3) in the best interests of the Debtors
 and all holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and
 made after due notice and opportunity for hearing; and (6) a bar to any of the Debtors or
 their Estates asserting any claim or Cause of Action released pursuant to such release.

         10.4 Third Party Release. On and after and subject to the occurrence of the
 Effective Date as to each of the Releasing Parties, the Releasing Parties shall release each of
 the Released Parties, and each of the Debtors, their Estates, and the Released Parties shall
 be deemed released from any and all Claims, obligations, rights, suits, damages, Causes of
 Action, remedies and liabilities whatsoever (including any derivative claims, asserted or
 assertable on behalf of any of the Debtors or their Estates), whether known or unknown,
 foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, matured or
 unmatured, determined or determinable, disputed or undisputed, liquidated or
 unliquidated, due or to become due, existing or hereinafter arising, in law, equity, or
 otherwise, that such entity would have been legally entitled to assert (whether individually
 or collectively), based on or relating to, or in any manner arising from, in whole or in part,
 the Debtors, the Debtors’ restructuring, the Bankruptcy Cases, the purchase, sale, or
 rescission of the purchase or sale of any security of the Debtors, the subject matter of, or
 the transactions or events giving rise to, any Claim that is treated in this Plan, the business
 or contractual arrangements between any Debtor and any Released Party, the
 restructuring of Claims prior to or in the Bankruptcy Cases, the negotiation, formulation,
 or preparation of this Plan, or related agreements, instruments, or other documents, or any
 other act or omission, transaction, agreement, event or other occurrence taking place on
 and before the Effective Date; provided, however, that the foregoing release shall not
 operate to waive or release any Claim or Cause of Action of the Debtors against any party


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 that has asserted or asserts a Claim against the Debtors, or who may be liable for a Claim
 asserted against the Debtors by reason of any cross-claim, third party claim, claim for
 indemnification, reimbursement or contribution, or other Claim of the Debtors against
 such party on any contractual, legal or equitable grounds; and provided further, however,
 that the foregoing release shall not become binding on SIR Properties Trust until payment
 in full of the SIR Settlement Amount has been made in accordance with this Plan.
 Notwithstanding anything to the contrary in the foregoing release, nothing herein shall
 release any obligations of any party under this Plan or any other document, instrument, or
 agreement executed to implement this Plan. Entry of the Confirmation Order shall
 constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the
 foregoing release and, further, shall constitute the Bankruptcy Court’s finding that the
 foregoing release is: (1) in exchange for good and valuable consideration provided by the
 Released Parties; (2) a good faith settlement and compromise of the Claims released by the
 Releasing Parties; (3) in the best interests of the Debtors and all Holders of Claims and
 Interests; (4) fair, equitable and reasonable; (5) given and made after due notice and
 opportunity for hearing; and (6) a bar to any of the Releasing Parties asserting any claim
 or Cause of Action released hereunder.

         10.5 Exculpation and Limitation of Liability. Except to the extent expressly
 provided otherwise in this Plan, the Exculpated Parties shall neither have nor incur any
 liability to any Entity for any Exculpated Claim; provided, however, that the foregoing
 “exculpation” shall have no effect on the liability of any Entity that results from any such
 act or omission that is determined in a Final Order to have constituted gross negligence or
 willful misconduct. The Exculpated Parties have, and upon Confirmation shall be deemed
 to have, participated in good faith and in compliance with the applicable provisions of the
 Bankruptcy Code and, therefore, are not and shall not be liable at any time for the
 violation of any applicable, law, rule, or regulation governing the solicitation of acceptances
 or rejections of the Plan or Distributions made pursuant to the Plan. This Section 10.5 of
 this Plan shall not affect any release set forth in Article 6 of this Plan.

         10.6 Injunction. Except as otherwise expressly provided in this Plan, the
 Confirmation Order, or a separate Final Order of the Bankruptcy Court, all Persons who
 have held, hold, or may hold Claims against any of the Debtors are permanently enjoined,
 on and after the Effective Date, from (a) commencing or continuing in any manner any
 action or other proceeding of any kind against the Debtors or Reorganized Debtors or their
 property with respect to any such Claim; (b) enforcing, attaching, collecting, or recovering
 by any manner or means any judgment, award, decree, or order against the Debtors or
 Reorganized Debtors or their property on account of any such Claim; (c) creating,
 perfecting, or enforcing any Lien or encumbrance of any kind against the Debtors or
 Reorganized Debtors or their property on account of any such Claim; (d) asserting any
 setoff, right of subrogation, or recoupment of any kind against any such Claim; or (e)
 taking any action that is inconsistent with or interferes with the implementation or
 consummation of this Plan; provided, however, that nothing herein shall prevent any
 Person from taking action in the Bankruptcy Court to enforce their rights under and in
 accordance with this Plan.




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         10.7 Setoff and Recoupment. Pursuant to the Bankruptcy Code (including section 553
 of the Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the Holder
 of a Claim, the Debtors or Reorganized Debtors may, but shall not be required to, set off against
 or recoup from any Allowed Claim, and the payments or other Distributions to be made pursuant
 to this Plan in respect of such Allowed Claim, any Claims, rights or Causes of Action of any
 nature whatsoever that the Debtors may have against the Holder of such Allowed Claim; but
 neither the Debtors’ or Reorganized Debtors’ failure to do so nor the allowance of any Claim
 shall constitute a waiver or release by the Debtors, the Reorganized Debtors or the Estates of any
 such Claims, rights or Causes of Action that the Debtors or Reorganized Debtors may have
 against such Holder. Any dispute related to setoff or recoupment rights of the Debtors or
 Reorganized Debtors shall be determined by the Bankruptcy Court. In no event shall any Holder
 of a Claim be entitled to setoff or recoup any Claim against any Claim, right, or Cause of Action
 of any of the Debtors or Reorganized Debtors unless such Holder has Filed a motion requesting
 the authority to perform such setoff or recoupment on or before the Confirmation Date, and
 notwithstanding any indication in any Proof of Claim or otherwise that such Holder asserts, has,
 or intends to preserve any right of setoff or recoupment pursuant to section 553 or otherwise.

         10.8 Binding Effect. On the Confirmation Date, the provisions of this Plan shall be
 binding on the Debtors, the Estates, the Reorganized Debtors, all Holders of Claims against or
 Interests in the Debtors, and all other parties-in-interest whether or not such Holders are
 Impaired and whether or not such Holders have accepted this Plan.

        10.9 Automatic Stay. The automatic stay arising out of section 362(a) of the
 Bankruptcy Code shall continue in full force and effect until the Consummation Date and the
 Debtors, Reorganized Debtors and the Estates shall be entitled to all of the protections afforded
 thereby.

                                         ARTICLE XI
                                      Conditions Precedent

         11.1 Conditions to Confirmation. The following are conditions precedent to
 Confirmation of this Plan that may be satisfied or waived to the extent provided by section 11.3
 of this Plan:

                11.1.1 The Bankruptcy Court shall have approved the Disclosure Statement with
 respect to this Plan in form and substance that is acceptable to the Debtors in their sole and
 absolute discretion; and

               11.1.2 The Confirmation Order shall have been signed by the Bankruptcy Court
 and entered on the docket of the Bankruptcy Cases.

         11.2 Conditions to the Effective Date. The following are conditions precedent to the
 occurrence of the Effective Date that may be satisfied or waived to the extent provided by
 section 11.3 of this Plan:

                11.2.1 The Confirmation Order shall be in all material respects reasonably
 acceptable to the Debtors, shall not have been vacated, reversed or modified and, as of the
 Effective Date, shall not be stayed;


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                11.2.2 The Debtors shall have borrowed the Plan Funding Amount from the Plan
 Sponsor;

               11.2.3 The Professional Fee Escrow shall have been established and funded in
 accordance with Section 4.2.4 hereof;

                11.2.4 All documents and agreements to be executed on the Effective Date or
 otherwise necessary to implement this Plan shall be in form and substance that is acceptable to
 the Debtors, in their reasonable discretion;

                 11.2.5 The Debtors shall have received any authorization, consent, regulatory
 approval, ruling, letter, opinion, or document that may be necessary to implement this Plan and
 that is required by law, regulation, or order; and

                11.2.6 The Confirmation Order shall have become a Final Order.

         11.3 Waiver of Conditions to Confirmation or Effective Date. The conditions set forth
 in sections 11.1.1, 11.2.1, 11.2.4, 11.2.5 and 11.2.6 of this Plan may be waived, in whole or in
 part, by the Debtors without any notice to any other parties in interest or the Bankruptcy Court
 and without a hearing or order of the Bankruptcy Court. The failure to satisfy or waive any
 condition to the Confirmation Date or the Effective Date may be asserted by the Debtors in their
 sole discretion regardless of the circumstances giving rise to the failure of such condition to be
 satisfied (including any action or inaction by the Debtors). The failure of the Debtors to exercise
 any of the foregoing rights shall not be deemed a waiver of any other rights, and each such right
 shall be deemed an ongoing right, which may be asserted at any time.

                                       ARTICLE XII
                 Retention and Scope of Jurisdiction of the Bankruptcy Court

         12.1 Retention of Jurisdiction. Notwithstanding the entry of the Confirmation Order
 and the occurrence of the Effective Date, on and after the Effective Date, to the extent legally
 permissible, the Bankruptcy Court shall retain exclusive jurisdiction over the Bankruptcy Cases
 and all matters arising out of, or related to, the Bankruptcy Cases and the Plan, including
 jurisdiction to:

                12.1.1 adjudicate, decide, or resolve Filed objections concerning the allowance,
 priority, classification, secured or unsecured status, or amount of any Claim and any
 subordination thereof, including the resolution of any request for payment of any Administrative
 Expense Claim;

                12.1.2 liquidate the amount of any disputed, contingent or unliquidated Claim, to
 estimate the amount of any disputed, contingent or unliquidated Claim, and to establish the
 amount of any reserve that may be required to be withheld from any Distribution under this Plan
 on account of any disputed, contingent or unliquidated Claim;

                12.1.3 refer any objection to a Claim to mediation pursuant to D.N.J. LBR 9019-
 2 or any other mediation procedure approved by the Bankruptcy Court;



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                12.1.4 adjudicate, decide, or resolve all matters related to the rejection, or
 assumption and/or assignment, of any Executory Contract or Unexpired Lease to which a Debtor
 is party or with respect to which a Debtor may be liable in any manner and to hear, determine,
 and, if necessary, liquidate, any Claims arising therefrom, including cure amounts pursuant to
 section 365 of the Bankruptcy Code, or any other matter related to such Executory Contract or
 Unexpired Lease;

                12.1.5 adjudicate, decide, or resolve any motions, adversary proceedings,
 contested or litigated matters, and any other matters, and grant or deny any applications or
 motions involving a Debtor that may be pending on the Effective Date or commenced after the
 Effective Date;

             12.1.6 adjudicate, decide, or resolve any and all matters related to Causes of
 Action commenced or pursued by the Debtors or Reorganized Debtors;

                 12.1.7 adjudicate, decide, or resolve any and all matters related to sections
 502(c), 502(j), or 1141 of the Bankruptcy Code;

                12.1.8 hear and rule upon all applications for allowance of Professional Fee
 Claims;

               12.1.9 remedy any defect or omission or reconcile any inconsistency in this Plan,
 as may be necessary to carry out the intent and purpose of this Plan;

                 12.1.10     construe or interpret any provisions of this Plan and make such
 determinations and enter such orders as may be necessary for the implementation, execution,
 effectuation or consummation of this Plan;

              12.1.11        enter orders pursuant to sections 363, 1123 or 1146(a) of the
 Bankruptcy Code approving the sale of any assets (including Owned Real Property) by the
 Reorganized Debtors after the Effective Date to the extent the Reorganized Debtors seek such
 approval;

                12.1.12      enter orders pursuant to section 364 of the Bankruptcy Court
 authorizing the Reorganized Debtors to obtain credit or incur debt after the Effective Date to the
 extent the Reorganized Debtors seek such approval;

                12.1.13       determine any suit or proceeding brought by the Debtors or
 Reorganized Debtors to recover property of the Debtors or the Estates wherever located under
 any provisions of the Bankruptcy Code;

              12.1.14        hear and determine any tax disputes concerning the Debtors or
 Reorganized Debtors and to determine and declare any tax effects under this Plan;

                12.1.15        hear and determine matters concerning state, local, and federal
 taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;




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                12.1.16      issue injunctions, enter and implement other orders, or take such
 other actions as may be necessary to restrain interference by any Person with consummation or
 enforcement of this Plan;

                12.1.17        resolve any cases, controversies, suits, disputes, or Causes of
 Action with respect to the releases, injunctions, exculpations, and other provisions contained in
 Article X of this Plan and enter such orders as may be necessary to implement such releases,
 injunctions, exculpations, and other provisions;

                12.1.18         adjudicate any and all disputes arising from or relating to
 Distributions under this Plan;

               12.1.19       consider any modifications of this Plan to cure any defect or
 omission, or to reconcile any inconsistency in any Bankruptcy Court order, including the
 Confirmation Order;

                 12.1.20        determine such other matters as may arise in connection with or
 relate to this Plan or the Confirmation Order or as may be authorized by or under the provisions
 of the Bankruptcy Code;

                12.1.21         hear, determine and adjudicate any suits, proceedings
 controversies, actions or disputes that may arise under the provisions of this Plan, or the rights,
 duties or obligations of any Person under the provisions of this Plan;

                12.1.22         enforce all orders previously entered by the Bankruptcy Court;

                12.1.23         hear any other matter not inconsistent with the Bankruptcy Code;
 and

                12.1.24         enter an order or final decree concluding or closing the Bankruptcy
 Cases.

         12.2 Alternative Jurisdiction. In the event that the Bankruptcy Court is found to lack
 jurisdiction to resolve any matter, then the District Court shall hear and determine such matter. If
 the District Court does not have jurisdiction, then the matter may be brought before any court
 having jurisdiction with regard thereto.

         12.3 Final Decree. The Bankruptcy Court may, upon application of the Reorganized
 Debtors after Designated Notice, enter a final decree closing the Bankruptcy Cases pursuant to
 section 350 of the Bankruptcy Code, notwithstanding the fact that additional Distributions may
 be made under this Plan after entry of such final decree. In such event, (a) the Reorganized
 Debtors and other parties in interest shall continue to have the rights, powers, and duties set forth
 in this Plan; and (b) any provision of this Plan requiring the absence of an objection shall no
 longer be required, except as otherwise ordered by the Bankruptcy Court.




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                                        ARTICLE XIII
                                    Miscellaneous Provisions

         13.1 Modification of this Plan. The Debtors expressly reserve their rights to modify
 this Plan, whether such modification is material or immaterial, at any time before the
 Confirmation Date, and seek Confirmation consistent with the Bankruptcy Code and, as
 appropriate and unless otherwise ordered by the Bankruptcy Court, not resolicit votes on such
 modified Plan. Subject to certain restrictions and requirements set forth in section 1127 of the
 Bankruptcy Code and Bankruptcy Rule 3019, the Debtors and Reorganized Debtors, as
 applicable, further expressly reserve their rights to alter, amend or modify the Plan at any time
 after the Confirmation Date and before substantial consummation of the Plan, and, to the extent
 necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend or modify the
 Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
 Disclosure Statement or the Confirmation Order, in such matters as may be necessary to carry
 out the purposes and intent of the Plan. Any such modification or supplement shall be considered
 a modification of the Plan and shall be made in accordance with this section. A Holder of a
 Claim that has accepted or rejected the Plan shall be deemed to have accepted or rejected, as the
 case may be, such Plan as modified, unless, within the time fixed by the Bankruptcy Court, such
 Holder changes its previous acceptance or rejection.

        13.2 Effect of Confirmation on Modifications. Entry of the Confirmation Order shall
 mean that all modifications or amendments to the Plan occurring after the solicitation thereof are
 approved pursuant to section 1127 of the Bankruptcy Code and do not require additional
 disclosure or resolicitation under Bankruptcy Rule 3019.

         13.3 Allocation of Plan Distributions Between Principal and Interest. To the extent
 that any Allowed Claim entitled to a Distribution under this Plan is composed of indebtedness
 and accrued but unpaid interest thereon, such Distribution shall, to the extent permitted by
 applicable law, be allocated for United States federal income tax purposes to the principal
 amount of the Claim first and then, to the extent the consideration exceeds the principal amount
 of the Claim, to the portion of the Claim representing accrued but unpaid interest.

        13.4 Dissolution of Creditors’ Committee. On the Effective Date, the Committee shall
 dissolve automatically, whereupon its members, professionals, and agents shall be released from
 any further duties and responsibilities in the Bankruptcy Cases and under the Bankruptcy Code,
 provided that, after the Effective Date, the Committee shall be deemed to continue to exist solely
 with respect to the filing of applications pursuant to sections 330 and 331 of the Bankruptcy
 Code and objections thereto.

        13.5 Applicable Law. Except to the extent that the Bankruptcy Code or the Bankruptcy
 Rules are applicable, the rights and obligations arising under this Plan shall be governed by the
 laws of the State of New Jersey.

         13.6 Preparation of Tax Returns and Resolution of Tax Claims. The Reorganized
 Debtors shall file all applicable tax returns and other filings with governmental authorities that
 may be required and may File determination requests under section 505 of the Bankruptcy Code
 to resolve any Claim relating to taxes with a governmental authority.


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         13.7 Headings. The headings of the Articles and the sections of this Plan have been
 used for convenience of reference only and shall not limit or otherwise affect the meaning of this
 Plan. Whenever the words “include,” “includes” or “including” (or other words of similar
 import) are used in this Plan, they shall be deemed to be followed by the words “without
 limitation.”

         13.8 Revocation of Plan.          The Debtors reserve the right, unilaterally and
 unconditionally, to revoke or withdraw this Plan at any time prior to entry of the Confirmation
 Order, and upon such revocation or withdrawal, (1) this Plan shall be deemed null and void and
 of no force or effect, (2) any settlement or compromise embodied in the Plan, assumption or
 rejection of Executory Contracts or Unexpired Leases effected under the Plan, and any document
 or agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
 contained in the Plan or Disclosure Statement shall: (a) constitute a waiver or release of any
 claims held or Causes of Action by the Debtors; (b) prejudice in any manner the rights of the
 Debtors or any other entity; or (c) constitute an admission, acknowledgement, offer, or
 undertaking of any sort by the Debtors or any other entity.

        13.9 Confirmation of Plans for Separate Debtors. In the event the Debtors are unable
 to confirm this Plan with respect to any Debtor, the Debtors reserve the right, unilaterally and
 unconditionally, to proceed with this Plan with respect to any Debtor for which the confirmation
 requirements of the Bankruptcy Code are met.

         13.10 No Admissions; Objection to Claims. Nothing in this Plan shall be deemed to
 constitute an admission that any Person as being the Holder of a Claim is the Holder of an
 Allowed Claim, except as expressly provided in this Plan. The failure of the Debtors to object to
 or examine any Claim for purposes of voting shall not be deemed a waiver of the Debtors’ rights
 to object to or reexamine such Claim in whole or in part (including for purposes of Distribution).

         13.11 No Bar to Suits. Except as otherwise provided in Article X of this Plan, neither
 this Plan nor Confirmation hereof shall operate to bar or estop the Debtors or Reorganized
 Debtors from commencing any Cause of Action or any other legal action against any Holder of a
 Claim or Interest or any other Person, whether such Cause of Action or other legal action arose
 prior to or after the Confirmation Date and whether or not the existence of such Cause of Action
 or any other legal action was disclosed in any disclosure statement Filed by the Debtors in
 connection with this Plan or whether or not any payment was made or is made on account of any
 Claim or Interest.

        13.12 Exhibits/Schedules. All exhibits and schedules to this Plan, if any, are
 incorporated into and are a part of this Plan as if set forth in full herein.

         13.13 Conflicts. In the event that provisions of the Disclosure Statement and provisions
 of this Plan conflict, the terms of this Plan shall govern and control.

         13.14 Notices. Any notice required or permitted to be provided to the Debtors or
 Reorganized Debtors under this Plan shall be in writing and served by overnight mail or certified
 mail, return receipt requested, addressed as follows:

                Cinram Group, Inc., et al.


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                c/o GRL Capital Advisors, LLC
                Attn: Glenn Langberg, CEO
                220 South Orange Avenue
                Livingston, NJ 07039

                with a copy to (which shall not constitute notice):

                Lowenstein Sandler LLP
                One Lowenstein Drive
                Roseland, NJ 07068
                Attn: Mary E. Seymour
                Attn: Michael Savetsky

         13.15 Section 1125 of the Bankruptcy Code. The entry of the Confirmation Order shall
 constitute the determination by the Bankruptcy Court that the Debtors have solicited acceptances
 of this Plan in good faith and in compliance with the applicable provisions of the Bankruptcy
 Code and the Debtors (and each of their respective Affiliates, officers, directors, employees,
 consultants, agents, advisors, members, attorneys, accountants, financial advisors, other
 representatives and Professionals) have participated in good faith and in compliance with the
 applicable provisions of the Bankruptcy Code in the offer, issuance, sale, and/or purchase of any
 securities offered or sold under this Plan, and are not, and on account of such offer, issuance,
 sale, solicitation, and/or purchase will not be, liable at any time on account of such solicitation or
 participation for the violation of any applicable law, rule, or regulation governing the solicitation
 of acceptances or rejections of this Plan or the offer, issuance, sale, or purchase of any securities
 offered or sold under this Plan.
         13.16 Severability. Should the Bankruptcy Court determine, prior to the Confirmation
 Date, that any provision of this Plan is either illegal on its face or illegal as applied to any Claim
 or Interest, such provision shall be unenforceable as to all Holders of Claims or Interests or to the
 specific Holder of such Claim or Interest, as the case may be, as to which such provision is
 illegal. Unless otherwise determined by the Bankruptcy Court, such a determination of
 unenforceability shall in no way limit or affect the enforceability and operative effect of any
 other provision of this Plan. The Debtors reserve the right not to proceed with Confirmation or
 consummation of this Plan if any such ruling occurs.
         13.17 Designated Notice. Notwithstanding any other provision of this Plan, when
 notice and a hearing is required with regard to any action to be taken after the Confirmation Date
 by the Debtors or Reorganized Debtors, as applicable, Designated Notice shall be adequate.
         13.18 Payment of Statutory Fees. All fees due and payable pursuant to section 1930(a)
 of the Judicial Code prior to and after the Effective Date shall be paid by the Debtors or
 Reorganized Debtors, as applicable, when due and payable. The Reorganized Debtors shall File
 quarterly reports in a form reasonably acceptable to the U.S. Trustee.
         13.19 Notice of the Effective Date. The Debtors will File, and serve a copy on all parties
 in interest, a notice of the occurrence of the Effective Date within five (5) Business Days after
 the occurrence thereof.



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                               CONFIRMATION REQUEST

         The Debtors hereby request Confirmation of this Plan pursuant to section 1129(a) or
 section 1129(b) of the Bankruptcy Code.

                                  [Signature page follows]




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 Dated: October 4, 2018


                                             Respectfully submitted,

                                             CINRAM GROUP, INC., CINRAM
                                             PROPERTY GROUP, LLC, and CINRAM
                                             OPERATIONS, INC., DEBTORS

                                             By: /s/ Glenn R. Langberg
                                                Name: Glenn R. Langberg
                                                Title: CEO




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